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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT



IN RE TEVA SECURITIES LITIGATION           Case No.:   3:17-CV-558 (SRU)




THIS DOCUMENT RELATES TO:

PUBLIC SCHOOL TEACHERS’ PENSION
AND RETIREMENT FUND OF CHICAGO,            Case No.:   3:19-CV-175 (SRU)

           Plaintiff,                      FIRST AMENDED COMPLAINT

     v.                                    JURY TRIAL DEMANDED

TEVA PHARMACEUTICAL INDUSTRIES
LTD.; EZRA VIGODMAN, EYAL DESHEH;
SIGURDUR OLAFSSON; DEBORAH
GRIFFEN; KÅRE SCHULTZ; MICHAEL
MCCLELLEN; YITZHAK PETERBURG; AND
TEVA PHARMACEUTICAL FINANCE
NETHERLANDS III B.V.,

           Defendants.
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      Term                                      Definition
                  Defendants Teva Pharmaceutical Industries Ltd., Erez Vigodman, Eyal
                  Desheh, Sigurdur Olafsson, Deborah Griffin, Kåre Schultz, Michael
Exchange Act      McClellan, and Yitzhak Peterburg. References to the Exchange Act
Defendants        Defendants include only those individuals then employed by Teva at the
                  referenced time.
Actavis           Allergan Generics, acquired by Teva on or around August 2, 2016
ADS               Teva’s American Depository Shares
ADS Final         The final prospectus supplement filed pursuant to Rule 424(b)(5) with
Prospectus        the SEC on December 3, 2015 at 5:19 p.m. ET
                  The public offering of ADS completed on or about December 3, 2015
ADS Offering
                  and January 6, 2016
                  The ADS Registration Statement, along with the base and preliminary
ADS Offering      prospectuses and related prospectus supplements constituting part of the
Materials         ADS Registration Statement including the ADS Final Prospectus and the
                  documents incorporated by reference therein
ADS
                  The shelf registration statement on Form F-3 Teva filed with the SEC on
Registration      November 30, 2015.
Statement
                  The shelf registration statement on Form F-3 Teva filed with the SEC on
ADS and           November 30, 2015 (for the ADS Offering), and the Post- Effective
Notes             Amendment No. 1 to its shelf registration statement on the Form F-3
Registration      Teva filed with the SEC on July 13, 2016 (for the Notes Offering).
Statements
                  Abbreviated New Drug Application, an application submitted by a
ANDA              generic drug manufacturer to the U.S. Food and Drug Administration
                  seeking approval for a drug the FDA has already approved
API               Active Pharmaceutical Ingredient use to make pharmaceutical
                  products
Board             Teva’s Board of Directors
Cavanaugh         Maureen Cavanaugh, Teva USA’s Senior VP and Chief Operating
                  Officer, North America Generics during the Class Period.
                  Chief Accounting Officer
CAO
CEO               Chief Executive Officer
CFO               Chief Financial Officer
COO               Chief Operating Officer
Desheh            Defendant Eyal Desheh, Teva’s CFO from July 2008 to June 30, 2017,
                  except from October 30, 2013 to February 11, 2014, when he served as
                  Teva’s Interim President and CEO
DOJ               U.S. Department of Justice
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        Term                                      Definition
                     Kevin Galownia, Teva’s VP of Pricing Operations since January 2018,
Galownia             and formerly Teva’s Senior Director, Marketing from January 2010 to
                     March 2014, and its Senior Director, Marketing Operations from
                     September 2014 to December 2017
GAO                  U.S. Government Accountability Office
GAO Report           GAO audit report titled, “Generic Drugs Under Medicare” and publically
                     released on September 12, 2016
Glazer               Jeffrey Glazer, former CEO of Heritage Pharmaceuticals
                     Defendant Deborah Griffin, Teva’s SVP and CAO (Principal Accounting
Griffin              Officer) who also served as the Authorized U.S. Representative of Teva
                     and Teva Finance during the Class Period. She was also VP and CFO of
                     Teva USA during the Class Period.
Heritage             Heritage Pharmaceuticals Inc
Individual           Defendants Erez Vigodman, Eyal Desheh, Sigurdur Olafsson, Deborah
Defendants           Griffin, Kåre Schultz, Michael McClellan, and Yitzhak Peterburg.
                     References to the Officer Defendants include only those individuals then
                     employed by Teva at the referenced time.
Levin                Jeremy M. Levin, Teva’s CEO from May 9, 2012 to October 30, 2014
Malek                Jason Malek, Former President of Heritage
                     Defendant Michael McClellan, Teva’s Executive Vice President and
McClellan            CFO from November 2017 until November 8, 2019, Interim Group CFO
                     from July 2017 to November 2017, and Senior Vice President and CFO,
                     Global Specialty Medicines from 2015 to November 2017
MD&A                 The Management Discussion & Analysis section of SEC Form 20-F
                     Collectively certain U.S.-dollar-denominated senior notes issued by Teva
                     Finance in a public offering on or about July 21, 2016, namely:
                     (a) 1.400% Senior Notes due July 20, 2018 (“2018 Notes”);
Notes                (b) 1.700% Senior Notes due July 19, 2019 (“2019 Notes”);
                     (c) 2.200% Senior Notes due July 21, 2021 (“2021 Notes”);
                     (d) 2.800% Senior Notes due July 21, 2023 (“2023 Notes”);
                     (e) 3.150% Senior Notes due Oct. 1, 2026 (“2026 Notes”); and
                     (f) 4.100% Senior Notes due Oct. 1, 2046 (“2046 Notes”)
Notes Final          The prospectus supplement filed pursuant to Rule 424(b)(5) with the
Prospectus           SEC on July 19, 2016
Notes Offering       The public offering of the Notes completed on or about July 21, 2016
                     The Notes Registration Statement, along with the base and preliminary
Notes Offering       prospectus and related prospectus supplements constituting part of Notes
Materials            Registration Statement, including the Notes Final Prospectus, and the
                     documents incorporated by inference therein
Notes Registration   The Post-Effective Amendment No. 1 to the shelf registration statement
Statement            on Form F-3 Teva filed with the SEC on July 13, 2016
NYSE                 New York Stock Exchange
Oberman              Allan Oberman, President and CEO of Teva Americas Generics from
                     November 5, 2012 to December 31, 2014

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        Term                                       Definition
Offerings            The ADS Offering and the Notes Offering
Offering Materials   The ADS Offering Materials and the Notes Offering Materials
Olafsson             Defendant Sigurdur (“Siggi”) Olafsson, President and CEO of Teva’s
                     Global Generic Medicines Group from July 1, 2014 to December 5, 2016
                     Nisha Patel, Teva’s former Director of Strategic Customer Marketing
Patel                from April 2013 to August 2014 and its Director of National Accounts
                     from September 2014 to December 2016

Peterburg            Defendant Yitzhak Peterburg, Teva’s Interim President and CEO from
                     February 6, 2017 to October 31, 2017, a Teva Director from June 2009
                     to July 2010, and from 2012 until December 12, 2017, and Chairman of
                     Teva’s Board of Directors from January 2, 2015 to February 6, 2017
Plaintiff            Public School Teachers’ Pension and Retirement Fund of Chicago
Price-Hike           Teva’s new and undisclosed corporate strategy, adopted in 2013, to
Strategy             systematically and broadly implement price increases across its generic
                     drug portfolio
                     A group of Teva employees, led by Galownia in the United States,
Pricing Group        whose day-to-day responsibilities included analysis of the pricing for
                     Teva’s generic drugs
PSLRA                Private Securities Litigation Reform Act of 1995
R&D                  Research and Development

Relevant Period      February 6, 2014 through May 10, 2019, inclusive
                     Request for Proposal, a blind-bidding process intended to solicit a “best
RFP                  and final” offer where each firm that submits a response without
                     knowing what competing firms are bidding
S&M                  Sales and Marketing
                     Defendant Kåre Schultz, Teva’s President and Chief Executive Officer
Schultz              since November 1, 2017 and one of its directors of the Board since
                     November 1, 2017
SEC                  Securities and Exchange Commission
Sherman Act          Sherman Antitrust Act
                     The Attorneys General of 47 States, the District of Columbia, and Puerto
State AGs            Rico who filed a Consolidated Amended Complaint against Teva and
                     others on June 18, 2018, in the Generics MDL
Teva or the          Defendant Teva Pharmaceutical Industries Ltd
Company
Teva Finance         Defendant Teva Pharmaceutical Finance Netherlands III B.V.
Teva Securities      ADS and Notes, collectively




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      Term                                   Definition
               Defendant Erez Vigodman, Teva’s President and CEO from February 11,
Vigodman       2014 to February 6, 2017 and one of its directors of the Board from June
               22, 2009 to February 6, 2017
WAC            Wholesale Acquisition Cost, the list price of a generic manufacturer’s
               drug to a wholesaler or a direct purchaser without discounts
YOY            Year-Over-Year




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        Plaintiff, Public School Teachers’ Pension and Retirement Fund of Chicago (“CTPF”

or “Plaintiff”), brings this action to recover damages caused by Defendants’ violations of the

federal securities laws and to pursue remedies under Sections 10(b) and 20(a) of the Securities

Exchange Act of 1934 (“the Exchange Act”) and SEC Rule 10b-5, 17 C.F.R.§ 240.10b-5.

CTPF purchased or otherwise acquired Teva Pharmaceutical Industries Ltd. (“Teva” or the

“Company”) securities between February 6, 2014 and May 10, 2019, inclusive (the “Relevant

Period”) and was damaged thereby.

        Plaintiff alleges the following based upon personal knowledge as to its own acts and

upon information and belief as to all other matters based on the investigation conducted by and

through its attorneys. This investigation included, among other things, a review of Teva’s

filings with the United States Securities and Exchange Commission (“SEC”), transcripts of

Teva’s conference calls and announcements, wire and press releases published by and

regarding Teva, analysts’ reports, various civil complaints alleging violations of federal and

state antitrust and unfair competition laws by Teva and its subsidiaries, generic drug pricing

data from a nationally-recognized source, and the Second Amended Consolidated Class Action

Complaint filed in Ontario Teachers’ Pension Plan Board v. Teva Pharmaceutical Industries

Ltd., No. 3:17-cv-00558 (SRU) (D. Conn. December 13, 2019) (“Ontario Teachers

Complaint”). Plaintiff believes that substantial additional evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

I.      OVERVIEW OF THE ACTION

        1.      Teva, a pharmaceutical company based in Israel, develops, produces and

markets generic pharmaceutical products worldwide and is the leading generic drug company
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in the United States. This action arises from misrepresentations by Defendants to investors

regarding Teva’s purported financial success and performance during the period from

February 6, 2014 to May 10, 2019, inclusive. Defendants consistently attributed Teva’s

success to fundamental business strategies, such as cost cutting and good product

management. In reality, however Teva’s reported financial growth during the Relevant Period

was the result of Defendants’ strategy to raise systematically generic drug prices across a

large portion of Teva’s generic drug portfolio (the “Price-Hike Strategy”). Teva initiated the

strategy in early 2013, with a first batch of price increases taking place in July and August

2013.

        2.     In fact, during the Relevant Period, Teva imposed price increases at least 76

times. These price increases were considered and approved by Teva’s senior officers, who

tracked the profits generated on a daily, weekly and quarterly basis. The price increases had

the desired effect, generating billions of dollars of additional revenue and profit attributable

solely to the price increases.

        3.     Defendants however concealed from investors that Teva’s rapid growth was

driven by its Price-Hike Strategy, falsely claiming that it was not increasing prices and that

the Company’s increased profitability was in fact due to other, more sustainable factors

including aggressive cost-cutting and improved operational efficiency.

        4.     Neither Teva, nor any of its peers, disclosed to the investing public any

information concerning individual drug prices, changes in price, or revenues per drug, let

alone profits. Even Wall Street analysts, intimately familiar with Teva's business and

disclosures, had no way of knowing whether Teva was profiting from systematic price


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increases, other than asking Defendants, who denied that Teva's profits and performance were

connected to price increases

        5.       For example, when asked whether Teva’s profits and performance were

connected, the Individual Defendants stated:

                 •       "(A]11 the improvement you see in our . . . margins is not driven
                 by price. It is driven by quantities and by mix and by efficiency measures.
                 Not by price, 2014, 2015, and that's a very important message."
                 (Defendant Vigodman, Oct. 29, 2015

                 •       "So how did we" achieve $1 billion in increased profit
                 margin?" "Not by pricing but by portfolio mix, new products, and
                 efficiency measures." (Defendant Olafsson, Feb. 11, 2016)

                 •      "Now there's a lot of noise around pricing issues. . . . Our
                 exposure to all these things is very minimal .... Teva was not associated
                 with any of that.” (Defendant Desheh, Nov. 19, 2015)

        6.       Contrary to these false statements, the Price-Hike Strategy yielded hundreds

of millions of dollars of additional revenue and profit quarter over quarter through the second

quarter of 2015.1 Defendants concealed however that the Price-Hike Strategy was the

primary contributor of this massive boost in profits.

        7.       Moreover, the strategy was inherently risky and unsustainable for several

reasons, including that two-thirds of Teva’s increases were affected in tandem with other

drug manufacturers. Wholesale purchasers of generic drugs routinely set pricing through

competitive Request for Proposal ("RFP") bidding. Thus, when Teva raised prices, any

manufacturer in the generic drug market could underbid Teva and wipe out Teva's market

share. Moreover, the appearance of price gouging or collusion could draw public outrage,



1
  The Complaint may at times refer to quarterly and annual accounting periods in this manner. Thus, 2Q15 refers to
the second quarter of 2015, and FY15 refers to the fiscal year ending 2015.

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law enforcement scrutiny, and civil and criminal liability.

       8.      Defendants’ fraudulent statements permitted the Company to mislead the

market and to complete a $40 billion acquisition of the Actavis generic drug division from

Allergan plc in 2015. However, Teva could not sustain the price increases. By mid-2016, the

Company succumbed to the pricing pressures of the generics market, and its stock price

declined, costing investors tens of billions of dollars.

       9.      Prior to the Relevant Period, Teva had faced major headwinds. In 2012, Teva

received a subpoena from the SEC for alleged violations of the Federal Corrupt Practices Act

(“FCPA”). The SEC alleged that Teva bribed Russian, Eastern European, and Latin

American countries to gain market share of generic drugs and falsified its accounting. Teva

later paid a $519 million fine to the SEC and the U.S. Department of Justice (“DOJ”). No

longer able to rely on bribes to foreign officials, these pipelines dried up.

       10.     Teva’s U.S. pipeline was equally bleak at that time. The Company’s U.S.

generics business reported dramatically lower revenues, year over year. A May 3, 2013

Deutsche Bank report concluded that Teva’s overall generics business had “significantly

underperformed.” By August 14, 2013, Teva’s then-Chief Executive Officer (“CEO”) and

President Jeremy M. Levin (“Levin”) acknowledged that “Generic growth in the United States

[was] slowing fundamentally.” Moreover, Teva would soon lose its patent protection on

Copaxone, by far its largest specialty drug, accounting for as much as 50% of Teva’s profits

at that time. On October 30, 2013, Teva’s Board of Directors forced Levin to step down, less

than 18 months into the job.

       11.     In sum, Teva needed to reinvent itself. In January 2014, Teva announced the

appointment of Defendant Erez Vigodman (“Vigodman”) as its President and CEO, effective

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February 11, 2014. He replaced Defendant Eyal Desheh (“Desheh”), Teva’s Chief Financial

Officer (“CFO”) from July 2008 through June 30, 2017 (except from October 30, 2013 to

February 11, 2014, during which he served as Teva’s Interim CEO and President). From the

time Vigodman took over in January 2014, it immediately became clear that Teva’s plan was

to acquire new businesses potentially using Teva’s American Depositary Shares (“ADS”) as

currency. As Desheh explained on a Q4 2013 earnings call (February 6, 2014), Teva was,

with respect to potential “business opportunities,” “open for business.” During the March 4,

2014 Cowen Healthcare Conference, Desheh made plain Teva’s intentions (and need to boost

its stock price by any means) when he noted that, with “the [stock] price under $40, … we

can’t use [Teva Securities as] currency” for the large acquisition he had touted two months

earlier.

           12.   To achieve its growth-through-acquisition strategy, Teva had to improve its

profits and its share price. Although Teva was touting, as early as October 30, 2013, a

turnaround plan based upon an “accelerate[d]” cost reduction plan and “a much better,

efficient generic machine[,]” in reality, Teva was improving its profitability through

enormous price increases for drugs for which the Company had (i) some degree of

independent market power, (ii) the ability to engage in parallel price increases with other drug

companies (because of limited competition), or (iii) the ability to engage in outright price

collusion in violation of the antitrust laws. Pursuant to its price increase scheme, Teva

increased the prices on as many as 55 drugs by as much as 1700%. While Teva had begun

price increases in July and August 2013, such price increases continued into 2014 and 2015,

and involved at least 55 separate drugs. Many of these price increases exceeded 500% and

some exceeded 1000% and even 1500%.

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       13.     As a result of these huge price increases, Teva’s U.S. generic segment revenues

increased by nearly 15% from $4.18 billion in 2013, to $4.79 billion in 2015, and then

decreased to $4.56 billion in 2016, as the inevitable pricing pressure took its toll on the price

increase strategy.

       14.     For a time, Teva’s plan worked—its share price increased from just over $37

per share in September 2013 to more than $70 per share by July 2015. However, Teva well

knew that a strategy for increasing profitability based upon increasing drug prices could not

be sustained for several reasons, including, that the U.S. Food & Drug Administration

(“FDA”) was devoting increasing resources to approving Accelerated New Drug

Applications (“ANDA”) through which generic manufacturers could bring generic drugs to

market on a fast-tracked basis. Thus, avoiding the taint of price increases became particularly

important because of the public scrutiny afforded price increases in formerly inexpensive

generic drugs. Indeed, as a result of the initial Teva price increases in July and August 2013

and similar price increases by other generics manufacturers, in January 2014, the National

Community Pharmacists Association (“NCPA”) wrote to the U.S. Senate Health Education

Labor and Pensions (“HELP”) Committee and the U.S. House Energy and Commerce

Committee requesting hearings on the significant spike in generic pharmaceutical pricing. On

July 8, 2014, The New York Times addressed pricing issues in an article titled, “Rapid Price

Increases for Some Generic Drugs Catch Users by Surprise,” highlighting a 100% price

increase for digoxin, a longtime generic drug.

       15.     As a result of the N.Y. Times article, the Connecticut Attorney General (“CT

AG”) began an investigation on pricing issues with a focus on digoxin. Other state attorneys

general (“AGs”) followed suit. On October 2, 2014, U.S. Senator Bernie Sanders and U.S.

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Representative Elijah E. Cummings sent letters to Teva and thirteen other generic drug

companies asking for detailed information on various generic drug price hikes. Teva never

responded to these letters.

           16.      In November 2014, the U.S. Department of Justice (“DOJ”), which had also

opened an investigation into price fixing of generic drugs, convened a grand jury in the U.S.

District Court for the Eastern District of Pennsylvania, pursuant to which subpoenas were

issued to Teva and ten other generic drug makers.

           17.      In response to this increasing outside focus on its ever-accelerating increases

in generic drug prices, Teva sought at all costs to avoid any suggestion that price increases

were the cause of its seemingly miraculous turnaround. Accordingly, at the beginning of the

Relevant Period (February 6, 2014), Teva touted its increase in revenues, attributing them to

higher sales volumes and launches of new generic drugs. Teva did not disclose the eighteen

drug price increases since the summer of 2013. In May 2014, Teva again touted its first

quarter 2014 results, similarly relying on “new product launches” and a changed composition

of revenues to explain its increased profitability. On October 30, 2014, during the third quarter

2014 earnings call, Teva was specifically asked about the impact of price increases, but

Defendant Sigurdur “Siggi” Olafsson (“Olafsson”) deflected, suggesting that there were no

significant increases since “the base business itself is slowly eroding . . . .” And at the end of

2014, Defendant Olafsson, President and CEO of Teva’s Global Generic Medicines Group

(since July 1, 2014), rejected the premise of the question, stating: “[L]et me correct. I have

to disagree that they have experienced tremendous price increase[s].”2



2
    Unless otherwise stated, all emphasis is added.

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       18.     Throughout the remainder of 2015 and into 2016, Defendants flatly denied that

Teva’s improved performance was the result of price increases. For example, on February 11,

2016, Olafsson falsely insisted that Teva achieved $1 billion in increased profits “[n]ot by

pricing but by portfolio mix, new products and efficiency measures.” Vigodman made a

similar pronouncement on October 29, 2015:

             [A]ll the improvements you see in margins is not driven by price. It is
             driven by quantities, and by mix, and by efficiency measures not by price,
             2014, 2015. And that’s a very important message.

These statements were demonstrably false—by mid-July 2015, Teva had raised prices on

more than 61 drugs, including many by more than 250%.

       19.     On July 27, 2015, when Teva’s stock was trading at an all-time high, Teva’s

growth through acquisition plan came to fruition when it announced the purchase of

Allergan’s generics division, Actavis. The deal, which was expected to close in mid-2016,

would cost Teva approximately $40 billion, most of which was to be funded through a

massive debt offering (as well as a smaller ADS and preferred stock offering). While the debt

offering initially was scheduled to take place after the close of the transaction, in July 2016,

recognizing that the price increase scheme could no longer be maintained, Teva announced

that the debt offering would be accelerated to the end of the month. The deal closed on August

2, 2016. Notably, neither the Registration Statement nor the Offering Documents filed with

the SEC made any reference to the investigations or Teva’s receipt of subpoenas.

       20.     Just two days after the closing of the Actavis transaction, on August 4, 2016,

Teva reported second quarter 2016 financial results that reflected a $434 million decline in

revenues in its U.S. generics segment compared to the second quarter of 2015.

       21.     Shortly thereafter, on September 12, 2016, the U.S. Government

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Accountability Office (“GAO”) issued an audit report (“GAO Report”) that generic drug

manufacturers had engaged in hundreds of unexplained “extraordinary price increases,”

including price increases of more than 1,000%. Teva owned the rights to many of the drugs

identified in the GAO Report as having had an extraordinary price increase between 2013 and

2015.

        22.    Then, on November 3, 2016, media outlets reported that U.S. prosecutors

might file criminal charges against Teva and others for unlawfully colluding to fix generic

drug prices. On November 15, 2016, Teva reported third quarter 2016 revenues below

consensus expectations, which Olafsson stated were a result of pricing pressures in Teva’s

U.S. generics business.

        23.    On December 15, 2016, the CT AG and nineteen other AGs filed a civil

complaint in the U.S. District Court for the District of Connecticut against various generic

pharmaceutical manufacturers, including Teva Pharmaceuticals USA, Inc. (“Teva USA”), for

alleged anticompetitive activity.

        24.    As Teva’s financial condition deteriorated and the scrutiny surrounding the

AGs’ allegations and the GAO Report mounted in the latter half of 2016, Teva’s stock price

precipitously declined. In relatively short order, the key executives responsible for the U.S.

generics business left the Company or were fired, including Olafsson who was fired on

December 5, 2016; Vigodman who was terminated on February 6, 2017; and Desheh who left

by June 30, 2017. The “inauspicious tim[ing]” of these departures was not lost on market

watchers like The Street which reported that Olafsson’s departure “rais[ed] more questions

for investors amid continued worries around drug pricing.”

        25.    On August 3, 2017, in the first financial report issued after Desheh, Vigodman

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and Olafsson departed the Company, Teva announced a $6.1 billion write down of its entire

U.S. generics business, which had been artificially inflated as the result of its ultimately

unsustainable price increase scheme. Teva also announced, for the first time in 30 years, a

75% reduction in its shareholder dividend payout. Teva simultaneously announced drastically

reduced guidance which was a direct result of the complete collapse of the Price-Hike Strategy

and evaporation of its grossly inflated profits.

       26.     Credit rating agencies, concerned about Teva’s ability to service over $30

billion in debt, downgraded its status to just above a “junk” rating. Teva’s share price plunged

in response to this news.

       27.     Plaintiff’s claims arise from several interrelated categories of misstatements

and omissions, alleged particularly below. First, Defendants explicitly attributed Teva's

financial performance to legitimate and benign business strategies, including cost cutting and

product selection. Having identified the source of Teva's revenues, Defendants were required

to disclose the reality that Teva's performance was driven by the undisclosed Price-Hike

Strategy. Second, Defendants falsely denied that Teva had engaged in price increases or

received material benefit therefrom. Rather, Defendants claimed that Teva only raised

prices on a few generic drugs when a market shortage occurred. Third, Defendants falsely

claimed that Teva was immune to pricing pressures, though in reality, it was unable to

sustain the undisclosed Price-Hike Strategy. Fourth, Defendants repeatedly stated that

Teva was excelling in a highly competitive environment. That was far from the truth, as

Teva was only able to adopt and pursue the Price-Hike Strategy because of a lack of

competition. Fifth, Defendants failed to disclose the receipt of the State AGs’ and DOJ

subpoenas relating to investigations into price collusion in the generic pharmaceuticals

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industry and the impact of such investigations on Teva, and were required to do so in

connection with the Note Offering.

       28.     Moreover, under Item 303 of SEC Regulation S-K and Item 5 of Form 20-

F, Defendants were obligated to disclose that the Price-Hike Strategy was impacting Teva's

profits, both as they dramatically increased, and later as they evaporated.

       29.     Additionally, Teva, and certain other Defendants, colluded with other

generic pharmaceutical manufacturers to fix prices for numerous generic drugs, which

exhibited both parallel price increases with Teva's competitors and other indicia of

collusion. These allegations are corroborated by Plaintiff's counsel's investigation and by

the facts identified through the State AGs' allegations that Teva engaged in a vast industry-

wide price-fixing conspiracy.

       30.     Defendants’ fraud also extended to related matters, such as failing to disclose

and actively concealing the negative impact of the Actavis acquisition and integration of the

acquired business on Teva’s financial and business prospects. Moreover, since August 4,

2017, Teva repeatedly – and falsely – denied any involvement in collusive conduct, further

misleading investors during the Relevant Period.

II.    JURISDICTION AND VENUE

       31.     The claims asserted herein arise under Sections 10(b) and 20(a) of the

Exchange Act, 15 U.S.C. §§ 78j(b) and 78t(a), and the rules and regulations promulgated

thereunder, including SEC Rule 10b-5, 17 C.F.R. § 240.10b-5.

       32.     This Court has jurisdiction over the subject matter of this action pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and under 28 U.S.C. § 1331, because this

is a civil action arising under the laws of the United States.

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       33.     Venue is proper in this District pursuant to Section 27 of the Exchange Act

and 28 U.S.C. § 1391(b).

       34.     In connection with the acts, conduct and other wrongs alleged in this

Complaint, Defendants, directly or indirectly, used the means and instrumentalities of

interstate commerce, including but not limited to, the United States mail, interstate telephone

communications, and the facilities of the national securities exchange, namely the New York

Stock Exchange (“NYSE”).



III.   EXCHANGE ACT ALLEGATIONS

       A.      Parties

               1.        Plaintiff

       35.     Plaintiff, CTPF, was established in 1895 by the Illinois legislature and is the

administrator of a defined benefit pension fund, providing retirement, survivor and disability

benefits for certain certified teachers and employees of, inter alia, the Chicago Public

Schools. CTPF brings claims under the Exchange Act pursuant to its purchase of acquisition

of Teva securities, during the Relevant Period, on the New York Stock Exchange at prices

that were artificially inflated by the materially false and misleading statements and omissions

of material fact complained of herein, in violation of federal securities laws, and suffered

damages thereby. In addition, CTPF purchased U.S.-dollar-denominated senior notes

maturing in 2018. 2019. 2021, 2023, 2026 and 2046 issued by Teva Finance, in the United

States during the Relevant Period.

               2.        Exchange Act Defendants

       36.     Defendant Teva is incorporated in Israel with its principal executive offices at

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5 Basel Street, P.O. Box 3190, Petach Tikva, 4951033, Israel. Teva’s U.S. wholly-owned

subsidiary Teva USA has its principal offices at 1090 Horsham Road, North Wales,

Pennsylvania, 19454. Teva engages in interstate commerce within this District and regularly

transacts business within the State of Connecticut. Teva ADS are listed and traded on the

NYSE under the symbol “TEVA.” Teva ADS are traded in the United States.

       37.     Defendant Vigodman was Teva’s President and CEO from February 11, 2014,

through February 6, 2017, and a Director from June 22, 2009, through February 6, 2017.

Vigodman signed and certified certain of Teva’s reports on Forms 20-F and 6-K filed with

the SEC during the Relevant Period, as set forth herein. Vigodman also made false and

misleading statements on numerous conference calls with investors and analysts, as alleged

specifically herein. During his tenure at Teva, Vigodman possessed the power and authority

to, and in fact did, approve and control the contents of the Company’s SEC filings alleged to

be false and misleading.

       38.     Defendant Desheh was Teva’s CFO from July 2008, through June 30, 2017,

except from October 30, 2013, to February 11, 2014, during which he served as Teva’s Interim

CEO and Interim President. Desheh also was Teva’s Group Executive Vice President

(“EVP”) from 2012 to June 30, 2017. Desheh signed and certified certain of Teva’s reports

on Forms 20-F and 6-K filed with the SEC during the Relevant Period, as set forth herein.

Desheh also made false and misleading statements on numerous conference calls with

investors and analysts, as alleged specifically herein.

       39.     Defendant Olafsson was President and CEO of Teva’s Global Generic

Medicines Group from July 1, 2014 until December 5, 2016. Prior to joining Teva, Olafsson

held senior leadership and other positions, within Actavis between 2003 and 2014. As

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President and CEO of Teva’s Global Generics Medicines Group, Olafsson possessed the

power and authority to control the contents of the Company’s reports to the SEC concerning

Teva’s U.S. generics business. Olafsson was provided with copies of the Company’s reports

and press releases alleged herein to be misleading before, or shortly after, their issuance and

had the ability and opportunity to prevent their issuance or cause them to be corrected.

       40.     Defendant Deborah Griffin (“Griffin”) serves as Teva’s SVP and Chief

Accounting Officer (Principal Accounting Officer), and served as the Authorized U.S

Representative of Teva, and the Authorized U.S. Representative of Teva Finance during the

Class Period. She was also VP and CFO of Teva USA during the Class Period. Griffin signed

the ADS and Notes Registration Statements. While at Teva, Griffin possessed the power and

authority to, and in fact did, approve and control the contents of the Company’s SEC filings

alleged herein to be false and misleading, as they pertained to Teva’s USA’s financial

reporting.

       41.     Defendant Kare Schultz (“Schultz”) has served as President and Chief

Executive Officer of Teva since November 1, 2017.           Schultz has also served on the

Company’s Board of Directors since November 1, 2017.

       42.     Defendant Michael McClellan (“McClellan”) served as Executive Vice

President and Chief Financial officer of Teva from November 2017 until November 8, 2019.

Prior to serving in that role, McClellan served as Teva’s Interim Group CFO form July 2017

to November 2017 and Senior Vice President and CFO, Global Specialty Medicines from

2015 to November 2017.

       43.     Defendant Yitzhak Peterburg (“Peterburg”) served as Teva’s Interim President

and CEO from February 6, 2017, to October 31, 2017. He also served as a Teva director from

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June 2009 to July 2010, and from 2012 until December 12, 2017, and as Chairman of Teva’s

Board of Directors from January 1, 2015, to February 6, 2017.

       44.     Defendants Vigodman, Desheh, Olafsson, Griffin, Schultz, McClellan, and

Peterburg are sometimes referred to herein collectively as the “Individual Defendants.” Teva

and the Individual Defendants are referred to herein collectively, as to claims under the 34

Act, as the “Exchange Act Defendants.”



       B.      FACTUAL ALLEGATIONS

               1.     The Regulation of Generic Drugs in the U.S. Is Structure to Create a
                      Competitive Market for the Benefit of Consumers

       45.     Since the implementation of the Drug Price Competition and Patent Term

Restoration Act (known as the “Hatch-Waxman Act”) in 1984, generic drugs have had a significant

impact on healthcare in the U.S., resulting in tens of billions of dollars in annual savings for

consumers and the overall healthcare system. The Hatch-Waxman Act was initially enacted to

simplify the regulatory hurdles for bringing generic drugs to market and eliminated the prior

requirement that generic drug companies file costly New Drug Applications (“NDA”) to obtain

FDA approval. The Hatch-Waxman Act is designed to get less expensive generic drugs into the

hands of consumers expeditiously. Under the revised process, generic drug companies can instead

file an ANDA. A generic drug company that submits an ANDA generally is not required to include

clinical trial data to establish the safety and efficacy of the drug. Instead, the company can “piggy-

back” on the safety and efficacy data supplied by the original NDA holder for a given drug.

       46.     Generic drugs must meet certain bioequivalence and pharmaceutical equivalence

standards set by the FDA to ensure that the generic drug is essentially an exact substitute for the


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brand-name drug. To receive FDA approval through an ANDA, a generic drug must contain the

same active ingredient, in the same dosage form, in the same strength, to be bioequivalent to the

original brand-name version approved by the FDA through an NDA. The FDA uses a review

process to ensure that brand-name and generic drugs that are rated “therapeutically equivalent”

have the same clinical effect and safety profile. According to the FDA: “[p]roducts classified as

therapeutically equivalent can be substituted with the full expectation that the substituted product

will produce the same clinical effect and safety profile as the prescribed product.” 3 The FDA

assigns generics that are deemed to be therapeutically equivalent to their brand-name counterparts

an “AB” rating.

        47.     The Hatch-Waxman Act also provides a 180-day exclusivity period for the first

generic drug company that files an ANDA and simultaneously challenges the validity of the patent

for a brand-name drug. This exclusivity period, which allows the generic drug company to market

its generic version free from competition, is intended to spur generic drug companies to provide

alternatives to brand-name drugs. When generic drugs enter the market, they are often priced well

below the brand-name drugs and quickly take a large market share from the brand-name drug

company. The first generic drug will generally be priced 15% to 20% below the brand-name drug.

Once the exclusivity period ends and more generic versions enter the market, the price of the

generic drugs continues to fall and their combined share of the market for that drug, relative to the

brand-name equivalent, continues to grow. The price of the generic versions of a given drug can

fall to as little as 10% to 20% of the original price for the brand- name drug. This competition



3
 See Approved Drug Products with Therapeutic Equivalence Evaluations (“Orange Book”), 37th Ed., 2017,
Department of Health and Human Services – Food and Drug Administration, at vii.


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allows purchasers to buy the generic equivalent of a brand-name drug at substantially lower prices.

As Stephen W. Schondelmeyer, Professor of Management & Economics at the University of

Minnesota, College of Pharmacy, explained in his testimony before the Senate HELP Committee:

              The Congressional Budget Office has credited the Hatch-Waxman Act
              and, importantly, the process for easy and routine A-rated generic
              substitution by pharmacists with providing meaningful economic
              competition from generic drugs, and with achieving billions of dollars
              of savings for drug purchasers such as consumers and employers.

        48.     The Maximum Allowable Cost (“MAC”) pricing regime also serves to control drug

prices. Under this regime, individual states or pharmacy benefits managers (“PBMs”) - third party

administrators of prescription drug programs - establish a MAC for drug products using a variety

of inputs. If the cost for a pharmacy to dispense a given drug exceeds the MAC, the pharmacy will

either opt to substitute a less expensive version, if available, or sell the drug at a loss to service the

patient. This MAC framework incentivizes pharmacies to fill prescriptions with the least

expensive, therapeutically equivalent version of a drug to maximize their potential profits.

Between 2005 and 2014, generic drugs saved the U.S. healthcare system more than $1.6 trillion.

                2.    In 2010-2014, a Backlog of ANDA Approvals at the FDA Created a
                      Window of Reduced Competition in the Generic Drug Market

        49.     One of the keys to reducing drug prices is ensuring that there is substantial

competition in generic drug markets. Given that generic drug makers bear none of the large

research and development expenses borne by brand-name manufacturers, the primary impediment

to entry into the generic market is obtaining ANDA approval from the FDA. Accordingly, the

overall cost of prescription drugs for the public is reduced by faster generic drug approval times.

Historically, the average time between generic drug application submission and approval ranges

from six months to several years, depending on the complexity of the drug. That approval time


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had varied over time, however, based upon the number of generic drugs seeking approval and the

review resources available to the FDA.

        50.    By 2012, FDA resource problems similar to those plaguing the new drug market in

the late 1980s had become a significant limitation on the approval of ANDA for generic drugs. In

2012, the FDA was facing a backlog of over 2,800 unexamined ANDA. This overload was driven

by the relative ease with which manufacturers could obtain generic drug approvals as a result

of Hatch-Waxman, and the lack of a respective increase in FDA reviewers to process the

applications. By 2012, the average waiting period for an ANDA approval had increased to 31

months.

        51.    The backlog of unapproved drugs, which limited generic competition, created a

window in which generic companies had the ability to increase prices. For example, the September

2016 GAO Report found that more than 300 of the 1,441 established generic drugs examined by

the study had one or more instances of “extraordinary price increases”—i.e., “periods of prices at

least doubling” between the first quarter of 2010 and the first quarter of 2015. In 2014 alone, more

than 100 generic drugs experienced these extraordinary price increases. For 48 of these 100 drugs,

the price increases were 500% or higher.

               3.      By 2013, Teva Was Performing Poorly and Facing a Collapsing ADS Price

       52.     Heading into 2013, Teva faced a number of significant issues. First, by 2012,

Teva’s ADS price had fallen from a high of over $60 in 2010, to the upper-$30s.

       53.     Second, in 2012, Teva received subpoenas from the SEC relating to a Foreign

Corrupt Practices Act investigation into Teva’s bribery scheme to generate sales and gain market

share of generic drugs in Russia, Ukraine and Mexico (Complaint at ¶2, SEC v. Teva Pharm.


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Indus., No. 1:16-cv- 25298 (KMM) (S.D. Fla. Dec. 22, 2016), ECF No. 1). The SEC also alleged

that Teva deliberately falsified its accounting. Teva’s generics revenues from “Rest of World”

markets (“ROW”) (including those subject to the FCPA investigation) fell approximately $280

million in 2013. Ultimately, Teva paid a $519 million fine and entered into a deferred prosecution

agreement. The investigation put pressure on the revenue pipelines from these countries.

       54.        Third, Teva’s U.S. generics business reported dramatically lower revenues, year

over year. In fact, Teva was the worst performing generic drug company compared to its peers,

despite being the largest. As a Deutsche Bank analyst concluded in a May 3, 2013 report, Teva’s

overall generics business had “significantly underperformed.”

                Fourth, Teva would soon lose its patent protection on Copaxone, which
                was far and away its most important drug, accounting for as much as 40%
                of Teva’s operating profits at that time. Due to this impending loss of
                exclusivity, Teva knew it could face generic competition to Copaxone as
                early as mid-2014.

       55.        On October 30, 2013, Teva’s Board of Directors forced CEO Levin to step down

less than 18 months after he had taken the job. Given the sudden nature of Levin’s termination,

the Board named Defendant Desheh, Teva’s Executive Vice President and CFO, to fill the role of

President and CEO on an interim basis, effective immediately, and formed a committee to search

for a permanent successor.

       56.        In an October 30, 2013 investor call relating to Levin’s firing, then-Chairman

Phillip Frost and Desheh assured investors that they were focused on turning the Company around.

Desheh informed the market that Teva “ha[d] decided to accelerate” the cost reduction plan and

promised “to create a much better, efficient generic machine.” Chairman Frost disclosed that

“friends of [his] . . . have bought hundreds of millions of dollars of stock during the last couple of

weeks. . . .”

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         57.       In reality, just months earlier, recognizing that the backlog in ANDA approvals at

the FDA discussed above had, at least temporarily, restricted competition for some generic drugs,

Teva had undertaken a risky gamble to improve its results – substantial price increases for certain

of its drugs. In July and August 2013, Teva increased prices on a number of drugs:

               Oxybutynin Chloride Tablets; Nadolol Tablets; Fluconazole Tablets;
               Methotrexate Sodium Tablets; Cimetidine Tablets; Prazosin Capsules;
               Ranitidine HCL Tablets; Enalapril Maleate Tablets; Doxazosin Mesylate
               Tablets; Etodolac Tablets; Pravastatin Sodium Tablets; Ketoprofen
               Capsules; Etodolac SR Tablets; Tolmetin Sodium-Capsules; Clemastine
               Fumarate; Diltiazem HCL Tablets; Ketorolac Trometh Tablets; Diclofenac
               Potassium Tablets.4

         58.       By October 2013, this desperate gamble had not yet fully borne fruit – costing CEO

Levin his job.

                   4.     By 2014, Defendants Were Fully Aware that Price Hikes for GenericDrugs
                          Could Not Be Maintained for an Extended Period

         59.       Recognizing the enormous backlog the FDA was experiencing in its ANDA

approval process, and the attendant negative impacts on competition in the provision of generic

drugs, Congress enacted the Generic Drug User Fee Amendments (“GDUFA”) to provide the FDA

with a supplemental revenue source to spur the approval process. GDUFA went into effect in

October of 2012, and instituted user fees on ANDA and other facility fees to generate $1.5 billion

over the life of the five-year program. The goal of GDUFA was to eliminate the ANDA backlog

and reduce the average review time to ten months or less. The expectation was that, once the fees

flowed into the system and new FDA reviewers were hired and trained, backlogs would decrease

and competition would increase, severely curtailing generic drug makers’ ability to increase prices.

Thus, by late 2012/early 2013, generic manufacturers knew that within the next 1-2 years, ANDA


4
    The specific timing and price increases for these drugs are set forth in charts herein and in Appendix A hereto.

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approvals would be on the rise and any ability they had to raise prices would be severely curtailed.

       60.       With the additional funds provided by GDUFA came an FDA commitment to reach

a variety of goals, including accelerating the review process and eliminating the mounting backlog

of ANDA. One such commitment the FDA took was to act on 90% of all backlogged ANDA by

the end of fiscal year (“FY”) 2017. In a keynote address at the Generic Pharmaceutical

Association annual meeting in the spring of early 2015, the Director of the FDA’s Office of

Generic Drugs, Kathleen Uhl, M.D., pledged accelerated action. The FDA delivered on Director

Uhl’s promise, hiring nearly 1,200 new employees in 2015—more than the preceding two years

combined.

       61.       As the graph below depicts5, the number of full approvals and tentative approvals

of generic drugs began to reach record heights in or around April 2015:




5
   Implementation of the Generic Drug User Fee Amendments of 2012 (GDUFA), Testimony of Janet Woodcock,
M.D., Director, Center for Drug Evaluation and Research, U.S. Food and Drug Administration, Before the Committee
on Oversight and Government Reform, U.S. House of Representatives, Feb. 4, 2016, at 7.

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      62.      On November 9, 2015, InsideHealthPolicy reported in an article entitled, “FDA,

Pressed to Clear Generic Drug Backlog, Says It Is Ahead of Schedule,” that the FDA had taken

action on 82% of the backlog “as a rising chorus of voices, including Democratic presidential

candidate Hillary Clinton, press the agency to clear the backlog to help counter rising

pharmaceutical prices.” All told, in 2015, more than 700 generic drugs were approved or

tentatively approved by the FDA—the highest figure in the FDA’s history.

      63.      In addition to the increase in generic competition that would result from the

adoption of GDUFA and subsequent increase in the FDA’s ANDA review capabilities, Teva had

other reasons to believe that its ability to increase prices would be a short-term phenomenon that

would not extend beyond 2015 or 2016—at the latest.

      64.      As a result of the initial price increases by Teva and others in 2013, in January

2014, the NCPA wrote to the U.S. Senate HELP Committee and the U.S. House Energy and

Commerce Committee regarding generic pharmaceutical pricing. The letter stated “many of our

members across the U.S. … have seen huge upswings in generic drug prices that are hurting

patients and pharmacies ability to operate.” It further noted “77% of pharmacists reported 26 or

more instances over the past six months of a large upswing in a generic drug's acquisition price.”

It asked that the Senate “schedule an oversight hearing to examine what factors may have led to

these unmanageable spikes in generic drugs.”

       65.     On July 8, 2014, The New York Times addressed pricing issues with generic drugs

in an article titled, “Rapid Price Increases for Some Generic Drugs Catch Users by Surprise,”

highlighting a nearly 100% price increase for digoxin, a longtime generic drug that Teva did not

produce. The article stated:


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              Though generic medicines are far cheaper to bring to market than brand-
              name drugs because they involve little research and development, they also
              are priced lower because generics typically face intense competition. But
              Dr. Aaron Kesselheim, a professor of health economics at the Harvard
              School of Public Health, noted, “Studies show it is not until you have four
              or five generics in the market that the prices really are down.”

        66.      As a result of the New York Times article, the CT AG began an investigation on

pricing issues with a focus on digoxin. Other AGs quickly followed suit.

        67.      On October 2, 2014, U.S. Senator Bernie Sanders and U.S. Representative Elijah

Cummings sent letters to Teva and thirteen other generic drug companies asking for detailed

information on various generic drug price hikes. The letter stated: “We are conducting an

investigation into the recent staggering price increases for generic drugs used to treat everything

from common medical conditions to life-threatening illnesses.” It specifically noted that:

           We are writing to your company to request information about the escalating
           prices it has been charging for two drugs: Divalproex Sodium ER, which is
           used to prevent migraines and treat certain types of seizures, and Pravastatin
           Sodium, which is used to treat high cholesterol. According to data provided
           by the Healthcare Supply Chain Association (HSCA), the average prices
           charged for these drugs have increased by as much as 736 percent for
           Divalproex Sodium and 573 percent for Pravastatin Sodium from October
           2013 to April 2014.

     Teva never responded to this letter.

        68.      On November 10, 2014, The Wall Street Journal reported that the DOJ was

investigating generic drug manufacturers for violations of the antitrust laws. Later that month, the

DOJ convened a grand jury in the Eastern District of Pennsylvania, pursuant to which subpoenas

were issued to Teva and at least ten other generic drug manufacturers.

        69.      On November 20, 2014, the Senate Subcommittee on Primary Health and

Aging held a hearing entitled “Why Are Some Generic Drugs Skyrocketing In Price?” In his



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opening remarks, Senator Sanders noted that

             According to Medicare and Medicaid data, between July 2013 and July
             2014, half of all generic drugs went up in price. During this same time
             period, over 1,200 generic drugs, nearly 10 percent of all generic drugs,
             more than doubled in price. More than doubled in price. In fact, these drugs
             went up in price by an average of 448 percent. Dozens of drugs went up by
             500, 600, 1,000 percent.

    Other Senators noted the need to reduce the FDA backlog in ANDA approvals to spur

    generic competition—a process that was then ongoing.

       70.     As a result of the adoption of GDUFA in 2012, and the intense scrutiny by

Congress, regulators and the press of generic drug pricing (spurred largely by drug price

increases in 2013 and 2014), Teva knew that its ability to obtain additional revenues by raising

prices was a short-term phenomenon that would not persist for more than a relatively short

(1-2 year) period of time. Investors were also aware that the flood of new generics to the

market would lead to increased competition and lower prices. Teva therefore knew that

acknowledging price increases could alert investors that any success the Company was

experiencing would be short term.

               5.    Vigodman Becomes CEO and Teva Announces Its Strategy to Use Its Stock as
                     Currency for a Major Acquisition

       71.     In January 2014, Teva announced the appointment of Vigodman as its President

and CEO, effective February 11, 2014. From the time Vigodman was hired, it immediately became

clear that Teva’s plan was to solve its long-term issues through a major acquisition by using its

stock to facilitate a deal. This strategy was the direct result of Teva’s planning for the end of its

patent for Copaxone in 2017. Copaxone is used to treat multiple sclerosis and was a huge success

for Teva, providing as much as 40% of Teva’s operating profit in some years. “Teva’s management



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anticipated the patent and pricing issues well in advance, and decided that the company should buy

its way out of the problem through major acquisitions.”6

        72.     Thus, at a January 14, 2014 J.P. Morgan Healthcare Conference, Defendant Desheh

explained that Teva was in a position to make “more than a small acquisition or in- licensing

transaction.” He specifically noted that this “major commitment” was supported by the recent

recruitment of Vigodman who would “emphasize (potentially large) acquisitions more readily than

his predecessor,” ideally using Teva’s ADS as “currency.”

        73.     On March 4, 2014, at a Cowen Health Care Conference, Desheh noted that, with

“the stock price under $40, … we can’t use [Teva Securities as] currency” for the large acquisition

he had touted two months earlier.

                6.    Teva Substantially Increases Prices on a Multitude of Drugs to Prop Up Its
                      Declining Revenues and Increase Its Share Price

        74.     The arrival of Vigodman caused Teva to substantially intensify its undisclosed plan

to increase the prices it charged for an array of its generic drug offerings. Including the multiple

drugs where it had raised prices in 2013, beginning in April 2014 and extending through July 2015,

Teva raised prices on additional drugs and, in total, raised prices on at least 55 drugs. These

undisclosed price increases fit into one of three categories: (1) 28 drugs where Teva was the only

(or only major manufacturer) increasing the price of the generic drug; (2) 24 drugs where Teva’s

price increase occurred in parallel with increases by other manufacturers; and (3) three drugs where

governmental-investigations had indicated there may have been active collusion between Teva and

other manufacturers. In total, the price increases swelled Teva’s revenue by billions of dollars.



6
 David Segal and Isabel Kershner, “‘Nobody Thought It Would Come To This’: Drug Maker Teva Faces A Crisis,”
N.Y. Times (Dec. 27, 2017), at B1.

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                7.   Teva Unilaterally Increased Prices on Dozens of Drugs

       75.     Beginning in 2013 and extending through early 2016, Teva recognized that the

FDA’s ANDA backlog had bestowed it with significant market power with respect to a number

of drugs. In response, Teva unilaterally increased prices on at least 28 generic drugs by significant

amounts. The drugs and the dates and amounts of increases are set forth below:




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                                                                           Percentage                Increased
       Generic Drug                      Period of Increase7                Increase8                Revenue9
      Anagrelide HCL                         3/14-12/15                        243%                  $17,134,558
         Cimetidine                           6/13-6/18                        869%                  $12,797,442
     Ciprofloxacin HCL                       12/14-1/17                       1111%                 $102,373,807
       Clemastin Fum                         7/13-12/16                        223%                   $3,410,833
        Clotrimazole                         8/14-12/17                        500%                   $3,193,627
     Cromolyn Sodium                          7/14-6/18                        392%                   $6,029,503
    Cyrpoheptadine HCL                       3/14-11/17                        110%                   $7,460,259
         Diclofenac                           1/13-8/15                        310%                  $21,783,410
    Dicloxacillin Sodium                      3/14-8/17                        98%                   $13,326,041
       Diltiazem HCL                          7/13-1/16                        205%                  $38,020,901
        Etodolac SR                           7/13-1/14                        200%                  $49,403,608
      Fluoxetine HCL                          1/15-6/18                        769%                  $29,043,960
         Flutamide                           11/15-7/16                        55%                      $88,170
     Fosinipril Sodium                        2/15-9/15                        60%                    $3,928,025
        Griseofulvin                          2/15-3/16                        276%                  $16,148,357
     Hydroxyzine Pam                          3/14-1/18                        173%                  $11,019,351
         Ketoprofen                           7/13-5/18                        746%                   $6,131,456
     Ketorolac Trometh                        7/13-5/16                        409%                  $36,732,068
      Loperamide HCL                          8/14-2/16                        119%                  $15,651,417
       Megestrol Ace                          2/15-6/15                        35%                     $762,856
    Methotrexate Sodium                       6/13-1/15                        579%                 $138,314,084
        Methydolpa                            1/15-2/17                        216%                    $645,886
      Mexiletine HCL                          8/14-4/17                        124%                  $23,345,258
      Nefazodone HCL                         8/14-11/16                        120%                  $23,479,496
     Nortriptyline HCL                        1/15-9/16                        158%                  $20,967,422



7
 A nationally recognized database was used to calculate prices per unit. The data reflect prices at wholesale, but
do not reflect off-invoice discounts and rebates. The data show sales prices reflecting the inventory in any given
month. Even though price increases may be set at a particular point in time, because the data tracks actual market
pricing, these prices increases can take time to work through the system as older stocks with lower prices are sold
and replaced by newer stocks with higher prices. The period of increase is calculated with respect to the beginning
of the price increase and the month of the peak price after the price increase.
8
 This represents the percentage increase for the most commonly prescribed dosage level for the period in the
prior column. All dosages and relevant periods are set forth in Appendix A hereto.
9
  To determine increased revenue, the month prior to the price increase was identified. Then it was assumed that
this “but-for” price would have continued from that point onward had the price increase not occurred. The
increased revenue is the difference between the actual monthly prices and the pre-increase price, multiplied by
total quantity. Increased revenue is only calculated for months where the actual price is greater than the pre-
increase price. This calculation is performed separately for each formulation of a given product.

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                                                                             Percentage                Increased
          Generic Drug                     Period of Increase                 Increase                 Revenue
           Prazosin HCL                       11/12-11/15                       243%                   $43,272,877
          Ranitidine HCL                       6/13-1/17                        611%                   $41,038,333
         Tolmetin Sodium                       7/13-6/17                        265%                    $2,652,049

         76.      In total, comparing the year prior to the price increase to the year after the increase,

Teva’s revenues for these drugs increased by a total of $688.1 million.

                           8.      Teva Increased Prices in Parallel with Other Manufacturers for a
                                   Number of Drugs

         77.      Beginning in 2013 and extending through early 2016, Teva, acting in response to

or in parallel with other manufacturers, increased prices on at least 24 generic drugs. The drugs

and the dates and amounts of increases are set forth below:

                                                                                                              Average
                                        Period of               Percentage              Increased            Increase of
        Generic Drug                    Increase                Increase10               Revenue            Competitors11
          Baclofen                       3/14-2/15                  306%               $143,490,678             716%
        Bumetanide                       3/14-7/16                  652%                $86,977,165             258%
     Cabidopa-Levodopa                  6/16-12/16                   51%                     $94,699             79%
       Carbamazepine                    8/14-12/16                  909%                $81,660,368             792%
         Cephalexin                      3/14-7/14                  171%                $52,800,891             320%
          Danazol                        1/15-3/16                  169%                  $3,588,552             76%
       Dipyridamole                     6/15-12/17                  413%                  $1,486,507            245%
     Divalproex Sodium                   3/13-6/18                  444%                  $8,765,463            166%
      Doxazosin Mesy                    7/13-10/15                  666%                $45,742,141             908%
          Enalapril                     6/13-12/16                 1728%                $55,084,975            1222%
         Estazolam                       3/14-6/18                  132%                $20,790,429             277%
          Estradiol                      7/12-1/16                  198%                  61,704,439            273%
          Etotolac                      3/13-12/15                  501%                $49,403,608             333%

10
  This represents the percentage increase for the most commonly prescribe dosage level for the period in the prior
column. All dosages and relevant periods are set forth in Appendix A hereto.

11
   Competitor price increases are included here if the data showed a price increase generally within a month or two
of Teva’s price increase for the same drug and formulation. The data in this chart represent the average percentage
increase for all competitors that increased the price on at least one dosage of the drug. All competitors, dosages and
relevant periods are set forth in Appendix A hereto.


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          Fluconazole                  5/13-8/13                  487%              $98,589,022                 643%
         Fluocinonide                 5/14-12/14                  182%             $110,899,192                 358%
          Glimepiride                  1/15-8/15                  199%              $19,091,825                 214%
         Ketoconazole                  3/14-9/16                  590%              $54,025,729                 945%
        Meperdine HCL                  7/14-5/16                   439%              $9,463,723                 389%
             Nadolol                  6/13-10/16                  1143%             $70,875,535                 131%
        Oxybutynin CL                  5/13-1/16                  869%              $97,355,732                 535%
     Penicillin V Potassium           10/16-3/17                  440%              $27,574,780                 412%
        Pravastatin Sod               7/13-11/13                  437%             $373,633,425                 394%
       Propranolol HCL                 5/13-5/14                  298%             $256,345,498                 900%
        Trazodone HCL                  6/15-2/16                  112%             $100,168,909                 130%

         78.     In total, comparing the year prior to the price increase to the year after the

increase, Teva’s revenues for these drugs increased by a total of $1.83 billion.

                          9.       Teva Actively Colluded with Other Generic Drug Manufacturers to
                                   Fix Prices

         79.     With respect to three drugs as to which Teva made significant price increases—

Nystatin, Theophylline ER, and Glipizide-Metformin—there is direct evidence that the price

increases were the result of collusion with other manufacturers. Teva increased prices for and

revenues from these drugs as follows:

                                                                          Percentage               Increased
           Generic Drug                   Period of Increase              Increase12                Revenue
        Glipizide Metformin                    2/13-2/16                     142%                  $14,683,227
              Nystatin                        3/14-11/15                      52%                   $4,334,575
           Theophylline                        3/14-7/14                     172%                  $25,624,945

                                    1) Direct Evidence of Price-Fixing: Nystatin and Theophylline ER

         80.     Nystatin is a medication used to fight fungal infections. The generic Nystatin sold

by Teva is AB-rated to the brand name drug Mycostatin®. During the Relevant Period, Teva’s


12
   This represents the percentage increase for the most commonly prescribe dosage level for the period in the
prior column. All dosages and relevant periods are set forth in Appendix A hereto.


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two main competitors for Nystatin were Heritage Pharmaceuticals Inc. (“Heritage”) and Sun

Pharmaceuticals (through its division Mutual Pharmaceuticals (“Mutual”)).

         81.      Theophylline ER is a medication used to treat asthma and airway narrowing

associated with long-term asthma or other lung problems, such as chronic bronchitis and

emphysema. The generic Theophylline ER sold by Teva is AB-rated to the brand name drug

Theodur®. Theophylline ER is an extended release medication, which means that it is released

into the body throughout the day. During the Relevant Period, Teva’s primary competitor for

Theophylline ER was Heritage.

         82.      As evidenced by facts and documents detailed in the CT AG’s Amended Complaint

against Teva and others dated June 18, 2018, Teva, Heritage and Mutual exchanged numerous

e-mails and text messages regarding the prices of generic Nystatin and Theophylline ER during

the Relevant Period. Many of these communications were, on information and belief, between

Nisha Patel (“Patel”), Teva’s former Director of Strategic Customer Marketing from April 2013

to August 2014 and its Director of National Accounts from September 2014 to December 2016,

and Jason Malek (“Malek”), the former President of Heritage who pled guilty to Sherman Act

antitrust violations for price-fixing in January 2017.13 For example,

                  (a)      In July 2013, Patel had a series of phone calls with Malek. The three calls
                           spanned 43 minutes, including an initial call on July 7 that lasted for 21
                           minutes.

                  (b)      On July 30, 2013 Patel and Malek spoke twice, with the second of those
                           two calls lasting more than twelve minutes. In between these two calls,
                           another Heritage representative spoke with a Mutual representative for
                           nearly eleven minutes.


13
  Based on publicly available social media sites, Patel’s tenure at Teva aligns with the tenure of Malek’s
employment at Heritage and contact with Teva.


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      (c)   After these calls, Nystatin was identified on an internal Teva document
            listing “potential” price increases, notwithstanding that Teva management
            had declined to raise prices a month earlier. Patel then left for maternity
            leave in August 2013 until the end of 2013.

      (d)   On February 5, 2014, Patel and Malek spoke for more than one hour. Two
            days later, on February 7, Nystatin was again identified on an internal
            Teva document listing drugs for potential price increases. Patel and Malek
            had several additional calls in February and March 2014.

      (e)   On April 4, 2014, Teva increased the weighted average cost (“WAC”)
            price for Nystatin and Theophylline ER.

      (f)   On April 15, 2014, Patel and Malek spoke for 17 minutes and discussed
            price increases for Nystatin, Theophylline, and several other generic
            drugs.

      (g)   On June 23, 2014, Heritage employees internally discussed strategies to
            implement its own price increases of Nystatin, which it had slated for a
            95% increase, and Theophylline ER, which it has slated for a 150%
            increase. In her notes about the call, a Heritage representative indicated
            that Heritage had to increase its WAC pricing for Nystatin, because Teva
            had. On June 25, 2014, the Heritage representative exchanged text
            messages with her contact at Sun/Mutual to let her know the details of
            Heritage’s anticipated price increase for Nystatin.

      (h)   On June 25, 2014, Malek also spoke with Patel for nearly fourteen
            minutes, during which Malek reported that Heritage would increase its
            prices for Theophylline shortly.

      (i)   On June 30, 2014, Patel emailed her colleagues, acknowledging the
            agreement with Heritage.

      (j)   By July 9, 2014, Heritage had increased Nystatin prices for at least
            fourteen of its customers nationwide, and by at least August of 2014, Sun
            began increasing its price for Nystatin as well. In addition to leading the
            price increases for Nystatin, Teva also refused to bid or challenge
            Heritage’s price increases when requested by Heritage customers. Indeed,
            on July 8, 2014, a large retail customer emailed a Teva representative
            requesting a quote for Nystatin, but Teva refused to bid or challenge the
            Heritage price increase for this customer.

      (k)   Also, by July 9, 2014, Heritage had increased prices for Theophylline ER
            for at least twenty different customers nationwide, much as Teva had done
            three months earlier.


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       83.     The agreements between Teva and these other drug companies to increase prices

for Theophylline and Nystatin were part of a scheme to manipulate prices for these drugs.

                               2) Direct Evidence of Price-Fixing: Glipizide-Metformin

       84.     Glipizide-Metformin is a medicine indicated for the treatment of high blood sugar

levels caused by Type-2 diabetes. The generic Glipizide-Metformin manufactured by Teva is AB-

rated to the brand name drug Metaglip®. Prior to and during the Relevant Period, Teva’s only two

competitors for Glipizide-Metformin were Heritage and Mylan. In 2016, Zydus entered the market

with less than 2% market share.

       85.          Beginning in April 2014, representatives from Teva, Heritage, Zydus, Mylan,

Aurobindo, and/or Citron participated in numerous phone calls, and exchanged numerous e- mails

and text messages regarding the prices of generic Glipizide-Metformin.

       86.          On April 15, 2014, Heritage’s Malek spoke with Patel for more than

seventeen minutes, during which they discussed Heritage’s intention to raise the price of

Glipizide- Metformin and other drugs. Teva agreed that if Heritage raised the price of these

drugs, Teva would follow with its own price increase or, at least, would not challenge

Heritage’s price increases by seeking to underbid Heritage and take its accounts. Malek and

Patel spoke several more times over the next several months, during which Malek and his

contact confirmed the agreement to raise Glipizide-Metformin, prices, and Malek updated

Patel on the progress of Heritage’s price increases.

       87.     By May 9, 2014, a Teva representative had spoken with a Mylan representative

multiple times regarding Glipizide-Metformin, including one call that lasted more than seven

minutes, and the two continued to stay in close contact throughout the rest of 2014.



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                               3)     Other Indicia of Price Collusion

       88.     In addition to the direct evidence of price collusion between Teva and its rival drug

maker in the form of inter-company communications, there are other indicia of collusion. For

example, there was no reasonable justification for the price hikes discussed above. While a supply

shortage can explain an abrupt rise in prices, here—notwithstanding drug manufacturers’

obligation to report shortages to the FDA—no such shortages were reported during the Relevant

Period. In addition, there was no significant increase in the demand for these drugs or in the drugs’

production costs that would explain the enormous price increase. In addition, price increases of

this magnitude would have been contrary to Teva’s and each of the co-conspirators’ economic

interest absent the price-fixing scheme. Without the certainty that all of the co-conspirators would

raise and maintain the prices for the relevant drugs, each co-conspirator risked being undercut by

the others, leading to a loss of market share and a loss of revenue. This risk was alleviated by the

co-conspirators’ agreement to raise and maintain their prices for the relevant drugs.

       89.     In addition, Teva and the Individual Defendants had a palpable motive to fix prices

with Teva’s competitors, which derives from the nature of the U.S. generic drug market itself. As

discussed above, because federal law requires each generic pharmaceutical to be readily

substitutable for another generic of the same brand drug, competition will cause prices to fall until

they near generic drug makers’ marginal production costs. This stabilization of prices in turn

caused Teva’s profits and revenues to level off, thus giving Teva and its co- conspirators a common

motive to conspire to raise prices.

       90.     With the backdrop of this common motive in mind, the markets for Nystatin,

Theophylline ER, and Glipizide-Metformin were all susceptible to anti-competitive conduct for



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the following economic reasons:

       (a)    The market for each of the three drugs referenced above was highly concentrated
              and controlled by a handful of companies. A more concentrated market is more
              susceptible to anti-competitive behavior, due in part to the relative ease with
              which co-conspirators can monitor each other’s pricing behavior to ensure
              adherence to the price-fixing agreement. Moreover, in a highly concentrated
              market, there is a lower probability that each company has different production
              costs, which facilitates the maintenance of a price-fixing scheme.

       (b)    Barriers to entry into a market can delay, diminish or even prevent the attraction
              and arrival of new market participants, which is the usual mechanism for
              checking the market power—i.e., the ability to set prices above market costs—of
              existing participants. Entry barriers include things such as: trade secrets, patents,
              licenses, capital outlays required to start a new business, pricing elasticity, and
              difficulties buyers may have in changing suppliers. If there is no significant threat
              that new firms will enter a market, a single firm with a dominant market share—
              or a combination of firms with a significant percentage of the market—is able to
              engage in anticompetitive conduct, such as restricting output and raising prices to
              the detriment of consumers. Barriers to entry in the markets for generic drugs
              include, among other things, high manufacturing costs and regulatory and
              intellectual property requirements. For example, the requirement that companies
              file an ANDA and receive FDA approval can delay entry into the market by an
              average of thirty-six months.

       (c)    The presence of alternative products that can easily be substituted for a given
              product serves to undermine anti-competitive behavior. Conversely, the absence
              of available substitutes increases the susceptibility of a market to anti-
              competitive behavior because consumers have no alternative but to purchase the
              product, notwithstanding any price increases. In the context of prescription drugs,
              a pharmacist presented with a prescription for a given drug can only substitute
              another drug if that drug has an “AB” rating. Only generic and brand-name
              versions of a drug are AB-rated to one another. Therefore, a pharmacist can only
              fill a prescription for a given drug with the brand-name version or one of the AB-
              rated generic versions and cannot substitute another drug.

       (d)    A standardized, commodity-like product with a high degree of
              interchangeability between the goods of the participants in an anti-competitive
              conspiracy also increases the susceptibility of a given market to anti-competitive
              conduct. By their very nature, all generic versions of a given drug are
              interchangeable, as every generic version of a drug must be bioequivalent to the
              original, brand-name drug.

       91.    In addition to the economic characteristics of these markets, which indicate a


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susceptibility to anti-competitive conduct, representatives from Teva and its co-conspirators

had substantial opportunities to meet up, socialize and engage in collusive conduct. Teva and

its co- conspirators routinely attended conferences, meetings, and trade shows sponsored

by various pharmaceutical trade associations, interacted with each other and discussed their

respective businesses and customers, and to discuss, devise, and implement the price-fixing

schemes set forth herein. Social events and other recreational activities—including golf

outings, lunches, cocktail parties, and dinners—were also organized in conjunction with the

trade association events and provided further opportunities for these representatives to meet

outside of the traditional business setting and engage in the collusive activities alleged herein.

Teva even reserved a “strategic exchange” bungalow at the 2013 and 2014 annual meetings

of the National Association of Chain Drug Stores (“NACDS”) which NACDS marketed as

an “opportunit[y] to meet and discuss strategic issues with key trading partners.” Such

bungalows provided Teva and its competitors with a secluded place to privately conduct

business. A list of these industry events and the attendees from Teva and its co-conspirators

is attached as Appendix B hereto.

                       10.    As a Result of the Price Increases, Teva Increased Its Revenues and
                              Profits by Billions of Dollars

       92.     As a result of the price increases described above, between 2014 and 2016, the total

additional revenues obtained from these price increases was $2.5 billion. Further, because price

increases impose minimal additional costs on Teva, these revenue increases were, effectively,

increases in Teva’s profitability resulting from the price increase strategy.

       93.     On an annual basis, the increased revenues began to impact Teva’s bottom line

beginning in 2013, peaked in 2015, and by 2017, had substantially declined as increased price


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competition negatively impacted Teva’s ability to successfully implement its price increase

strategy. The additional revenues earned by Teva from its price increase strategy for 2013 through

November 2014 is set forth in the chart below:

    Total Additional Revenues Earned From Price Increases


      2013            2014          2015           2016           2017          2018           Total
  $222,115,831    $656,024,837   $747,045,795   $541,772,741   $273,812,033   $74,887,541   $2,515,686,778


                 7.   Recognizing that Its Price Increase Scheme Was Unsustainable for More than
                      a Short Period, Teva Misleads Investors Regarding the Basis for Its Improved
                      Financial Performance

         94.     In connection with its price increase strategy, Teva sought at all costs to avoid any

suggestion that price increases were the cause of its seemingly miraculous turnaround.

Accordingly, at the beginning of the Relevant Period of February 6, 2014, Teva falsely attributed

its increase in revenues for the end of 2014 to higher sales volumes and launches of new generic

drugs.

         95.     In May 2014, touting its first quarter results, Teva again relied upon “new product

launches” and a changed composition of revenues to explain its increased profitability.

         96.     On October 30, 2014, during the third quarter earnings call, Teva was specifically

asked about the impact of price increases, but Defendant Olafsson deflected, suggesting that there

were no significant increases since “the base business itself is slowly eroding . . . .”

         97.     And, during a conference call in December 2014, Defendant Olafsson was asked a

question that was based upon an assumption that wholesalers of generic drugs were experiencing

“extraordinary price increases.” Defendant Olafsson rejected the premise of the question, stating:

“let me correct. I have to disagree that they have experienced tremendous price increase[s].”


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       98.     Throughout 2015 and early 2016, Vigodman, Desheh and Olafsson flatly

denied that Teva’s improved performance was the result of price increases:

                •      October 29, 2015 (Vigodman): “[A]ll the improvements you see in
               margins is not driven by price. It is driven by quantities, and by mix, and by
               efficiency measures, not by price, 2014, 2015. And that’s a very important
               message.”
                •      November 19, 2015 (Desheh): “There is a lot of noise around pricing
               issues. Some of it is coming from politicians [who are] driving agenda[s] . . . .
               Our exposure to all these things is very minimal . . . . I believe there are many
               examples for competitive environment, real competition, like we see in the
               generic market in the United States- .. . . Teva was not associated with any of
               that.”
                •      February 11, 2016 (Olafsson): “So how did we do this [increase our
               profit margin by
               $1 billion over 24 months]? Not by pricing but by portfolio mix, new products,
               and efficiency measures.”

All of the above statements were false because by July 2015, Teva had raised prices on

more than 61 drugs, including many by more than 250%.

               8.       Driven by Price Increases, Teva’s ADS Price Soars

       99.     In 2014, despite the storm clouds raised by press stories, government investigations,

and the increasing pace of the FDA’s ANDA approval process, Teva’s price increases fueled a

turn-around success story for Teva’s U.S. generics business, which reported approximately a $250

million (or 6%) increase in revenues over the prior year. Teva’s ADS price soared as a result,

jumping more than 50% from around $37 in late October 2013, to approximately $56 by the end

of 2014. These astonishing year-over-year increases in U.S. generics revenues were accomplished

in the face of 23 million fewer prescriptions than in 2013.

       100.    The price increases also led to a banner year in 2015 for Teva’s U.S. generics

division, which spearheaded the Company’s growth story, fueling an unprecedented increase in


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the price of Teva ADS. Teva reported the 2015 gross profit from its overall generic medicines

segment as $4.5 billion, an increase of $246 million, or 6%, compared to $4.3 billion in 2014, and

a profit (with expenses removed) of $2.7 billion in 2015, compared to $2.2 billion in 2014, or a

difference of almost 24%. Most of these glowing results stemmed from Teva’s U.S. generics

division, which reported revenues of $4.8 billion, an increase of $375 million, or 8%, over 2014,

which itself had been a flagship year for U.S. generics. Teva’s inflated ADS price rocketed from

approximately $55 at the beginning of the year to more than $70 by late July 2015.

                 9.    Defendants Lay Plans for a Major Acquisition—Inflating the ADS Price to
                       Use as “Currency”

          101.   Teva was undeterred by the public outcry regarding the price increases and the

government investigations into generic price-fixing, as well as Teva’s knowledge that price

increases could not be maintained over the long-term as generic competition increased. Defendants

continued to pursue plans—contemplated from the time Vigodman was hired as CEO in January

2014—to engage in large acquisitions to position the company for the end of its Copoxone patent

rights.

          102.   On April 21, 2015, with the ADS shares trading at an artificially inflated price of

approximately $66 per share, Defendants announced an offer to acquire all of the outstanding

shares of Mylan in a transaction valued at $82.00 per Mylan share, with the consideration to be

comprised of approximately 50% cash and 50% stock. The acquisition fell through; yet Defendants

continued to pursue other acquisition options, all the while continuing to misrepresent and omit

material facts regarding the Teva’s ongoing price-fixing conspiracy and source of its financial

success.

                 10.    The Company Announces a $40 Billion Acquisition of Actavis Fueled By Its
                        Inflated Share Price and a Proposed Bond Offering

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       103.    Fueled by Defendants’ misleading statements, Teva’s ADS price reached a then all-

time high of $72 on July 27, 2015. On that day, Teva announced it had entered into a definitive

agreement with Allergan plc to acquire its worldwide generic pharmaceuticals business, Actavis,

for $40.5 billion in cash and equity.

       104.    As would later be revealed during a call with investors on October 29, 2015,

Defendants planned to raise approximately $6.75 billion from a secondary public offering of

ADS and an initial public offering of Preferred Shares, and approximately $27 billion from a debt

issuance and term loans, to finance the acquisition.

       105.    On the same day, Teva issued its third quarter 2015 results, which were ahead of

the street’s expectations, and again raised its full year guidance. As summarized by the analysts at

UBS in their October 29, 2015 report, “Our takeaway: Another good quarter.”

                       1.     Teva Issues $3.375 Billion in ADS and $3.375 Billion in Preferred
                              Shares While the ADS Trade at an Inflated Price

       106.    On December 8, 2015, Teva closed its Secondary Offering of ADS and its Initial

Offering of Preferred Shares. Teva issued 54 million ADS at $62.50 per ADS in the secondary

offering, raising approximately $3.375 billion from investors. These shares were offered publicly

pursuant to a registration statement and prospectus. Teva also issued 3,375,000 Preferred Shares

at $1,000.00 per share, raising another $3.375 billion from investors. Each Preferred Share was

to be converted into a number of ADS equal to the conversion rate set forth in the Preferred

Prospectus, between 13.3333 and 16.0000.

       107.    On January 6, 2016, Teva sold an additional 5.4 million ADS and an additional

337,500 Preferred Shares pursuant to the exercise of the ADS/Preferred Underwriters’ over-

allotment option. In total, Teva generated net proceeds from the ADS Offering and the

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Preferred Offering of approximately $7.24 billion.

                        2.     Defendants Rush the Notes Offering and Conceal the Fact that Teva
                               Had Been Served Subpoenas by the DOJ and the Connecticut AG

       108.     On July 13, 2016, Vigodman announced that Teva would accelerate the timing

of the bond offering related to the Actavis deal, despite the fact that it “lacked full visibility

into the Actavis Generics number.” According to Vigodman:

              [W]e are closely monitoring the corporate bond markets and given the
              various attractive terms currently prevailing there, we are considering
              accelerating our planned debt offering. With this in mind, and despite the
              fact that we will not yet have full visibility into the Actavis Generics
              number, and in particular, certain pipeline information, we have decided
              to provide you today with our best estimate of the financial outlook for
              Teva in 2016 to 2019, following the close of the deal.

       109.     This was surprising because just a few weeks earlier, on a May 9, 2016

conference call, Desheh had told investors that the offering would not happen until after the

Actavis deal closed.

       110.     On July 18, 2016, Teva launched the $20 billion bond offering to finance the

Actavis transaction. The offering was made pursuant to the Notes Offering Materials, which

incorporated several of the false and misleading quarterly and full year financial disclosures.

Despite dozens of pages of disclosures about other investigations and litigations, neither the

Notes Offering Materials, nor the documents incorporated by reference therein, disclosed the

DOJ and Connecticut AG subpoenas.

       111.     As of July 31, 2016, Teva had raised $20.3 billion from the Senior Notes

Offering to complete the Actavis acquisition. The Actavis deal closed on August 2, 2016. In

the related August 2, 2016 press release, Vigodman falsely declared that the “acquisition of

Actavis Generics comes at a time when Teva is stronger than ever—in both our generics and


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specialty businesses.”

       112.    In sum, of the $33.4 billion owed Allergan beyond the transfer of Teva stock (priced

as of July 2015), $5 billion was funded by Teva borrowing from its loan facility, and $8.1 billion

was funded from cash on hand that was previously raised in the ADS and Preferred Offerings,

including from its December 2015 equity offerings and borrowings under its syndicated revolving

credit. The remaining $20.3 billion came from the proceeds of the Senior Notes Offering. If the

deal failed because Defendants had been unable to secure financing for that debt, according to the

terms of the deal’s structure, Teva’s agreement with Allergan would have required Teva to pay

Allergan $2.5 billion.

               11.       The Fraud Unravels, Causing the Prices of Teva Securities to Fall

                         1.    Days After the Close of the Actavis Transaction, Teva Belatedly
                               Announces It Is the Subject of Government Antitrust Investigations

       113.    On August 4, 2016, three days after the Notes Offering, and two days after the

Actavis transaction closed, Teva reported second quarter 2016 financial results that reflected a

$434 million decline in revenues in its U.S. generics segment compared to the second quarter of

2015. The end of its ability to maintain growth through price increases was due to the massive

increase in competition as the result of the FDA’s vastly accelerated pace of ANDA approvals.

Defendants also revealed for the first time to investors that Teva was now the subject of DOJ and

State AG investigations into generic drug price collusion. In fact, the DOJ had served Teva with a

subpoena on June 21, 2016, and the CT AG on July 12, 2016—just before Teva announced the

$20 billion Notes Offering on July 13, 2016, although Defendants did not disclose the subpoenas

at the time. Upon this news, the price of Teva’s securities fell.

       114.    Despite the revelation of government inquiries and the continued unraveling of


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Teva’s ability to maintain elevated drug prices, Defendants doubled down, expressly denying the

impact of price hikes and reaffirming their inflated outlook for 2016.

       115.    Defendants’ denials were deeply undermined when, on September 12, 2016, the

GAO Report was issued. This report, based upon a review of Medicare data, concluded that generic

drug manufacturers, including Teva, had made hundreds of unexplained “extraordinary price

increases”—defined as a particular drug’s price increasing over 100% within a 12-month period—

including numerous price increases of more than 1,000% in some cases. Teva owned the rights to

at least 40% of the drugs identified in the GAO Report as having exhibited an extraordinary price

increase between 2013 and 2015.

       116.    Further, after Bloomberg and other media outlets reported between November 3

and November 10, 2016, that U.S. prosecutors could hand down criminal charges related to its

price-fixing investigation by year-end, Defendants denied any wrongdoing, stating, “Teva is not

aware of any facts that would give rise to an exposure to the company with respect to these

subpoenas.”

       117.    This denial was false. Only a month later, the CT AG would file its complaint

alleging direct evidence that Teva had engaged in a conspiracy to fix prices on multiple drugs.

                      2.     The Market Is Surprised When Teva Announces Dismal Results for
                             the Third Quarter of 2016 and Olafsson Is Fired

       118.    On November 15, 2016, Teva reported third quarter 2016 revenues below

consensus expectations, which Defendant Olafsson stated were a result of pricing pressures in

Teva’s U.S. generics business. This news was a shock and a disappointment, given Defendants’

bullish comments on Teva’s generics business and statements concerning price trends. On this

news, the price of Teva’s securities dropped.


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       119.     Less than three weeks later, on December 5, 2016, amid Teva’s deteriorating

financial condition, the Company unexpectedly announced the “retirement” of Olafsson, the 48-

year-old head of generics. His replacement, Dipankar Bhattacharjee, took over effective

immediately. In reality, Olafsson did not “retire.” He was fired. The price of Teva’s securities

dropped in response.

                       3.    DOJ Criminal Charges and State AG Lawsuits place Teva Under
                             Further Market Scrutiny

       120.     On December 14, 2016, the DOJ announced it had charged (by information) Glazer

and Malek, the former CEO and the former President, respectively, of Heritage, a competitor of

Teva’s, for their roles in conspiracies to fix prices, rig bids, and allocate customers, including

manipulating the market for Glyburide from 2013 through 2015. The connection between Teva

and these charges was clear; Teva controlled over 75% of the market for Glyburide during the

Class Period.

       121.     The next day, December 15, 2016, the Connecticut AG announced that he and 19

other State AGs had filed a federal lawsuit for antitrust violations against Teva USA and five other

major drug companies, alleging that Teva conspired on Glyburide. The State AG’s complaint cited

emails, calls, and documents that evince explicit collusion between Teva and Heritage’s principals,

Malek and Glazer.

       122.     The State AGs’ complaint was amended to include 13 additional drugs, seven of

which implicate Teva, and 47 State AGs, as well as the AG from the District of Columbia and the

AG from Puerto Rico. That complaint is based in part on the cooperation of Glazer and Malek,

who have settled with the State AGs in exchange for cooperation. The State AGs are now

investigating conspiracies regarding upwards of 200 drugs, filed a significantly expanded


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complaint in May 2019, as set forth below, and have indicated their intent to file additional

complaints in the future. Malek and Glazer have also pleaded guilty to Federal criminal charges,

admitting that they participated in “a conspiracy to suppress and eliminate competition by

allocating customers and fixing and maintaining prices for glyburide, from in or about April 2014

and continuing until at least December 2015,” in violation of the Sherman Act.

                       4.    Teva’s Profits from Its Price Increase Plan Further Dry Up, and
                             Vigodman and Desheh Are Forced Out of the Company

       123.    On January 6, 2017, Teva reduced its 2017 guidance, far below market

expectations, which Vigodman attributed “to not being able to realize new launches in . . . Teva[’s]

legacy business,” rather than pricing pressure as generic competition increased. With this report

of reduced revenues, the price of Teva securities declined precipitously.

       124.    Shortly thereafter, on February 6, 2017, Teva announced the termination of

Vigodman, effective immediately and without a permanent replacement. The press release further

noted that Vigodman’s service on Teva’s Board had also ended. As with Olafsson, investors

questioned the timing and abruptness of Vigodman’s departure, especially given that no

replacement was named, or, apparently, was under consideration at the time. For example, J.P

Morgan, in a report dated February 6, 2017, titled “CEO Transition Adds Further Uncertainty to

Story,” wrote that “we view today’s update as a disappointment, with arguably the two most

important executives at Teva stepping down (Erez and Siggi Olafsson, CEO of generics) within

the last several months at a time of significant fundamental challenges.”

       125.    On April 25, 2017, numerous media reports surfaced that Desheh would be pushed

out as CFO at Teva. These reports were confirmed the next day when, in an April 26, 2017 6-K,

Teva announced that Desheh would be stepping down as CFO in “the coming months” so that he


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could move on to “the next phase of [his] career.”

                      5.     After Vigodman, Desheh and Olafsson Are Terminated, Teva
                             Lowers Guidance, Cuts Dividends, and Takes a $6.1 Billion
                             Charge Against Earnings

       126.    On June 8, 2017, Teva announced four new directors to its Board in an attempt to

regain lost credibility. By June 21, 2017, Desheh had also left Teva. Two months later, with

Defendants Desheh, Vigodman and Olafsson finally gone and new board members in place, Teva

revised guidance down again, reduced its dividend, and took a $6.1 billion charge. Management

admitted that these actions were triggered largely by the same pricing and competitive market

pressures that the Company—and especially former executives Vigodman, Olafsson and

Desheh—had previously denied would have any impact on Teva.

       127.    On August 3, 2017, Teva announced lower-than-expected second quarter 2017

results, including a net EPS loss for the quarter of $5.94, reduced guidance, and a $6.1 billion

goodwill impairment charge. As Dr. Yitzhak Peterburg, Vigodman’s temporary replacement,

revealed during the Company’s earnings call that day, the EPS loss was primarily the result of the

$6.1 billion impairment charge, which was taken to reduce goodwill associated with Teva’

       128.    U.S. generics business. Fitch downgraded Teva’s Issuer Default Rating to BBB- as

a result, with a Negative Outlook, reasoning that, “Pricing pressure in the U.S. will weigh on

operations in the near term, requiring the company to reduce debt both through FCF generation

and asset divestitures.” As reported by The Street that day, “Teva Shares Are Getting Obliterated

Again After Vicious Investment Bank Downgrades.”

       129.    Additionally, as the government investigations continued and the State AG lawsuits

intensified, Teva repeatedly made false and misleading statements and/or failed to disclose

material adverse facts regarding its anticompetitive practices and involvement in the collusive

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scheme. Specifically, on August 3,2017 Teva denied “having engaged in any conduct that would

give rise to liability with respect to” the subpoenas and civil suits.

       130.     The truth regarding Teva’s collusion further emerged in an article published in The

Washington Post on December 9, 2018 regarding the expansion of the State AG investigation. The

article also made note of Teva’s continued denial of engaging in any anticompetitive conduct, and

its statement in a court filing that allegations of a price-fixing conspiracy “are entirely conclusory

and devoid of any facts.”

       131.     On May 10, 2019, after the market closed, the State AGs filed a 524-page antitrust

complaint revealing previously undisclosed facts regarding Teva’s participation in the generic drug

price-fixing conspiracy. The May 2019 complaint alleges that Teva implemented significant price

increases for approximately 112 generic drugs, including extraordinary price hikes of over 1,000%,

and details Teva’s price-fixing with regards to at least 86 of those generic drugs compared to just

7 Teva-related drugs in the State AGs’ previously filed action. The action details Teva’s role as a

“consistent participant” and a central player in the conspiracy. Further, the civil enforcement

action names four Teva employees personally as defendants: Cavanaugh, Patel, Kevin Green

(Teva’s former Director of National Accounts), and David Rekenthaler (Teva’s former Vice

President, Sales U.S. Generics).

       C.       DEFENDANTS’ MATERIAL MISREPRESENTATIONS AND
                OMISSIONS

       132.     During the Relevant Period, Defendants made a series of materially false or

misleading statements and omissions of material fact. These statements can be summarized as

follows:

              First, Defendants made materially false and misleading statements and
              omissions regarding the reasons for the Company’s success in the generic

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              drug market (including improved revenues, growth, profitability, costs,
              and margins). Specifically, Defendants falsely attribute the year-over-year
              (“YOY”) changes in Teva’s generic segment profit and U.S. generic
              revenues to sources other than Teva’s price increases. Once Defendants
              spoke on these subjects, they had a duty to fully and accurately disclose
              the true source of Teva’s revenues and profits.

              Second, Defendants flatly and falsely denied that Teva had engaged in
              price increases or received material benefit from price increases. Instead,
              Defendants falsely claimed that Teva only raised prices on a select few
              generic drugs due to market shortages.

              Third, Defendants falsely stated that the Company was immune to pricing
              pressures when, in fact, it was unable to sustain its undisclosed strategy
              of taking substantial price increases.

              Fourth, Defendants falsely represented the level of completion that the
              Company faced in the generic drug market. In truth, Teva’s undisclosed
              and inherently unsustainable strategy to take massive short term price
              increases depended in large part on a lack of competition.

              Fifth, Defendants failed to disclose in the Notes Offering Materials their
              receipt of subpoenas from the DOJ and the State AGs in connection with
              those agencies’ investigations into price collusion in the generic
              pharmaceutical markets.

       133.     Defendants also violated Item 303 of SEC Regulation S-K and Item 5 of Form 20-

F by failing to disclose the true reasons and factors contributing to the increases and decreases in

the Company’s revenues, i.e., the Company’s undisclosed strategy and implementation of massive

price increases for generic drugs. These increases were unsustainable given, among other things,

industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the

inevitable clearing of the ANDA backlog at the FDA, which would have the effect of introducing

new competitors in the market.

                1.       Defendants’ Materially False and Misleading Statements and Omissions
                         During the Relevant Period

                        1.     February 6, 2014


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       134.     On February 6, 2014, in a press release filed with the SEC on Form 6-K, Teva

reported the Company’s 4Q13 and FY 2013 financial results. In the same press release, Teva

disclosed 4Q13 U.S. Generic Medicine “revenues of $1.2 billion, an increase of 14% compared to

the fourth quarter of 2012.” The press release reported that:

              The increase resulted mainly from the exclusive launches of niacin ER, the
              generic version of Niaspan®, and temozolomide, the generic version of
              Temodar®, in the third quarter of 2013, and launches of duloxetine, the
              generic version of Cymbalta®, and tobramycin, the generic version of
              Tobi®, in the fourth quarter of 2013, as well as higher sales of budesonide
              inhalation, the generic version of Pulmicort®.

       135.     The statements set forth in ¶ 134 above were materially false and misleading and/or

omitted material facts because they had the effect of concealing, and/or failed to disclose, that, in

truth, the Company’s reported financial results and success in the generic drug market, including

improved revenues, were driven primarily by its undisclosed strategy to take massive price

increases, either on its own or in tandem with other manufacturers whom it purportedly competed

with. In fact, during FY13 Teva generated more than $222 million through price increases alone.

This strategy was inherently unsustainable in light of, among other things, industry, regulatory and

governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the

ANDA backlog at the FDA, which would have the effect of introducing new competitors in the

market. Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

                        2.     February 10, 2014

       136.     On February 10, 2014, Teva filed its 2013 Annual Report with the SEC on Form

20-F, which was signed by Defendant Desheh. The 2013 20-F disclosed a YOY decline in generic

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profit of $400 million, or 20%, “primarily” attributed to “lower revenues and lower gross profit,

which were partially offset by a reduction in selling and marketing expenses,” and “by sales of

higher profitability products in the United States.”

       137.     The statements set forth in ¶ 136 above were materially false and misleading and/or

omitted material facts because they had the effect of concealing, and/or failed to disclose, that, in

truth, the Company’s reported financial results in the generic drug market were driven primarily

by its undisclosed strategy to take massive price increases, either on its own or in tandem with

other manufacturers whom it purportedly competed with. In fact, during FY13 Teva generated

more than $222 million through price increases alone. Without this inflated revenue, Teva would

have experienced a YOY decline in generic profit of $622 million, or 55% more than what it

reported. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable

clearing of the ANDA backlog at the FDA, which would have the effect of introducing new

competitors in the market. Having put into play the issue of the source of Teva’s revenue growth

and the subject of competition in the generic drug markets, Defendants had a duty to disclose

Teva’s price increase strategy and the true source of its revenues.

       138.     The Company’s February 10, 2014 Form 20-F also described the “intense

competition,” Teva faced in the U.S. generic market and its “competitive pricing strategy,” and

again touted its “competitive advantages”:

              Competitive Landscape. In the United States, we are subject to intense
              competition in the generic drug market from other domestic and foreign
              generic drug manufacturers, brand-name pharmaceutical companies
              through lifecycle management initiatives, authorized generics, existing
              brand equivalents and manufacturers of therapeutically similar drugs.
              Price competition from additional generic versions of the same product
              typically results in margin pressures. We believe that our primary

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              competitive advantages are our ability to continually introduce new and
              complex generic equivalents for brand-name drug products on a timely
              basis, our quality and cost-effective production, our customer service and
              the breadth of our product line. We believe we have a focused and
              competitive pricing strategy.

       139.     In the same Form 20-F, Teva discussed the primary factors driving growth in the

Company’s Generic Medicines segment, and reported “intense competition in the generic market”:

              Sales of generic pharmaceuticals have benefitted from increasing
              awareness and acceptance on the part of healthcare insurers and
              institutions, consumers, physicians and pharmacists globally. . . . These
              conditions also result in intense competition in the generic market, with
              generic companies competing for advantage based on pricing, time to
              market, reputation, customer service and breadth of product line.

       140.     The statements set forth in ¶¶ 138-139 above were materially false and misleading

and/or omitted material facts because Teva was not facing “intense competition” or operating in a

competitive environment. Nor was Teva working to combat the purported effects of competition,

which resulted in “margin pressures,” through a “competitive pricing strategy.” In truth, Teva’s

undisclosed and inherently unsustainable strategy to take massive short term price increases

depended in large part on a lack of competition. In fact, during the Relevant Period, Teva increased

the prices of multiple drugs, many of which were done in tandem with its purported competitors.

                        3.     May 1, 2014

       141.     On May 1, 2014, Teva filed a press release on a Form 6-K with the SEC, signed

by Defendant Desheh, reporting the Company’s 1Q14 financial results. The Q1 2014 6-K

disclosed a YOY increase in generic profit of $117 million, or 31%, which was “primarily”

due to: “[H]igher revenues, higher gross profit and a reduction in selling and marketing

expenses,” with higher gross profit attributed to “the change in the composition of revenues

in the United States and Europe, mainly products launched during the first quarter of 2014


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and in the United States in the second half of 2013.”

       142.     That same day, Teva held its 1Q14 earnings conference call, in which

Defendants Vigodman and Desheh participated. During that call, Desheh stated:

              In generics, we experienced significant growth in the Unites States
              market, with 17% year-over-year growth, to a total of $1 billion with a
              number of new product launches.

                                                ***

              The profitability of our major business segment was driven by global
              generic, with 31% improvement resulting from the strong performance in
              the US market and higher profitability in Europe. . . . 31% improvement
              in the profit of the global generic business, driven by the performance of
              the US market, improved the total generic share to 30% of total profit.

       143.     The statements set forth in ¶¶ 141-42 above were materially false and

misleading and/or omitted material facts. Defendants’ statements touting the purported

success of their generics business had the effect of concealing, and/or failed to disclose, that,

in truth, the Company’s reported financial results and success in the generic drug market,

including improved revenues, were driven primarily by its undisclosed strategy to take

massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. In fact, during FY13 Teva generated more than $222 million

through price increases alone and in FY14, generated more than $656 million from price

increases, much of which had been realized by May 2014. This strategy was inherently

unsustainable in light of, among other things, industry, regulatory and governmental scrutiny

surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA backlog at

the FDA, which would have the effect of introducing new competitors in the market. Having

put into play the issue of the source of Teva’s revenue growth and the subject of competition


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in the generic drug markets, Defendants had a duty to disclose Teva’s price increase strategy

and the true source of its revenues.

                        4.     July 31, 2014

       144.      On July 31, 2014, Teva filed its 2Q14 Form 6-K with the SEC, which was

signed by Desheh. The 2Q14 Form 6-K reported that YOY increase in generic segment profit

of $156 million, or 41%, “primarily” attributed to:

              [A] significant reduction in selling and marketing expenses, higher
              revenues and higher gross profit, [which was attributed to] . . . . higher
              revenues in the United States, specifically of products launched during the
              first half of 2014 and in the second half of 2013, and higher revenues in
              Canada as well as … the change in the composition of revenues in Europe.

       145.      On July 31, 2014, Teva held its 2Q14 earnings conference call, on which

Vigodman, Desheh, and Olafsson participated. During the call, Desheh stated:

              [T]he improvement of operating profit and profitability was driven by
              strong results of our global generic business, with profit improvement of
              41% compared to last year. Launch of generic Xeloda in March and
              generic Lovaza this quarter in the US market . . . led to the better results.

       146.      The statements set forth in ¶¶ 144-45 above were materially false and misleading

and/or omitted material facts. Defendants’ statements touting the purported success of their

generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

during FY13 Teva generated more than $222 million through price increases alone and in FY14,

generated more than $656 million from price increases, much of which had been realized by July

2014. This strategy was inherently unsustainable in light of, among other things, industry,

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regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable

clearing of the ANDA backlog at the FDA, which would have the effect of introducing new

competitors in the market. Having put into play the issue of the source of Teva’s revenue growth

and the subject of competition in the generic drug markets, Defendants had a duty to disclose

Teva’s price increase strategy and the true source of its revenues.

                         5.     October 30, 2014

       147.      On October 30, 2014, in a press release filed with the SEC on Form 6-K and signed

by Desheh, Teva reported its 3Q14 financial results. The Q3 2014 6-K disclosed a YOY increase

in generic profit of $160 million, or 40%, “primarily” from:

              [H]igher gross profit and a significant reduction in selling and marketing
              expenses, [with higher gross profit attributed to] . . . lower expenses
              related to production, higher revenues from our API business as well as
              higher gross profit due to the change in the composition of revenues.

       148.      On October 30, 2014, Teva held its 3Q14 earnings conference call, on which

Vigodman, Desheh, and Olafsson participated. During the call, Olafsson stated:

              I think overall, we have a good revenue off the new launches this year.
              [Capasida] the generic Lovaza omega 3 [and] Entecavir. Entecavir was a
              new launch for us in the quarter. I think all these three products have been
              very significant contributors to the year.

              (First alteration in original.)

       149.      On the same call, a UBS Securities analyst asked whether price increases in “some

of [Teva’s] base business” impacted Teva’s 3Q14 financial results. Olafsson responded: “there’s

never a price increase on the base business as whole. Like any other business, if there’s a pricing

opportunity that comes in the market, we look for that. But the base business itself has been eroding

overall because of the consolidation of the customers.”



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       150.     The statements set forth in ¶¶ 147-49 above were materially false and misleading

and/or omitted material facts. Defendants’ statements touting the purported success of their

generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

during FY13 Teva generated more than $222 million through price increases alone and in FY14,

generated more than $656 million from price increases, much of which had been realized by

October 2014. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable

clearing of the ANDA backlog at the FDA, which would have the effect of introducing new

competitors in the market. Having put into play the issue of the source of Teva’s revenue growth

and the subject of competition in the generic drug markets, Defendants had a duty to disclose

Teva’s price increase strategy and the true source of its revenues.

                       6.     December 11, 2014

       151.     On December 11, 2014, Vigodman, Desheh, and Olafsson participated in the

Company’s 2015 Business Outlook Meeting conference call. During the call, a Morgan Stanley

analyst asked “with respect to Generic inventory in the channel, both for Teva and for other generic

manufacturers, I’m assuming that wholesalers have been seeing extraordinary price increases in

recent years and has been buying inventory ahead of tremendous price increases.” Defendant

Olafsson “disagree[ed]” stating:

              So first let me correct. I have to disagree that they have experienced
              tremendous price increase. I think, overall, the pricing in the US of


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               generics has been flat to a slight down. There has been a lot of press about
               price increases on individual molecules and this has been a hot political
               issue selecting a few products.

        152.      The statements set forth in ¶ 152 above were materially false and misleading and/or

omitted material facts. Defendants’ statements that “overall, the pricing in the U.S. of generics has

been flat to a slight down” had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

during FY 13 and FY14 Teva generated more than $878 million through price increases alone.

This strategy was inherently unsustainable in light of, among other things, industry, regulatory and

governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the

ANDA backlog at the FDA, which would have the effect of introducing new competitors in the

market. Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

                         7.     February 5 and 9, 2015

        153.      On February 5, 2015, Teva filed a press release with the SEC on Form 6-K, signed

by Defendant Desheh, reporting the Company’s 4Q14 and FY2014 financial results. The Q4 2014

Press Release disclosed a YOY increase in generic profit of $47 million, or 9%, attributed

“primarily” to: “[O]ur lower S&M expenses and lower R&D expenses.”

        154.      On February 9, 2015, Teva filed its 2014 Annual Report with the SEC on Form 20-

F, signed by Desheh. The 2014 20-F disclosed a YOY increase in generic profit of $480 million,


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or 29%, attributed “mainly” to:

              lower S&M expenses and higher gross profit . . . . [which was] mainly a
              result of higher revenues in the United States, specifically of products
              launched during 2014 and in the second half of 2013, and higher revenues
              in Canada, which led to higher gross profits, as well as higher gross profit
              from API sales to third parties.

       155.      The Company’s 2014 20-F also reported that FY2014 U.S. Generic Medicine

revenues “amounted to $4.4 billion, up 6% compared to $4.2 billion in 2013,” explaining that:

              The increase resulted mainly from the 2014 exclusive launch of
              capecitabine (the generic equivalent of Xeloda®), the launch of omega-3-
              acid ethyl esters (the generic equivalent of Lovaza®) for which we were
              first to market, and the launch of raloxifene (the generic equivalent of
              Evista®), as well as products that were sold in 2014 that were not sold in
              2013. These increases were partially offset by lower sales of the generic
              versions of Adderall IR (amphetamine salts IR), Pulmicort (budesonide
              inhalation) and Niaspan® (niacin ER).

       156.      The table below reflects Teva’s improved profits as reported in 2014:


        2014 ($ millions)                    Q1            Q2            Q3            Q4     Full Year

        Reported YOY Change in
                                            $117          $156          $160          $47       $480
        Generics Profit


       157.      The statements set forth in ¶¶ 153-56 above were materially false and misleading

and/or omitted material facts. Defendants’ statements touting the purported success of their

generics business had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results and success in the generic drug market, including improved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with. In fact,

during FY14 Teva generated more than $656 million through price increases alone, representing


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a YOY increase in inflated revenues of more than $434 million, or nearly all of the reported

YOY change in generics profit. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

introducing new competitors in the market. Having put into play the issue of the source of Teva’s

revenue growth and the subject of competition in the generic drug markets, Defendants had a duty

to disclose Teva’s price increase strategy and the true source of its revenues.

       158.     The Company’s February 9, 2015 Form 20-F also described the “intense

competition” Teva faced in the U.S. generic drug market and its “competitive pricing strategy,”

and again touted its “competitive advantages”:

              In the United States, we are subject to intense competition in the generic
              drug market from domestic and international generic drug manufacturers,
              brand- name pharmaceutical companies through lifecycle management
              initiatives, authorized generics, existing brand equivalents and
              manufacturers of therapeutically similar drugs. Price competition from
              additional generic versions of the same product typically results in margin
              pressures. We believe that our primary competitive advantages are our
              ability to continually introduce new and complex generic equivalents for
              brand-name drug products on a timely basis, our quality, our customer
              service and the breadth of our product portfolio. We believe we have a
              focused and competitive pricing strategy.

       159.     In the 2014 Form 20-F, Teva also described the “intense competition in the generics

market,” and the primary factors driving growth in its Generic Medicines segment:

              Sales of generic medicines have benefitted from increasing awareness and
              acceptance on the part of healthcare insurers and institutions, consumers,
              physicians and pharmacists globally. . . . These conditions also result in
              intense competition in the generic market, with generic companies
              competing for advantage based on pricing, time to market, reputation,
              customer service and breadth of product line. We believe that these
              factors, together with an aging population, an increase in global spending
              on healthcare, economic pressure on governments to provide less

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              expensive healthcare solutions, legislative and regulatory reforms and a
              shift of decision-making power to payors, will lead to continued
              expansion in the global generic market, as well as increased competition
              in this market.

       160.     In the same Form 20-F, the Company also described the following Risk Factor:

              Our generic drugs face intense competition. Prices of generic drugs
              typically decline, often dramatically, especially as additional generic
              pharmaceutical companies (including low-cost generic producers based in
              China and India) receive approvals and enter the market for a given
              product and competition intensifies. Consequently, our ability to sustain
              our sales and profitability on any given product over time is affected by
              the number of new companies selling such product and the timing of their
              approvals.

       161.     The statements set forth in ¶¶ 158-60 above were materially false and misleading

and/or omitted material facts because Teva was not facing “intense competition” or operating in a

competitive environment. Nor was Teva working to combat the purported effects of competition,

which resulted in “margin pressures,” through a “competitive pricing strategy.” In truth, Teva’s

undisclosed and inherently unsustainable strategy to take massive short term price increases

depended in large part on a lack of competition. In fact, during the Relevant Period, Teva increased

the prices of multiple drugs, many of which were done in tandem with its purported competitors.

                        8.     April 30, 2015

       162.     On April 30, 2015, Teva filed its 1Q15 Form 6-K with the SEC, also signed by

Defendant Desheh. The Company’s 1Q15 Form 6-K reported a YOY increase in generic profit of

$296 million, or 59%, attributed “primarily” to:

              Higher gross profit and lower selling and marketing expenses as well as
              lower research and development expenses . . . . [with] higher gross profit
              . . . mainly a result of the launch of esomeprazole in the United States
              during the quarter and improved profitability of our European business.



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       163.      On April 30, 2015, Teva held its 1Q15 earnings conference call, on which

Vigodman, Desheh, and Olafsson participated. During the call, a Bank of America Merrill Lynch

analyst asked “how much more potential exists to increase generic segment margins purely from

organic gains in operational efficiency?” In response, Olafsson stated:

              I think there is room for more, but it takes a little longer time. What plays
              into the operating profit in generics are probably three or four things.
              First of all, we have a significant improvement in our cost of goods. I think
              the operation team in Teva has done an outstanding job in lowering the
              cost of goods, improving the quality of the supply.

              And really, it’s my business that has benefited from that because a big
              portion of our volume comes straight to the generic business. And really,
              we will continue that over time. . . .

              I think the next thing is the portfolio offering. I think the more we have of
              exclusive complex generics on offering, we have a higher margin on these
              products. It’s simple. So when we have more of the launches, it will drive
              up the margin.

              The third thing is the cost infrastructure. I think we have done a very good
              job in the cost infrastructure. You can see that from our gross margin
              versus our operating profit. . . .

              [O]bviously, the big jumps of 1,000 basis points we have taken over the
              last 24 months, you wouldn’t see that skill of improvement in the generics.
              ...

              When you look at the top line growth, you see that already in first quarter
              we have improved our top line growth. That mainly comes from our new
              launches but also our emphasis on the branded generic markets.

       164.      The statements set forth in ¶¶ 162-3 above were materially false and misleading

and/or omitted material facts. Defendants’ statements touting the purported success of their

generics business, including the “three or four things” that play into Teva’s operating profit, had

the effect of concealing, and/or failed to disclose, that, in truth, the Company’s reported financial

results and success in the generic drug market, including improved revenues, were driven primarily

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by its undisclosed strategy to take massive price increases, either on its own or in tandem with

other manufacturers whom it purportedly competed with. In fact, from FY13 through FY14 Teva

generated more than $878 million through price increases alone, and in FY15 generated an

additional $747 million through price increases, much of which had been realized by April 2015.

This strategy was inherently unsustainable in light of, among other things, industry, regulatory and

governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the

ANDA backlog at the FDA, which would have the effect of introducing new competitors in the

market. Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

                        9.     June 11, 2015

       165.     During a June 11, 2015 Goldman Sachs conference, Vigodman spoke of “the

profound change in the generic business” since 2014, stating:

              These are “things [that] are not confined to numbers, but maybe [numbers
              tell the story]: 16.7% operating profit in 2013; 21.9% operating profit
              2014,” and attributing this success solely to “[t]he execution of the cost
              reduction program[:]
              $600 million net savings 2014; $500 million 2015,” and a “[f]ull
              transformation of our operational network,” claiming that “[w]e closed or
              divested 11 plants during the last 12 months, we centralized
              procurement.… So everything that was done during 2014 was based on
              organic moves only.”

       166.     The statements set forth in ¶ 165 above were materially false and misleading and/or

omitted material facts. Vigodman’s statements touting the purported success of their generics

business, including the “cost reduction program” and “full transformation of our operational

network,” had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s


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reported financial results and success in the generic drug market, including improved revenues,

were driven primarily by its undisclosed strategy to take massive price increases, either on its own

or in tandem with other manufacturers whom it purportedly competed with. In fact, from FY13

through FY14, Teva generated more than $878 million through price increases alone, and in FY15

generated an additional $747 million through price increases, much of which had been realized by

June 2015. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable

clearing of the ANDA backlog at the FDA, which would have the effect of introducing new

competitors in the market. Having put into play the issue of the source of Teva’s revenue

growth and the subject of competition in the generic drug markets, Defendants had a duty to

disclose Teva’s price increase strategy and the true source of its revenues.

                       10.    July 27, 2015

       167.    On July 27, 2015, Teva held a call to discuss the Company’s Actavis acquisition.

On the July 27, 2015 call, a BMO Capital analyst asked Olafsson and Vigodman about the

competitive landscape in the generic market. In response, Olafsson stated, “the US generic market

is very competitive. . . . [There’s] a fierce competition on most of the portfolio, if not all of the

portfolio.” Vigodman added, “we promise to do everything in our power to take the Company to

be able to continue the improvement that we have been witnessing here.               We believe in

competition, and we’ll do what is needed in order to win all the markets we operate.”

       168.    The statements set forth in ¶ 167 above were materially false and misleading and/or

omitted material facts because Teva was not facing “fierce competition” or operating in a

competitive environment. Nor was “the US generic market [] very competitive.” In truth, Teva’s


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undisclosed and inherently unsustainable strategy to take massive short term price increases

depended in large part on a lack of competition. In fact, during the Relevant Period, Teva increased

the prices of multiple drugs, many of which were done in tandem with its purported competitors.

                        11.    July 30, 2015

       169.      On July 30, 2015, Teva filed its 2Q15 Form 6-K, which was signed by Defendant

Desheh. Teva’s 2Q15 6-K reported a YOY increase in generic profit of $193 million, or 36%,

attributed “primarily” to:

              “[H]igher gross profit as well as lower selling and marketing expenses,”
              while claiming that higher gross profit was “mainly a result of higher
              gross profit in the United States, due to the launches of aripiprazole in the
              second quarter of 2015 and of esomeprazole during the first quarter of
              2015, and lower production expenses.”

       170.      The statements set forth in ¶ 169 above were materially false and misleading and/or

omitted material facts. Defendants’ statements touting the purported success of their generics

business had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results and success in the generic drug market, including improved revenues,

were driven primarily by its undisclosed strategy to take massive price increases, either on its own

or in tandem with other manufacturers whom it purportedly competed with. In fact, from FY13

through FY14 Teva generated more than $878 million through price increases alone, and in FY15

generated an additional $747 million through price increases, much of which had been realized by

July 2015. This strategy was inherently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the inevitable

clearing of the ANDA backlog at the FDA, which would have the effect of introducing new

competitors in the market. Having put into play the issue of the source of Teva’s revenue growth


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and the subject of competition in the generic drug markets, Defendants had a duty to disclose

Teva’s price increase strategy and the true source of its revenues.

                        12.    October 29, 2015

       171.      On October 29, 2015, Teva filed its 3Q15 Form 6-K with the SEC, signed by

Desheh. In the 3Q15 Form 6-K, Teva reported YOY increase in generic profit of $20 million, or

4%, attributed “primarily” to:

              “[L]ower selling and marketing expenses, partially offset by lower gross
              profit,” which in turn was partially offset “by higher gross profit of our
              API business.”

       172.      On October 29, 2015, Vigodman, Desheh, and Olafsson participated in the

Company’s 3Q15 earnings conference call. During the call, Vigodman denied that any of Teva’s

margin improvements were attributable to price increases:

              We are very responsible . . . in everything that pertains to prices on the
              generic side and on the specialty side. And I would even put it
              another way, all the improvements you see in our – in margins is not
              driven by price. It is driven by quantities and by mix and by efficiency
              measures. Not by price, 2014, 2015. And that’s a very important
              message.

       173.      In light of recent legislative proposals that would penalize generic manufacturers

for raising prices above the rate of inflation, an analyst asked for management’s thoughts on “the

potential limit to generic drug price increases.” Olafsson minimized the extent and effect of Teva’s

practice of increasing prices and implied that Teva was not dependent on such profit:

              In terms of the proposed legislation on pricing control on generics, first of
              all, we don’t really know what it’s going to be. But let me give you
              examples. So Teva has the largest portfolio on the U.S. market. We are
              offering approximately 275 products. And we have told you that overall
              on our whole portfolio, we have a decline in price. The talk about the
              inflation in generics when you have a big portfolio is really not there.
              95% of our portfolio is declining due to the consolidation of the customers

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              I talked about. There might be 5% of the portfolio that is either flat or
              increasing in pricing due to some abnormalities in the market.

       174.     The statements set forth in ¶¶ 171-73 above were materially false and misleading

and/or omitted material facts. Defendants’ statements had the effect of concealing, and/or failed to

disclose, that, in truth, the Company’s reported financial results and success in the generic drug

market, including improved revenues, were driven primarily by its undisclosed strategy to take

massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. In fact, from FY13 through FY14, Teva generated more than $878

million through price increases alone, and in FY15 generated an additional $747 million through

price increases, much of which had been realized by October 2015. This strategy was inherently

unsustainable in light of, among other things, industry, regulatory and governmental scrutiny

surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the

FDA, which would have the effect of introducing new competitors in the market. Having put into

play the issue of the source of Teva’s revenue growth and the subject of competition in the

generic drug markets, Defendants had a duty to disclose Teva’s price increase strategy and the true

source of its revenues.

       175.     On the same October 29, 2015 call, Olafsson was asked if he could “follow up . . .

on what your pricing trends are here in the US for the generic business.” Olafsson responded:

              So on the pricing, I think pricing is obviously based on the competition.
              We have talked about that the overall pricing trend is down. What will
              change that obviously, there is different things. I think the consolidation
              of the customers affect pricing. I think the backlog, when the FDA
              releases the backlog of 3,000 NDA affect pricing.

       176.     The statements set forth in ¶ 175 above were materially false and misleading and/or

omitted material facts because Teva’s pricing was not “obviously based on the competition” and

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the Company was not operating in a competitive environment. In truth, Teva’s undisclosed and

inherently unsustainable strategy to take massive short term price increases depended in large part

on a lack of competition. In fact, during the Relevant Period, Teva increased the prices of multiple

drugs, many of which were done in tandem with its purported competitors.

                        13.    November 19, 2015

       177.     On November 19, 2015, during a Global Healthcare Conference call hosted by

Jefferies LLC, in response to a question asking Desheh to “give us your 20,000 foot view on

pricing” and asked “[i]s it an issue . . . where do you go on price,” he stated:

              There is a lot of noise around pricing issues. Some of it’s coming from
              politicians who are driving agenda, which is very, very legitimate.

              Our exposure to all these things is very minimal. . . .

              Generic prices? There are no – I believe that there are many examples for
              competitive environment, real competition, like we see in the generic
              market in the United States. . . .
              So it’s a highly competitive environment with players coming from all
              over the world, with a very fierce price competition. The price of generic
              went down 50% over the past 10 years. . . .

              And Teva was not associated with any of that. So we’re playing a
              competitive game. We’re playing it fairly. We, of course, play by the book
              and by the rule. And we believe that our exposure to any initiative on
              price reduction in the United States is as a small as anybody can have. .
              ..

              But we also saw that there is a floor to this. And the floor is a common
              economic and business model. And wherever prices have come down to
              a level that it doesn’t make sense, companies like us just pull out. We
              refuse to participate in tenders that generate no profit. And we just pull
              out . . . . prices go up, because there is less supply over the demand.

       178.     The statements set forth in ¶ 177 above were materially false and misleading and/or

omitted material facts because Teva was not facing “fierce price competition” or operating in a


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“highly competitive environment.” In truth, Teva’s undisclosed and inherently unsustainable

strategy to take massive short term price increases depended in large part on a lack of competition.

In fact, during the Relevant Period, Teva increased the prices of multiple drugs, many of which

were done in tandem with its purported competitors.

       179.    Similarly, Desheh’s statements set forth in ¶ 177 above – including that Teva’s

“exposure to all these things is very minimal,” “we believe that our exposure to any initiative on

price reduction in the United States is as a small as anybody can have,” and “Teva was not

associated with any of that” – were false and misleading because Teva was highly dependent on

its strategy to implement massive short term price hikes. In fact, from FY13 through FY15 Teva

generated more than $1.6 billion through price increases alone. Thus, any political initiative, such

as permitting Medicare to negotiate drug prices, could lead to drastic price decreases.

                       14.    November 30, and December 3, 2015

       180.    On November 30, 2015, Teva filed a Registration Statement on Form F-3, signed

by Vigdoman, Desheh, and Griffin, with the SEC (the “ADS Registration Statement”), as well as

a preliminary prospectus supplement, filed pursuant to Rule 424(b)(5), which disclosed certain

details regarding Teva’s intention to offer additional ADS to the public. The ADS Registration

Statement incorporated by reference the 2014 20-F, Q1 2015 6-K, Q22015 6-K, and Q3 2015 6-K

which all contained false and misleading financial disclosures.

       181.    On December 3, 2015, Teva filed a prospectus supplement, referred to herein as

“the ADS Final Prospectus,” with the SEC. The ADS Final Prospectus incorporated by reference

the 2014 20-F, Q1 2015 6-K, Q2 2015 6-K, and Q3 2015 6-K.

       182.    The statements set forth in ¶¶180-81 above were materially false and misleading


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and/or omitted material facts. Defendants’ statements touting the purported success of their

generics business, including the “three or four things” that play into Teva’s operating profit, had

the effect of concealing, and/or failed to disclose, that, in truth, the Company’s reported financial

results and success in the generic drug market, including improved revenues, were driven primarily

by its undisclosed strategy to take massive price increases, either on its own or in tandem with

other manufacturers whom it purportedly competed with. In fact, from FY13 through FY14 Teva

generated more than $878 million through price increases alone, and in FY15 generated an

additional $747 million through price increases, much of which had been realized by April 2015.

This strategy was inherently unsustainable in light of, among other things, industry, regulatory and

governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the

ANDA backlog at the FDA, which would have the effect of introducing new competitors in the

market. Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

                        15.    January 11, 2016

       183.      At a January 11, 2016 J.P. Morgan Conference, a J.P. Morgan a.nalyst asked

Olafsson, “McKesson this morning announced some maybe challenging pricing on the generics

side or an expectation of that going forward. Could you just comment a little bit on how you see

generic pricing as we look out not just this year but in the future and how Teva is able to navigate

the current environment?” In answer to this question, Olafsson responded:

              The generic pricing – we need to keep in mind there’s a lot of talk about
              inflations in generic pricing. But what we see is there’s – overall on our
              total portfolio of 270 products, there is a slight decrease in pricing. It’s
              low single digit, but year on year we see a low single-digit decrease


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              because on 95% of our portfolio, we experience price decline. And then
              on 5%, we might be flat or a slight increase. So, overall, we see that in
              the business. There’s a lot of headlines of examples of big price increases
              in generics. But when you are a company of the size of Teva and you have
              the portfolio that we have today – as I said, 270 products for the whole of
              the portfolio – there is a decline.

       184.     The statements set forth in ¶ 183 above were materially false and misleading and/or

omitted material facts. Olafsson’s statement that “on 95% of our portfolio, we experience price

decline” had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results and success in the generic drug market, including improved revenues,

were driven primarily by its undisclosed strategy to take massive price increases, either on its own

or in tandem with other manufacturers whom it purportedly competed with. In fact, from FY13

through FY15 Teva generated more than $1.6 billion through price increases alone. This strategy

was inherently unsustainable in light of, among other things, industry, regulatory and

governmental scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the

ANDA backlog at the FDA, which would have the effect of introducing new competitors in the

market. Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

                        16.    February 11, 2016

       185.     On February 11, 2016, Teva filed with the SEC a press release reporting the

Company’s fourth quarter 2015 (“Q4 2015”) and full year 2015 (“FY 2015”) financial results (“Q4

2015 Press Release”). The Q4 2015 Press Release disclosed a YOY increase in generic profit of

$7 million, or 1%, attributed “primarily” to: “[T]he reduction in S&M expenses, partially offset”

by, in part, “lower sales of budesonide (Pulmicort®) in the United States.”

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       186.     Also on February 11, 2016, Teva filed its Annual Report with the SEC on Form 20-

F, signed by Desheh. Vigodman and Desheh also signed the consolidated balance sheet. The 2015

Form 20-F a YOY increase in generic profit of $500 million, or 24%, attributed “primarily” to

“lower S&M expenses and higher gross profit,” which was “mainly a result of higher revenues

from new products launched in the United States during 2015, lower other production expenses

and higher gross profit from API sales to third parties.”

       187.     The table below reflects Teva’s improved profits as reported in 2015:


        2015 ($ millions)                   Q1              Q2          Q3            Q4    Full Year

        Reported YOY Change in
                                           $296          $193          $20            $7     $516
        Generics Profit


       188.     On February 11, 2016, Vigodman, Desheh, and Olafsson participated in Teva’s

4Q15 and FY2015 earnings call. On the same call, Olafsson stated:

              2015 was a very good year for Teva Generics. Thanks to our strong
              performance of the base business and good new products launches, we
              delivered great results in the US and in major markets globally. We
              continued improving the operating profit of the generic business, coming
              from $1.68 billion operating profit in 2013, or 17% of revenue, to $2.68
              billion operating profit in 2015, or 28% of revenue. This is $1 billion
              improvement in operating profit over 24 months period.

              So how did we do this? Not by pricing but by portfolio mix, new products,
              and efficiency measures.

       189.     During the February 11, 2016 earnings conference call, Olafsson made the

following statements regarding pricing in the generic segment:

              Briefly, on pricing. As I’ve previously stated, we and the generic industry
              overall don’t see price inflation of generics as it sometimes is portrayed
              in the media. On the contrary, for 2015, we saw mid-single-digit price
              decline for the overall business.

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              In the U.S., our largest market, we saw approximately 4% price erosion. . . .

              Looking forward, the conjunction of price erosion with the mix changes,
              focus on cost structure, and the new product launches, we continue to
              drive our business growth, both top line and bottom line. We expect to see
              the same in 2016. Nothing today points to a significant change in the
              generic pricing environment.

       190.     On the same call, a Guggenheim Securities, LLC analyst asked Olafsson about

pricing pressures discussed by Teva’s competitors during the quarter. In response, Olafsson denied

that there was any pricing pressure:

              As I mentioned in the beginning, we didn’t see anything change in fourth
              quarter. We saw approximately 4% pricing pressure or price decline in the
              US business over 2015 flat over the year. Some of our competitors have
              seen more pressure. I think overall, it might have to do with some dosage
              form differences. But also, I think we have been right in adjusting the
              business.

       191.     The Investor Slides presented during the February 11, 2016 earnings conference

call contained the following statements attributed to Olafsson: “Do not see the inflationary pricing

discussed in the media[.] Also do not see the sharp drop in prices other competitors have seen

recently[.] Mid-single digit increases in 2015[.] Expect 2016 to maintain the current trend.”

       192.     The statements set forth in ¶¶ 185-91 above were materially false and misleading

and/or omitted material facts. Defendants’ statements (i) touting the purported success of their

generics business and (ii) denying any knowledge of price inflation, had the effect of concealing,

and/or failed to disclose, that, in truth, the Company’s reported financial results and success in the

generic drug market, including improved revenues, were driven primarily by its undisclosed

strategy to take massive price increases, either on its own or in tandem with other manufacturers

whom it purportedly competed with. In fact, from FY13 through FY15 Teva generated more than


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$1.6 billion through price increases alone. Moreover, during FY15 Teva generated more than $747

million through price increases alone, representing a YOY increase in inflated revenues of more

than $91 million, or nearly 20% of the reported YOY change in generics profit. This strategy was

inherently unsustainable in light of, among other things, industry, regulatory and governmental

scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA backlog

at the FDA, which would have the effect of introducing new competitors in the market. Having

put into play the issue of the source of Teva’s revenue growth and the subject of competition in

the generic drug markets, Defendants had a duty to disclose Teva’s price increase strategy and the

true source of its revenues.

       193.     In the 2015 20-F filed on February 11, 2016, Teva described the “intense

competition” the Company faced in the U.S. generic market and its “competitive pricing strategy,”

as well as its “competitive advantages”:

              In the United States, we are subject to intense competition in the generic
              drug market from domestic and international generic drug manufacturers,
              brand- name pharmaceutical companies through lifecycle management
              initiatives, authorized generics, existing brand equivalents and
              manufacturers of therapeutically similar drugs. Price competition from
              additional generic versions of the same product typically results in margin
              pressures. We believe that our primary competitive advantages are our
              ability to continually introduce new and complex generic equivalents for
              brand-name drug products on a timely basis, our quality, our customer
              service and the breadth of our product portfolio. We believe we have a
              focused and competitive pricing strategy.

       194.     The 2015 Form 20-F also described the “intense competition in the generic market”

and the primary factors driving growth in Teva’s Generic Medicines segment:

              Sales of generic medicines have benefitted from increasing awareness and
              acceptance on the part of healthcare insurers and institutions, consumers,
              physicians and pharmacists globally. . . . These conditions also result in
              intense competition in the generic market, with generic companies

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              competing for advantage based on pricing, time to market, reputation,
              customer service and breadth of product line. We believe that these
              factors, together with an aging population, an increase in global spending
              on healthcare, economic pressure on governments to provide less
              expensive healthcare solutions, legislative and regulatory reforms and a
              shift of decision-making power to payors, will lead to continued
              expansion in the global generic market, as well as increased competition
              in this market.

       195.     The same Form 20-F also described the following Risk Factor:


              Our generic drugs face intense competition. Prices of generic drugs
              typically decline, often dramatically, especially as additional generic
              pharmaceutical companies (including low-cost generic producers based in
              China and India) receive approvals and enter the market for a given
              product and competition intensifies. Consequently, our ability to sustain
              our sales and profitability on any given product over time is affected by
              the number of new companies selling such product and the timing of their
              approvals.

       196.     During the February 11, 2016 earnings conference call, a Susquehanna Financial

Group analyst also asked Olafsson about the Company’s relationships with customers and what

impact the Actavis deal was having on pricing. Olafsson responded:

              We will pride ourselves of the service level of the high quality of the
              product. But at the end of the day, there is a fierce competition in the
              market. Over 200 generic companies, and really there is no bundling or
              anything like that, that can go on in the market. So overall, same as
              without the deal. But we see the opportunity going forward based on the
              huge pipeline that we have.

       197.     During the same call, Olafsson also stated that the U.S. generics business had been

“stable over the year” and “[t]here is a lot of competition in the US, there is no question about it.

As you well know, there are over 200 generic competitors in the market and the competition is

fierce.” Olafsson claimed Teva’s competitive advantage was having “the largest [drug] pipeline”

and “an extremely good supply chain.”


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       198.      The statements set forth in ¶¶ 193-97 above were materially false and misleading

and/or omitted material facts because Teva was not facing “intense competition,” “a lot of

competition in the US,” or operating in a competitive environment. Nor was Teva working to

combat the purported effects of competition, which resulted in “margin pressures,” through a

“competitive pricing strategy.” In truth, Teva’s undisclosed and inherently unsustainable strategy

to take massive short term price increases depended in large part on a lack of competition. In

fact, during the Relevant Period, Teva increased the prices of multiple drugs, many of which were

done in tandem with its purported competitors.

                        17.    March 8, 2016

       199.      On March 8, 2016, during a Cowen & Company Healthcare Conference call,

Olafsson stated:

              So we came out in our fourth quarter results, and told the market that we
              had seen approximately 4% price decline in the US market in 2015. . . .

              I think overall the pricing hasn’t changed that much. There was a lot of
              talk about inflation in generic pricing. But we never saw that. That was an
              individual molecule basis, they used example of products that really were
              not generic products, even though they were off-patent, and in an
              environment where there was an inflation never really happened in the
              generic business. And there has been a decline there. . . .

              So as of today, I came out with 4% [price erosion] in 2015. As of today, I
              don’t see any big changes in the pricing environment. It’s relatively stable.
              4% is worse than maybe two years ago. But it’s similar to what we saw in
              2014. But overall, these are the three things that affect the price. And
              there’s nothing on the horizon that should affect the pricing as of today.

       200.      During the same conference, Olafsson also discussed Teva’s profitability in its

generic segment:

              In terms of growing the profitability, from 2013 to 2015, we grew the
              operating profit of the generic business from 17% in 2013, and we exited

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              for the full year of 2015 we were at 28.1%. So it’s about 1,100 basis points
              we improved the profitability on approximately $10 billion in revenue. So
              it was a significant improvement over a 24-month period. Part of that was
              due to the improvement in our cost of goods sold, very important in
              consolidation of plants and looking for the money there. But also part of
              it was due to portfolio selection and the cost infrastructure.

       201.      The statements set forth in ¶¶ 199-200 above were materially false and misleading

and/or omitted material facts. Olafsson’s statements had the effect of concealing, and/or failed to

disclose, that, in truth, the Company’s reported financial results and success in the generic drug

market, including improved revenues, were driven primarily by its undisclosed strategy to take

massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. In fact, from FY13 through FY15 Teva generated more than $1.6

billion through price increases alone. This strategy was inherently unsustainable in light of, among

other things, industry, regulatory and governmental scrutiny surrounding the pricing of generic

drugs, and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect

of introducing new competitors in the market. Having put into play the issue of the source of

Teva’s revenue growth and the subject of competition in the generic drug markets, Defendants had

a duty to disclose Teva’s price increase strategy and the true source of its revenues.

                        18.    May 9, 2016

       202.      On May 9, 2016, Teva filed its 1Q16 Form 6-K with the SEC, which was signed

by Desheh. Vigodman and Desheh both signed the consolidated balance sheet in the 1Q16 Form

6-K. In the 1Q16 Form 6-K, Teva reported a YOY decline in generic profit of $215 million, or

27%, attributed “primarily” to:

              [L]ower gross profit, as well as higher R&D expenses,” while lower gross
              profit was “mainly a result of lower sales of high gross profit products in
              the United States, higher production expenses and lower gross profit in

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              our European markets.

       203.     On May 9, 2016, Vigodman, Desheh, and Olafsson participated in Teva’s 1Q16

earnings conference call. During the call, Olafsson explained away the decline in generic profit

margin by blaming it on issues other than pricing:

                When compared to first quarter 2015, the operating profit declined by
                360 basis points, fully explained by the exclusive launch of generic
                Nexium, esomeprazole, in the first quarter 201[5]. Excluding the
                exclusivity period of esomeprazole in first quarter, the profit margin of
                the generic segment was 24.4%.

       204.     During the call, Olafsson also discussed pricing on the May 9, 2016 earnings call:

                The global generic drug market has no shortage of manufacturers
                supplying vital medicines to patients in the US and around the world. .
                . . As you know, in February, during the fourth-quarter reporting
                season, several industry participants referenced a tougher pricing
                environment than what they have experienced in previous years, as a
                reason for the softness in their respective generic businesses. Now, we
                fast-forward to April and May, to a new reporting season, and we find
                the number of companies citing a tougher pricing environment or price
                deflation seems to have grown at an almost incredible rate. The
                referencing of generic drug price deflation has not been limited to the
                manufacturers, but is also being cited by those on the purchasing and
                distribution side, leaving many to wonder about what is the real
                opportunity in generics.

                As always, I will do my best to provide you with as much color as
                possible on what Teva is experiencing, in regards to pricing and
                volume; and more importantly, where we are headed. Throughout the
                ongoing debate this year about the level of generic price erosion in the
                United States, Teva has been very consistent and clear with investors.
                Teva has not seen any fundamental change or worsening in the pricing
                environment – something we have been consistent about telling
                investors all year. Teva experienced approximately 4% price erosion
                in the United States last year, and our guidance for this year is that it
                will remain the same. In fact, Allergan, and Mylan, two other
                companies with broad and diversified portfolios and high quality
                products, have also reported similar trends. From where I sit today,
                there is nothing that changes my mind about that. Nothing has
                happened in the last two quarters that has changed the pricing

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              environment. What this boils down to is each individual company’s
              business model. . . .

       205.   During the same call, Olafsson stated:

              [W]hy is Teva different? Why is our performance better than most
              generic companies? Why are other companies continuing to say, there
              is pricing pressure greater than what we at Teva are seeing?

              I see three reasons: first, the companies with older portfolio seemed to
              complain much more loudly. What I mean by that is, that if you look
              carefully at some companies with older portfolios, they will tell you
              that the pricing environment is worsening. But this is not an
              environment. This is purely a reflection of their portfolios, some of
              which are concentrated in one, or very few, therapeutic classes that are
              experiencing normal competition. This takes me to the second factor,
              new product launches. When companies don’t have new product
              launches, and the business is declining, they tend to talk about the
              market more than anything else. This is not a reflection of the
              environment, but rather again, a reflection on a company’s portfolio.

              The third factor is companies that are trying to grow their market share.
              Some companies are aggressive in going after market share for a
              variety of reasons, including to utilize excess capacity with relatively
              cheap volume. But in order to do that, you’ll have to drive down price.
              Buying new market share in price will cost you on the bottom line. We,
              on the other hand, are seeing our volumes go down, deliberately, net-
              net approximately 1% a year, because we think that is better for our
              business, and we would rather reduce capacity, than fill it with less
              profitable products. So if you look at this slide, you’ll see that over the
              past few years, we discontinued 70 products. At the same time, we
              introduced 68 new ones in the US.

       206.   During the May 9, 2016 earnings call, Olafsson also offered the supposed reasons

why Teva’s generics division had achieved success over several years, and thus was differently

positioned compared to its competitors who were reporting increased pricing pressure:

              We have taken a significant step to transform our generic business,
              solidify our foundation, increase our profitability, and to better position
              us to generate sustainable long-term growth. These many steps have
              included portfolio optimization, strengthening our capabilities in R&D,
              and manufacturing of complex products, regaining a leading position

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               in submission on first-to-files, enhancing our go-to-market, and sales
               force effectiveness capabilities, and much, much more. These are the
               very capabilities that companies must possess in order to thrive at the
               global level. We have created a unique and differentiated platform,
               positioned to extract significant value in the global growing generic
               space.

       207.    The Investor Slides that the Company presented during the May 9, 2016 earnings

conference call contained the following statement, attributed to Olafsson: “What has changed in

the US pricing environment since Q4 2015? The short answer is…nothing. We still expect 4%

price erosion on our portfolio.” The Investor Slides also contained the statement: “There is no

change in the pricing environment [.] It all comes down to each company’s business model . . .

Why is Teva generics performance better than most Gx companies? Portfolio optimization ….

[and] [n]ew product[].”

       208.    The statements set forth in ¶¶ 202-07 above were materially false and misleading

and/or omitted material facts. Defendants’ statements had the effect of concealing, and/or failed to

disclose, that, in truth, the Company’s reported financial results, including the YOY decline in

generic profits, were driven primarily by the unsustainability of Teva’s undisclosed strategy to

take massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

introducing new competitors in the market. In fact, by this time, the risk from Defendants’

undisclosed strategy had begun to materialize. While Teva generated more than $541 million

through price increases during FY16, that figure represented a decline of more than $200 million,

or nearly 30%, from FY15. Much of this decline would have been known to Teva by May 2016.

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Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the source of its revenue.

                       19.    May 10, 2016

       209.    On May 10, 2016, on a Bank of America Merrill Lynch Healthcare Conference call,

Olafsson discussed the Company’s 1Q16 financial results and the pricing environment in the

generics market:

               I mentioned on that call, and want to reemphasize here, there’s nothing
               I have seen which shows a worsening pricing environment. We saw a
               price erosion in the US last year of approximately 4%. We guided the
               market that we would see the same pricing of approximately deflation
               of 4% in 2016. And where I sit today, there is no change to that.

               I know many of the competitors in the generic space, and in the
               specialty space, are talking about a lot of pricing pressure, but it
               shouldn’t be. There is nothing that has happened over the last two
               quarters which has changed fundamental the market. And I feel that we
               are blaming the environment on individual company’s business model
               more than anything else because as long as you have the right portfolio,
               you have had the right investment in R&D, you really have a strong
               opportunity.

       210.    During the call, Olafsson also stated:

               You have to keep in mind that in the US generic space there’s
               approximately 230 competitors. Two hundred and thirty generic
               companies in the US that are offering products. So the competition is
               heavy. So, if you show that you grow 3%, let’s say 3% volume year-
               on-year, that will cost you on pricing.

               There’s no question about it. So that’s why I’m highlighting that in
               Teva world, we assume approximately 1% decline in the volume to
               maintain the pricing. So, it’s not that we are the only good house in the
               neighborhood, and I don’t think this is a bad neighborhood, I think it’s
               a good neighborhood. It’s unique. To maintain your business, you need
               to think about the future. And I think that’s at the end of the day what
               differentiates us.

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       211.    The statements set forth in ¶209-10 above were materially false and misleading

and/or omitted material facts. Olafsson’s statement that nothing had changed in the pricing

environment in which Teva operated had the effect of concealing, and/or failed to disclose, that,

in truth, the Company’s reported financial results were driven primarily by its undisclosed strategy

to take massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

introducing new competitors in the market. In fact, by this time, the risk from Defendants’

undisclosed strategy had begun to materialize. While Teva generated more than $541 million

through price increases during FY16, that figure represented a decline of more than $200 million,

or nearly 30%, from FY15. Much of this decline would have been known to Teva by May 2016.

Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

                       20.    June 3 and 8, 2016

       212.    On June 3, 2016, during a Sanford C. Bernstein Strategic Decisions Conference

call, Vigodman made the following statement regarding pricing:

               [W]e are very consistent. Our message was conveyed, and we will
               continue to convey. What we see is a 4% to 5% erosion. That’s what
               we see. That’s not something which is different from what we said
               during 2015. By the way, we continue saying it in 2016. I think our
               results in Q1 demonstrated that. And with basically our operating
               profits towards one of the (inaudible) in our history on kind of a naked
               basis, so generic business in the US without launches. So, in this

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               respect, we are very continuing with our messages, and that’s what we
               continue seeing.

       213.    During a June 8, 2016 Goldman Sachs Healthcare Conference call, Olafsson again

discussed pricing:

               When we signed that [Actavis] deal in July, we talked about 4% price
               erosion in the US generic business. And we are still talking about the
               same number, what we see in the base business. And we can talk about
               that later, how we look at it versus others. But really the fundamental -
               - so what has changed in the market is that currently the multiples for
               generic companies, Mylan and us, has been dragged down, I think, due
               to other companies in the market partly, due to Valeant, due to Endo,
               due to comments that were made in Perrigo and Mallinckrodt about the
               generic business, which has affected the whole industry.

       214.    The statements set forth in ¶¶ 212-13 above were materially false and misleading

and/or omitted material facts. Defendants’ statements that nothing had changed in the pricing

environment in which Teva operated had the effect of concealing, and/or failed to disclose, that,

in truth, the Company’s reported financial results were driven primarily by its undisclosed strategy

to take massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

introducing new competitors in the market. In fact, by this time, the risk from Defendants’

undisclosed strategy had begun to materialize. While Teva generated more than $541 million

through price increases during FY16, that figure represented a decline of more than $200 million,

or nearly 30%, from FY15. Much of this decline would have been known to Teva by June 2016.

Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

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strategy and the true source of its revenues.

                       21.    June 21 and July 12, 2016

       215.    The Exchange Act Defendants concealed Teva’s receipt of a subpoena from the

DOJ on June 21, 2016, and a subpoena from the State AGs on July 12, 2016, each pursuant to their

respective investigations into potential antitrust violations regarding pricing practices by generics

manufacturers. Specifically, these Defendants failed to disclose the subpoena in the Notes

Offering Materials.

       216.    This was false and misleading because the subpoenas called into question Teva’s

future earnings potential. They rendered uncertain the Company’s ability to maintain its earnings

form the undisclosed Price-Hike Strategy.             Importantly, the issuance documents listed

“governmental investigations into sales and marketing practices” as among “[i]mportant factors”

that could cause Teva’s future financial performance to “differ significantly from [anticipated]

results, performance or achievements.” Additionally, the Notes Offering Materials incorporated

by reference the 2015 20-F and the Q1 2016 6-K, which included extensive risk disclosures but

did not disclose the subpoenas. Among these is a section titled, “Government Investigations and

Litigation Relating to Pricing and Marketing,” that include an extensive description of litigation

related to “marketing and promotion of [Teva’s] specialty pharmaceutical products,” and to

litigation by “[a] number of state attorneys general . . . relating to reimbursements or drug price

reporting under Medicaid or other programs.” The detailed and extensive nature of this section

falsely and misleadingly indicated that the disclosures were complete, while omitting the highly

material DOJ and State AGs subpoenas.

                       22.    July 13 and 19, 2016



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       217.      On July 13, 2016, Teva filed with the SEC a Post-Effective Amendment No. 1 to

Form F-3, which was signed by Vigodman, Desheh, and Griffin, (the “Notes Registration

Statement”). The Notes Registration Statement incorporated by reference the 2015 20-F and the

Q1 2016 6-K.

       218.      In a July 13, 2016 call to announce the acceleration of Teva’s debt offering,

including the Notes Offering, to the end of July, a Citigroup analyst asked: “[C]an you comment

on the generics pricing assumptions that you have baked into your forecast? Following on that,

Siggi, maybe you could just comment on the generics pricing environment, more broadly, that you

are currently seeing in the marketplace.” In response, Olafsson indicated that Teva had still not

seen any change in the pricing environment, and that this stable pricing was baked into the

assumptions underlying Teva’s guidance and projections:

              Our assumption and what we assume is basically approximately 5%
              organic growth that we see year on year.…

              In terms of generic pricing in the second quarter, we saw no change in the
              pricing. We saw a stable environment, as we talked about, from first
              quarter into second quarter. Obviously, in second quarter, as we have
              highlighted to investors, there was no significant new launches that we
              saw in Teva, which obviously impacts the overall generic numbers. The
              pricing has remained stable.…

                                                    ***

              Our assumption for the rest of the year is basically assuming the same
              pricing erosion. It is difficult to say; but as I’m sitting here today, with the
              information I have in hand, we are assuming and now forecasting for the
              guidance for the remainder of the year same pricing assumption as we
              have had for the first half of the year.

       219.      On July 19, 2016, Teva filed with the SEC, pursuant to Rule 424(b)(5), its final prospectus

for the Notes Offering (the “Notes Final Prospectus”). The Notes Final Prospectus also incorporated by



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reference the 2015 20-F and the Q1 2016 6-K.

       220.    The statements set forth in ¶ 218 above were materially false and misleading and/or

omitted material facts. Olafsson’s statement that nothing had changed in the pricing environment

in which Teva operated had the effect of concealing, and/or failed to disclose, that, in truth, the

Company’s reported financial results were driven primarily by its undisclosed strategy to take

massive price increases, either on its own or in tandem with other manufacturers whom it

purportedly competed with. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

introducing new competitors in the market. In fact, by this time, the risk from Defendants’

undisclosed strategy had begun to materialize. While Teva generated more than $541 million

through price increases during FY16, that figure represented a decline of more than $200 million,

or nearly 30%, from FY15. Much of this decline would have been known to Teva by July 2016.

Having put into play the issue of the source of Teva’s revenue growth and the subject of

competition in the generic drug markets, Defendants had a duty to disclose Teva’s price increase

strategy and the true source of its revenues.

                       23.    August 4, 2016

       221.    On August 4, 2016, in a press release filed with the SEC on Form 6-K and signed

by Desheh, Teva announced its 2Q16 financial results. That same day, Teva also filed with the

SEC its 2Q16 Form 6-K, signed by Desheh. Vigodman and Desheh both signed the consolidated

balance sheet in the 2Q16 Form 6-K. The Company’s 2Q16 6-K reported a YOY decline in generic

profit of $115 million, or 16%, attributed “primarily” to:



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               “[L]ower gross profit,” which in turn was “mainly a result of loss of
               exclusivity on certain products as well as increased competition on
               other products in the United States … and higher production
               expenses…”

       222.    On August 4, 2016, Vigodman, Desheh, and Olafsson participated in Teva’s 2Q16

earnings conference call. On the call, Desheh attributed the poor performance of the Company’s

generic segment to factors other than its inability to maintain its long undisclosed price increases:

               Revenues of our US generics business was impacted by competition to
               our Aripiprazole, Esomeprazole, and Budesonide which were the
               major drivers of our generic business in the US in the second quarter
               last year.

       223.    On the same call, in response to a question about “pricing stability” in light of

Teva’s U.S. generic revenues coming in “a little lower than expectations,” Olafsson stated:

                I think, first of all, it’s the old story in the generic business, and we
                have talked about it many times. It’s the short-term volatility, but a
                long-term profitability that we are seeing in the generic business. I
                think on the US side, clearly the impact we highlighted, the impact of
                having a competition on Aripiprazole, Esomeprazole, and Budesonide
                was very, very significant. I think overall, the underlying business did
                well. . . .

               In terms of the pricing, the pricing is stable to the same degree as
               before. We saw approximately in the US, 4% price erosion in the
               business, in a way very stable from the first quarter.

       224.    Later in the call, Olafsson reiterated that “overall the business itself is fairly stable.

As I mentioned in the beginning, we are seeing exactly the 4% price erosion…. 4% price erosion

in the US.”

       225.    On the same call, a J.P. Morgan analyst asked about “price opportunities” on the

combined Teva-Actavis generic portfolio. In response, Olafsson stated:

               On the pricing, as you know, and we know that, the size really doesn’t

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               affect the pricing. And I have a strong feeling when you have over 200
               competitors, size has nothing to do about pricing. I think the pricing
               comes with shortages in the market. If you have an exclusive product,
               if there’s some kind of dysfunction in the market, there might be a
               small pricing opportunity that usually comes in and comes out. But
               overall, the size, and being a combined company doesn’t play into that.
               I feel quite strongly about that.

       226.    The statements set forth in ¶¶ 221-25 above were materially false and misleading

and/or omitted material facts. Defendants’ statements (i) citing non-price factors for the decline in

generic revenue, and (ii) that nothing had changed in the pricing environment in which Teva

operated had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results, including the YOY decline in generic profits, were driven primarily by

its undisclosed strategy to take massive price increases, either on its own or in tandem with other

manufacturers whom it purportedly competed with. This strategy was inherently unsustainable

in light of, among other things, industry, regulatory and governmental scrutiny surrounding the

pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which

would have the effect of introducing new competitors in the market. In fact, by this time, the risk

from Defendants’ undisclosed strategy had begun to materialize. While Teva generated more than

$541 million through price increases during FY16, that figure represented a decline of more than

$200 million, or nearly 30%, from FY15. Much of this decline would have been known to Teva

by August 2016. Having put into play the issue of the source of Teva’s revenue growth and the

subject of competition in the generic drug markets, Defendants had a duty to disclose Teva’s price

increase strategy and the true source of its revenues. Moreover, Olafsson’s suggestion that pricing

decisions were driven by organic market factors – including that “pricing comes with shortages in

the market” – was false and misleading in light of the Company’s undisclosed practice of



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implementing massive short term price increases to boost revenue.

       227.      During the August 4, 2016 earnings conference call, Olafsson also stated that

“competition is fierce” in the U.S. generics market and “[t]here’s no question about it.”

       228.      The statements set forth in ¶ 227 above were materially false and misleading and/or

omitted material facts because Teva was not facing “fierce” competition, or operating in a

competitive environment. In truth, Teva’s undisclosed and inherently unsustainable strategy to

take massive short term price increases depended in large part on a lack of competition. In fact,

during the Relevant Period, Teva increased the prices of multiple drugs, many of which were done

in tandem with its purported competitors.

                        24.    September 7 and 9, 2016

       229.      On September 7, 2016, during a Wells Fargo Securities Healthcare Conference call,

Desheh stated:

                 Now, with talking about prices of the base business, product that we’ve
                 been selling more than two years already, the prices are very stable
                 there. Might even go up a little bit here and there, depending on demand
                 and supply, and demand and availability of competing products in the
                 market, but you don’t see -- there you don’t see the erosion. Where we
                 see erosion is that you know, you have six months exclusivity, you start
                 with the high price, and then obviously more competitors go into the
                 market and the price goes down. But when we look at the base, there’s
                 no -- there’s no pressure on prices.

       230.      On September 9, 2016, during the Generic Medicines Business Overview call,

Olafsson stated:

                 There is no inflation in the generic pricing. . . .

                 So what is the secret sauce? It’s not very complex. This has been the
                 same winning formula I have talked about many, many times. Really
                 to be top three in the market is so important.

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               I think what I want to highlight is there will always be cycling of the
               pricing of generics. I have in my career, 23 years, never seen a real
               inflation. I mentioned to some of you before, I have been in the market
               where price declines was approximately 1% to 2%, probably 2%, and
               I’ve been in the market in 2006 and 2007 when the price decline was
               7%, 8%. And then it’s everything in between.

               So far, what we saw in the end of second quarter was approximately
               4% in the US and 5% global. So, there will be a fluctuation, and
               obviously, it will affect every generic Company. But the message I
               want you to take from this slide is with our business, with the size of
               our portfolio, with the flexibility of our manufacturing network, with
               the industry-leading position in the market, we are more shielded
               towards the prices up and down.

       231.    On the same call, Olafsson made the following statement regarding industry talk

about price inflation: “so first of all, we need to differentiate generics from branded pricing. And

people that say that the generic—there’s a big generic price inflation, are simply wrong.”

       232.    Also during the September 9, 2016 call, a Goldman Sachs analyst noted there had

been speculation that Teva was not raising prices during the approval process for the Actavis deal

and asked if the Company expected the “landscape in terms of pricing to change at all, now that

the deal is closed.” Olafsson responded:

               So first of all, it doesn’t work like we wake up when we are one
               Company, and we can take price increases. Simply, it doesn’t work like
               that in generics. When price increases are taken, there’s some kind of
               abnormality in the business. There are shortages.

               Remember that there’s 208 generic companies out there that are
               offering product, and an average of every molecule we have, there is
               more than five competitors. So there’s always somebody happy to take
               a little bit lower price. So it’s a very competitive business we’re in. I
               think overall, obviously, we look at each opportunity, but we come
               back to what Andy said and he will say it better, is we have an

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               opportunity to work with it. We have a broader portfolio now.

       233.    During the September 9, 2016 conference call, the Company presented Investor

Slides related to pricing pressures in the Generics market. The slides contain the following

statements attributed to Olafsson:

               • “Generic Price erosion varies year-to-year” and “Chasing market share will
               destroy value.”

               • Listing Teva’s advantages as: “Price challenges are product specific – a
               broad diverse portfolio mitigates risk[;] Strong understanding of the market[;]
               Offering differentiated products – lower competition, durability[;]
               Competitive cost position[;] Industry leading pipeline – customers want access
               to our new products which brings them value.”

               • “Price erosion is nothing new.

               • Listing how Teva is positioned to succeed in the market as: “Teva
               operations is a competitive advantage and capable of creating additional
               value[;] Allows Teva to maximize the value of the best R&D engine in the
               industry[;] Diverse portfolio and competitive cost structure allows for long-
               term value creation.”

       234.    The statements set forth in ¶¶ 229-33 above were materially false and misleading

and/or omitted material facts. Defendants’ statements (i) citing non-price factors for the decline in

generic revenue, (ii) that nothing had changed in the pricing environment in which Teva operated,

and (iii) denying price inflation in the generic business, had the effect of concealing, and/or failed

to disclose, that, in truth, the Company’s reported financial results were driven primarily by its

undisclosed strategy to take massive price increases, either on its own or in tandem with other

manufacturers whom it purportedly competed with. This strategy was inherently unsustainable in

light of, among other things, industry, regulatory and governmental scrutiny surrounding the

pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which

would have the effect of introducing new competitors in the market. In fact, by this time, the risk

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from Defendants’ undisclosed strategy had begun to materialize. While Teva generated more than

$541 million through price increases during FY16, that figure represented a decline of more than

$200 million, or nearly 30%, from FY15. Much of this decline would have been known to Teva

by September 2016. Having put into play the issue of the source of Teva’s revenue growth and the

subject of competition in the generic drug markets, Defendants had a duty to disclose Teva’s price

increase strategy and the true source of its revenues. Moreover, Desheh’s and Olafsson’s

suggestions that pricing decisions were driven by organic market factors – including that “prices

are very stable there . . . depending on demand and supply” and “When price increases are taken,

there’s some kind of abnormality in the business” – was false and misleading in light of the

Company’s undisclosed practice of implementing massive short term price increases to boost

revenue.

       235.    The statements set forth in ¶ 232 above were also materially false and misleading

and/or omitted material facts because Teva was not operating in a “very competitive business.” In

truth, Teva’s undisclosed and inherently unsustainable strategy to take massive short-term price

increases depended in large part on a lack of competition. In fact, during the Relevant Period, Teva

increased the prices of multiple drugs, many of which were done in tandem with its purported

competitors.

                       25.   November 15, 2016

       236.    On November 15, 2016, in a press release filed with the SEC on Form 6-K, and

signed by Desheh, Teva reported its 3Q16 financial results. That same day, Teva filed its 3Q16

Form 6-K with the SEC, signed by Desheh. Vigodman and Desheh both signed the consolidated

balance sheet in the 3Q16 Form 6-K. The Company’s 3Q16 Form 6-K also reported a YOY


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increase in U.S. generic revenue of $261 million, or 25%, attributed to increased revenues from

Actavis. However, after removing Actavis’ $538 million in U.S. generic revenues that quarter,

Teva’s U.S. generic revenues from its legacy business suffered a YOY decline of $277 million, or

27%. In discussing the increased revenues that were due to Actavis, Teva disclosed that those

revenues were:

               [P]artially offset by loss of revenues following our divestment of
               certain products in connection with the acquisition, a decline in sales
               of budesonide … due to increased competition and the loss of
               exclusivity on esomeprazole.

       237.    Teva’s 3Q16 Form 6-K also contained the following statement regarding the

subpoenas the Company had received from the DOJ and the Connecticut AG: “Teva is not aware

of any facts that would give rise to an exposure to the Company with respect to these subpoenas.”

       238.    On November 15, 2016, Vigodman, Desheh, and Olafsson participated in Teva’s

3Q16 earnings conference call. During the call, a Credit Suisse analyst asked:

               [J]ust around your comments you made around generic drug pricing,
               you mentioned that 7% erosion this quarter, but you said you’re
               confident it will still remain in the mid single-digits going forward. So
               can you just maybe provide a little bit more insight, there’s obviously
               an area that there’s a lot of investor focus, just what gives you the
               confidence that what’s going to happen in the coming quarters will be
               different than what you saw this quarter?

    In response, Olafsson stated:

               Let me start on the drug pricing, so overall, like previous quarters, there
               hasn’t been any fundamental change in the US drug pricing. And what
               we saw in the difference between the 5% or mid single-digit we guided
               for going into it, versus exiting at 7%, was the impact of the pricing
               impact on the divested product.

       239.    When pressed on his explanation by a J.P. Morgan analyst, Olafsson reiterated:

“where I sit here today, experiencing the market, there hasn’t again been any fundamental change.”

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        240.    A Wells Fargo analyst also asked Olafsson on the same call if he was saying that

“the acceleration in the price decreases . . . this past quarter aren’t a result of increased competition

. . . and . . . not a result of having to tame previous price increases, or give back some of those?”

In response, Olafsson stated:

                No, basically, the main reason, David, was that we had to divest a very
                good portfolio of products that had limited competition, so we had to
                divest it. What our customers did, as they do, is that there is a new
                player in the market that took over those products, and that became a
                pricing pressure on roughly about 60 molecules of -- and these were
                one of our top -- the top molecules we had in our portfolio. So there
                was an instability that happened in the market during the month of
                August, when the new owners were taking market share. . . . It didn’t
                change the structure of the market, or the chemistry of the market, but
                we saw the impact on the divested molecule significantly more than we
                saw for on the rest of the portfolio which gave us a 7% versus 5%,
                which we assumed going into the quarter.

        241.    The statements set forth in ¶¶ 236-40 above were materially false and misleading

and/or omitted material facts. Defendants’ statements (i) citing non-price factors for the decline in

generic revenue, and (ii) that nothing had changed in the pricing environment in which Teva

operated had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results, including the YOY decline in generic profits, were driven primarily by

its undisclosed strategy to take massive price increases, either on its own or in tandem with other

manufacturers whom it purportedly competed with. This strategy was inherently unsustainable in

light of, among other things, industry, regulatory and governmental scrutiny surrounding the

pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which

would have the effect of introducing new competitors in the market. In fact, by this time, the risk

from Defendants’ undisclosed strategy had begun to materialize. While Teva generated more than

$541 million through price increases during FY16, that figure represented a decline of more than

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$200 million, or nearly 30%, from FY15. Much of this decline would have been known to Teva

by November 2016. Having put into play the issue of the source of Teva’s revenue growth and

the subject of competition in the generic drug markets, Defendants had a duty to disclose Teva’s

price increase strategy and the true source of its revenues. Moreover, Olafsson’s suggestions that

price decreases were driven by organic market factors – including because Teva “had to divest a

very good portfolio of products that had limited competition” – was false and misleading in light

of the Company’s undisclosed practice of implementing massive short term price increases to

boost revenue, which, by this time, was no longer sustainable.

                       26.   January 6, 2017

       242.    During a January 6, 2017 Business Outlook Conference Call, Vigodman announced

that Teva would provide 2017 guidance early in January 2017. During the call, Vigodman claimed

Teva’s past success was not due to price increases, stating:

               Since the start of 2014, one of our greatest priorities has been to
               increase the profitability of our generics business. In the first three
               years of this great effort, we have been able to improve significantly the
               margins of Teva’s standalone generics business. This has been
               accomplished with a strong emphasis on the cost of goods sold, product
               mix, and the overall cost structure.

       243.    The statements set forth in ¶ 242 above were materially false and misleading and/or

omitted material facts. Defendants’ statements touting the purported success of their generics

business had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results and success in the generic drug market were driven primarily by its

undisclosed strategy to take massive price increases, either on its own or in tandem with other

manufacturers whom it purportedly competed with. Indeed, from FY13 through FY16 Teva

generated more than $2.1 billion through price increases alone. This strategy was inherently

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unsustainable in light of, among other things, industry, regulatory and governmental scrutiny

surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the

FDA, which would have the effect of introducing new competitors in the market. In fact, by this

time, the risk from Defendants’ undisclosed strategy had begun to materialize. While Teva

generated more than $541 million through price increases during FY16, that figure represented a

decline of more than $200 million, or nearly 30%, from FY15. Having put into play the issue of

the source of Teva’s revenue growth and the subject of competition in the generic drug markets,

Defendants had a duty to disclose Teva’s price increase strategy and the true source of its revenues.

               aa.     February 15, 2017

       244.    On February 15, 2017, Teva filed its 2016 Annual Report with the SEC on Form

20-F, signed by Desheh. Desheh signed the consolidated balance sheet. The Company’s 2016

Form 20-F also reported a YOY decline in U.S. generic revenues of $39 million, or 5%. When

removing the impact of Actavis’ $1.168 billion in U.S. generic revenues, Teva’s U.S. generic

revenues from its legacy business suffered a YOY decline of $1.4 billion, or 29%. The Form 20-

F explained that the decline:

               “resulted mainly from the loss of exclusivity on esomeprazole … and
               aripiprazole …, a decline in the sales of budesonide … due to increased
               competition, loss of revenues following our divestment of certain
               products in connection with the Actavis Generics acquisition and the
               decline in sales of capecitabine.

       245.    The statements set forth in ¶ 244 above were materially false and misleading and/or

omitted material facts. Defendants’ statements citing non-price factors for the decline in generic

revenue had the effect of concealing, and/or failed to disclose, that, in truth, the Company’s

reported financial results, including the past success and current YOY decline in generic profits,


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were driven primarily by its undisclosed strategy to take massive price increases, either on its own

or in tandem with other manufacturers whom it purportedly competed with. This strategy was

inherently unsustainable in light of, among other things, industry, regulatory and governmental

scrutiny surrounding the pricing of generic drugs, and the inevitable clearing of the ANDA backlog

at the FDA, which would have the effect of introducing new competitors in the market. In fact,

by this time, the risk from Defendants’ undisclosed strategy had begun to materialize. While Teva

generated more than $541 million through price increases during FY16, that figure represented a

decline of more than $200 million, or nearly 30%, from FY15. Having put into play the issue of

the source of Teva’s revenue growth and the subject of competition in the generic drug markets,

Defendants had a duty to disclose Teva’s price increase strategy and the true source of its revenues.

       246.    In the same February 15, 2017 Form 20-F, Teva described the “intense

competition” the Company faced in the U.S. generic market and its “strategic” and “competitive

advantages”:

               In the United States, we are subject to intense competition in the
               generic drug market from domestic and international generic drug
               manufacturers, brand- name pharmaceutical companies through
               lifecycle management initiatives, authorized generics, existing brand
               equivalents and manufacturers of therapeutically similar drugs. Price
               competition from additional generic versions of the same product
               typically results in margin pressures. We believe that our primary
               competitive advantages are our ability to continually introduce new
               and complex generic equivalents for brand-name drug products on a
               timely basis, our quality, our customer service and the breadth of our
               product portfolio.

       247.    The Company also described in the Form 20-F the “intense competition in the

generic market” and the primary factors driving growth in the Teva’s Generic Medicines segment:

               Sales of generic medicines have benefitted from increasing awareness
               and acceptance on the part of healthcare insurers and institutions,

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               consumers, physicians and pharmacists globally. . . . These conditions
               also result in intense competition in the generic market, with generic
               companies competing for advantage based on pricing, time to market,
               reputation, customer service and breadth of product line. . . . We
               believe that our robust product pipeline, which has been enhanced with
               the Actavis Generics business, and ability to continuously launch new
               products are critical to our growth in the face of continuing price
               erosion expected in the generics market.

       248.    Teva’s 2016 Form 20-F also described the following Risk Factor:

               Our generic drugs face intense competition. Prices of generic drugs
               typically decline, often dramatically, especially as additional generic
               pharmaceutical companies (including low-cost generic producers
               based in China and India) receive approvals and enter the market for a
               given product and competition intensifies. Consequently, our ability to
               sustain our sales and profitability on any given product over time is
               affected by the number of companies selling such product, including
               new market entrants, and the timing of their approvals.

       249.    The statements set forth in ¶¶ 246-48 above were materially false and misleading

and/or omitted material facts because Teva was not facing “intense competition” or operating in a

competitive environment. In truth, Teva’s undisclosed and inherently unsustainable strategy to

take massive short term price increases depended in large part on a lack of competition. In fact,

during the Relevant Period, Teva increased the prices of multiple drugs, many of which were done

in tandem with its purported competitors.

               bb.    Additional False and Misleading Denials of Teva’s Participation in Collusive Conduct
       250.    Teva repeatedly, and falsely, denied its participation in collusive conduct.

       251.    In Teva’s August 3, 2017 Form 6-K filed with the SEC, Teva described the various

antitrust matters it faced, including the Connecticut AG and DOJ subpoenas and the December

2016 State AG lawsuit referenced above, and fraudulently stated that “Teva denies having engaged

in any conduct that would give rise to liability with respect to the above-mentioned subpoenas and


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civil suits.” Teva made materially identical false and misleading statements in each of its periodic

reports filed with the SEC between August 3, 2017, and May 10, 2019, including Teva’s Form 6-

K filed on November 2, 2017; Teva’s Form 10-K for the year ended December 31, 2017, filed on

February 12, 2018; Teva’s Form 10-Q for the period ended March 31, 2018, filed on May 3, 2018;

Teva’s Form 10-Q for the period ended June 30, 2018, filed on August 2, 2018; Teva’s Form 10-

Q for the period ended September 30, 2018, filed on November 1, 2018; and Teva’s Form 10-K

for the year ended December 31, 2018, filed on February 29, 2019.

       252.    Further, on October 31, 2017, in response to media reports issued after the State

AGs filed a proposed amendment expanding their first antitrust complaint, a Teva spokeswoman

stated to Courthouse News that “Teva denies these allegations and will continue to defend itself

vigorously in court.” The Company further stated that “[i]n accordance with our values, Teva is

committed to complying with all applicable competition laws and regulations. To this end, we

have a robust compliance program designed to ensure that our employees are aware of competition

laws, regulations and internal policies, and their obligations to abide by them.”

       253.    Teva issued further denials in a December 19, 2018 statement to Business Insider,

in which Teva denied the State AGs’ allegations and said it “will continue to vigorously defend

itself.” On January 18, 2019, Teva stated to Law360: “Overall, we establish prices to enable patient

access, maintain our commitment to innovative and generic medicines and fulfill obligations to

shareholders.” Teva added that it is “committed to complying with all applicable laws and

regulations and is dedicated to conducting business with integrity and fairness. Litigation

surrounding U.S. generic pricing of several companies, including Teva, continues to be the subject

of inaccurate media stories.” On February 19, 2019, in response to media reports discussing an


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unredacted version of the first State AG complaint that had recently been made public, Teva stated

to Bloomberg that it would “vigorously defend itself against these unfounded allegations.”

       254.    In addition, each of the reports Teva filed with the SEC on Forms 10-Q and 10-K

throughout the Class Period contained certifications pursuant to Section 302 of the Sarbanes-

Oxley Act of 2002 (“SOX Certifications”) signed by Defendants Schultz and McClellan, stating

that the “report does not contain any untrue statement of a material fact or omit to state a material

fact necessary to make the statements made, in light of the circumstances under which such

statements were made, not misleading with respect to the period covered by this report.”

       255.    These statements were false and misleading because, as alleged specifically and

independently herein and at Section III.E (Teva Engaged In Collusion, Rendering The Statements

False And Misleading And Further Supporting A Strong Inference Of Scienter), Teva had in fact

engaged in the collusive conduct the State AGs alleged; Teva was not merely a participant, but the

central actor in an industry-wide scheme to fix prices and allocate customers; and four Teva

executives were so extensively involved in the unlawful conspiracy that they were named

personally as defendants in the State AGs’ May 2019 complaint.

               cc.     False and Misleading Statements Regarding Actavis Acquisition



       256.    256. Teva’s Q3 2016 6-K asserted that the Actavis acquisition “had a significant

impact on our generic medicines segment, expanding our product portfolio, R&D capabilities,

product pipeline, and global operational network.”

       257.    In the press release announcing the Q3 2016 results, Defendant Vigodman stated:

               This has been a year of transition for Teva, underscored this quarter by the
               close of our strategic acquisition of Actavis Generics, which had


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                 significant contribution to our results. Actavis will continue to contribute
                 in a meaningful way to the future growth of our generics business through
                 the strengthened R&D capabilities and complementary pipeline and
                 portfolio, and enhance our leadership in an increasingly evolving industry.

          258.   During the Nov. 15, 2016, earnings call the same day, Teva made the following false and

misleading statements concerning the financial impact of the Actavis acquisition and integration on the

Company’s business prospects and reported financials:

                 [Vigodman:] The completion of the Actavis acquisition strengthens and broadens
                 our R&D capabilities, and highly complements our product pipeline, product
                 portfolio, geographical footprint and operational network. It enhances Teva’s
                 leadership in an evolving competitive landscape and massive consolidation across
                 our customer base. In addition, our integration plans with the Actavis generics
                 business are on track.
                                                * * *
                 [Olafsson:] On August 2, we completed the strategic acquisition of Actavis
                 generics. The result is a much stronger, more competitive Teva that is best
                 positioned to thrive in an evolving global generics marketplace.

          259.   In response to a question about the Actavis transaction, Defendant Olafsson

stated:
                 The closing of the Actavis transaction has gone very smoothly since day one
                 with no operational disrupter. While we were disappointed at the delays with
                 antitrust review, the time allows the integration teams at Teva and Actavis
                 Generics to work diligently to plan for integration of the two companies in order
                 to ensure that combined company would be fully operational immediately as on
                 closing of the transaction. As a result, Teva was able to begin capitalizing
                 immediately on the benefits offered by the acquisition of Actavis Generics. This
                 included optimizing our R&D activities, harmonizing our customer contracts and
                 relationships, and realizing economies of scale with our purchase.

          260.   On December 5, 2016, Teva filed a report on Form 6-K with the SEC, which

included the following false and misleading statements concerning the financial impact of the

Actavis acquisition and integration on the Company’s business prospects and reported financials:

                 Erez Vigodman, Teva’s President and [CEO stated:] ... “As we continue to focus
                 on integrating and realizing the value of the Actavis Generics transaction, which
                 is progressing according to plan, Dipankar and his team will focus on generating

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              organic growth through new launches and replenishing the pipe line through our
              industry-leading R&D, and drive efficiencies across the generics organization . .
              . .”

               . . . [Dipankar] Bhattacharjee[, Teva’s President and CEO, Global Generic
               Medicines Group stated:] “With the integration of Actavis proceeding on
               schedule and the
               complementary U.S. distribution capabilities provided by our recent acquisition
               of Anda, we have a matchless opportunity to add value in the U.S. healthcare
               system, and in the
               fast-changing global generics marketplace.”

       261.   On February 13, 2017, Teva filed with the SEC the Q4 2016 Press Release. In the

Feb. 13, 2017 earnings call the same day, Defendants Peterburg and Desheh made the following

false and misleading statements concerning the financial impact of the Actavis acquisition and

integration on the Company’s business prospects and reported financials:

               [Peterburg:] The Company’s priorities continue to be extracting all
               synergies related to the Actavis generic acquisition, successfully launching
               the key generic and specialty products we have planned for 2017, and
               generating significant cash flow to rapidly pay down our existing debt to
               maintain a strong balance sheet.

               We are reiterating our guidance for 2017, including our earnings per share
               of $4.90 to $5.30. We are very committed to this EPS range, and the
               management team and I will do what it takes to protect it, including
               additional cost reduction if necessary.

                                                    ***

               [Desheh :] The increase in our operating profit was driven mainly by our
               generic business, following the closing of the Actavis transaction.

                                                      ***

               Total sales were $93 billion, with significant growth in goodwill and
               intangible assets, resulting from the progress made on the Actavis
               acquisition versus price allocation.

       262.   On February 15, 2017, Teva filed the 2016 20-F. In the 2016 20-F, Teva made the


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following false and misleading statements concerning the financial impact of the Actavis

acquisition and integration on the Company’s business prospects and reported financials:

                  In August 2016, we completed the Actavis Generics acquisition. Our strong
                  legacy generics business, combined with the Actavis Generics business, has
                  a world-leading product portfolio, comprehensive R&D capabilities, robust
                  product pipeline and an efficient global operational network. The combined
                  generic business has a wide-reaching commercial presence, as the market
                  leader in the United States and a top three leadership position in over 40
                  countries, including some of our key European markets. The combined
                  business benefits from a leading and diverse pipeline of products, which
                  will help us continue executing key generic launches and further expand our
                  product pipeline, focusing on both large and small opportunities. We expect
                  that a larger number of smaller but more durable launches will help offset
                  expected price erosion while diversifying our revenue stream.

                                              * * *
                  In August 2016, we completed our acquisition of Allergan plc’s worldwide
                  generic pharmaceuticals business (“Actavis Generics”). At closing, we paid
                  Allergan consideration of approximately $33.4 billion in cash and
                  approximately 100.3 million Teva shares. The acquisition significantly
                  expanded our generics product portfolio and pipeline, R&D capabilities and
                  global operational network.

                                             *    *     *

                  Significant highlights of 2016 included:

              •     In August 2016, we completed our acquisition of Actavis Generics. The
                    acquisition had a significant impact on our generic medicines segment,
                    expanding our product portfolio and pipeline, R&D capabilities and global
                    operational network.

       263.       The 2016 20-F contained signed certifications pursuant to the Sarbanes-Oxley Act

of 2002 by Defendants Peterburg and Desheh, stating that the financial information contained in

the 2016 20-F was accurate and disclosed any material changes to the Company’s internal control

over financial reporting.

       264.       On May 11, 2017, Teva filed a report on Form 6-K with the SEC reporting the

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Company’s financial and operating results for the quarter ended March 31, 2017 (the “Q1 2017

6-K”).

         265.   In the Q1 2017 6-K, Teva made the following false and misleading statements

concerning the financial impact of the Actavis acquisition and integration on the Company’s

business prospects and reported financials:

                On August 2, 2016, Teva consummated its acquisition of Allergan plc’s
                (“Allergan”) worldwide generic pharmaceuticals business (“Actavis
                Generics”). At closing, Teva transferred to Allergan consideration of
                approximately $33.4 billion in cash and approximately 100.3 million Teva
                shares. The acquisition significantly expanded Teva’s generics product
                portfolio and pipeline, R&D capabilities and global operational network.

         266.   In a conference call the same day, Defendants Peterburg and Desheh made the

following false and misleading statements concerning the financial impact of the Actavis

acquisition and integration on the Company’s business prospects and reported financials:

                [Peterburg:] As it relates to our first priority, I’m pleased to report the
                synergies related to the Actavis Generics acquisition and additional cost
                reduction, which the company has identified, is now on track to realize
                cumulative net synergies and cost reduction of approximately $1.5 billion
                by the end of 2017.
                                               * * *
                Turning to generics. It has been 2 full quarters since the completion of our
                acquisition of Actavis Generics. The acquisition has provided us with many
                benefits, especially much stronger and broader R&D capabilities, which we
                believe are the engine for any substantial generic business. This is essential
                in today’s world when we are operating across such an evolving competitive
                landscape and ongoing consolidation across our customer base. We are very
                confident that the global business we have built will allow Teva to thrive in
                the long-term future as a leader in the generics industry.

                [Desheh:] The increase in our operating profit was driven mainly by our
                generic business, following the closing of the Actavis transaction.

         267.   The statements referenced above were materially false and misleading. Considered


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as a whole, Defendants’ representations misled investors by presenting a materially false and

misleading picture of Teva’s business, financial results and operations by, in addition to the

reasons set forth in Sections III.C.1-3 (Defendants Violated Their Statutory Duty To Disclose

Pricing Trends; The Exchange Act Defendants’ False And Misleading Statements That Teva

Operated In A Competitive Market With Respect To Price; False And Misleading Statements And

Omissions Regarding Pricing) and III.E (Teva Engaged In Collusion, Rendering The Statements

False And Misleading And Further Supporting A Strong Inference Of Scienter), failing to disclose

and actively concealing the negative impact resulting from the acquisition and integration of

Actavis on the Company’s financial results and business prospects, which (among other things)

exacerbated the risky and unsustainable nature of the Price-Hike Strategy, which collapsed shortly

after the closing of the Actavis acquisition in August 2016.


               2.     Defendants Violated Item 303 of SEC Regulation S-K and
                      Item 5 of Form 20-F

       268.    Defendants violated their obligations pursuant to Item 5 of Form 20-F and Item 303

of SEC Regulation S-K by failing to disclose the reasons and factors contributing to the increase

or decrease in revenues relating to Defendants’ undisclosed and inherently unsustainable price

increases.

       269.    More specifically, Item 5 of Form 20-F required Teva to disclose the source of

material increases and decreases in revenues, including those resulting from Defendants’

undisclosed and inherently unsustainable price increases. Defendants did not do so. Instead, they

made numerous affirmative misleading statements in the MD&A section of the 20-F which

suggested Teva’s U.S. generics business was subject to “intense competition.”


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       270.     Teva filed its annual financial statement with the SEC in a Form 20-F filed under

section 13(a) or 15(d) of the Securities Exchange Act of 1934. The SEC explicitly requires

disclosures detailing changes in price that impact reported revenues in a Form 20-F. Item 5 of

Form 20-F (Operating and Financial Review and Prospects) states:

                To the extent that the financial statements disclose material changes in
                net sales or revenues, provide a narrative discussion of the extent to
                which such changes are attributable to changes in prices or to changes
                in the volume or amount of products or services being sold or to the
                introduction of new products or services.. . discuss, for at least the
                current financial year, any known trends, uncertainties, demands,
                commitments or events that are reasonably likely to have a material
                effect on the company’s net sales or revenues, income from continuing
                operations, profitability, liquidity or capital resources, or that would
                cause reported financial information not necessarily to be indicative of
                future operating results or financial condition.

       271.     Item 5 of Form 20-F is analogous to, and subject to the same rules and requirements

as, the Management’s Discussion and Analysis of Financial Condition and Results of Operations

(MD&A) section of Form 10-K filed with the SEC. SEC Release No. 33-8350, Note 1.

       272.     As such, SAB 104 requires management to disclose in the MD&A section the

impact of artificial or collusive price increases: “Changes in revenue should not be evaluated solely

in terms of volume and price changes, but should also include an analysis of the reasons and factors

contributing to the increase or decrease.”

       273.     SEC Release No. 33-8350 further provides the following MD&A disclosure

guidance, requiring analysis and disclosure of volume and price changes affecting the Company’s

revenues in a situation analogous to the rise and decline in revenue from the Defendants’

undisclosed and inherently unsustainable price increases:

              For example, if a company’s financial statements reflect materially lower
              revenues resulting from a decline in the volume of products sold when

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              compared to a prior period, MD&A should not only identify the decline
              in sales volume, but also should analyze the reasons underlying the
              decline in sales when the reasons are also material and determinable. The
              analysis should reveal underlying material causes of the matters
              described, including for example, if applicable, difficulties in the
              manufacturing process, a decline in the quality of a product, loss in
              competitive position and market share, or a combination of conditions.

       274.     Additionally, SEC Release No. 33-8350 explicitly states that “[o]ne of the principal

objectives of MD&A is to provide information about the quality and potential variability of a

company’s earnings and cash flow, so that readers can ascertain the likelihood that past

performance is indicative of future performance.”

       275.     SAB 104 further states: “The Commission stated in FRR 36 that MD&A should

‘give investors an opportunity to look at the registrant through the eyes of management by

providing a historical and prospective analysis of the registrant’s financial condition and results of

operations, with a particular emphasis on the registrant’s prospects for the future.’”

       276.     Defendants violated this requirement, especially given their assertions that the


                 U.S. generic drug markets were competitive, without disclosing the
                 source and magnitude of revenues generated by Teva’s undisclosed and
                 inherently unsustainable price increases.

       D.       ADDITIONAL ALLEGATIONS OF SCIENTER

       Together with the above-alleged facts, the Exchange Act Defendants each acted with

scienter in that each knew or recklessly disregarded the true facts in making the materially false

and misleading statements identified herein

       1. Defendants Were Motivated to Use Teva’s ADS as “Currency” for a
          “Transformational” Acquisition


       277.     As alleged above, Defendants were motivated to make false statements to inflate

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the price of Teva Securities in order to complete a “transformational” acquisition. By January

2014, once the price-hike strategy was fully implemented and had generated material profits

toward fourth quarter 2013 results, Desheh announced this motivation, stating that, “the stock price

will go up and we’ll be able to use our share as a currency . . . to fund transactions.” Upon his

hiring in February 2014, Vigodman was reported to also favor significant M&A activity.

       278.    When Teva announced the $40 billion acquisition of Actavis on July 27,

2015,Vigodman explained that the improvement in generics was a “precondition” for

accomplishing the deal. Indeed, without the inflated securities as a “currency,” Teva did not have

the cash; the $40 billion price tag was roughly twenty years of Teva’s average annual income from

2013 to 2015. They raised the cash from investors, such as Plaintiff.

       279.    By the second quarter 2015, however, the price-hike strategy had peaked. Teva

began to experience pricing pressure on its generic drugs, and was unable to make additional large

price increases. As analysts questioned the deteriorating pricing environment and Teva’s

weakening financials, Defendants flatly denied Teva was making profits from price increases, or

that Teva was facing pricing pressure.

       280.    It was not until Defendants had completed over $27 billion in public offerings by

July 28, 2016, and closed the deal on August 2, 2016, that they disclosed negative results in the

generic business, and that it was the subject of government subpoenas. Soon after that, the truth

began to leak into the marketplace, and the fraud fell apart.

         2. Conscious Misbehavior or Recklessness

                a. Implementation and Concealment of the Price-Hike Strategy

       281.    Teva’s systematic implementation of a strategy to hike prices on generic drugs,


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while publicly denying that price increases played any role in the Company’s reported results,

supports a strong inference of scienter. As discussed above, allegations in both the TSCA

Complaint and the 2019 AG Complaint—which corroborate one another—detail how Teva

adopted a strategy of systematically raising prices on generic drugs just before the Relevant Period,

how the strategy was adopted with the full knowledge of senior executives, and how senior

executives reviewed and approved price increases. TSCA Complaint, ¶¶ 269-273; 2019 AG

Complaint ¶¶ 1111-1114. The TSCA Complaint attributes these allegations to former Teva

employees, and the State AGs draw their allegations from a long-running investigation as well as

party discovery in the Generics MDL, including Teva’s full custodial file for Nisha Patel, a central

player in Teva’s collusion.

       282.    The fact that senior executives reviewed and signed off on price increases supports

an inference of scienter. The TSCA Complaint includes allegations that Teva employees would

provide a list of potential price increases to Maureen Cavanaugh and Deborah Griffin, who

approved the timing and amounts of the price increases. TSCA Complaint ¶ 282.

       283.    The 2019 AG Complaint corroborates these allegations with detailed descriptions

of the systematic approach taken to price increases. For example, the 2019 AG Complaint

describes how, shortly after joining Teva, Patel began to rank competitors on their “quality”—

meaning their willingness to collude—and, with approval from her supervisor “K.G.” (Kevin

Galownia, on information and belief, who was the Senior Director of Marketing at the time of the

relevant conduct), she used this list to identify price-hike candidates. K.G. forwarded the list of

price increases, which was based on information obtained from competitors, to Cavanaugh, who

approved them, and allegedly understood the source of the information. 2019 AG Complaint ¶¶


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1111-1114. The 2019 AG Complaint walks through numerous other examples where Patel and

other Teva employees would follow this process for subsequent price increases—identifying

candidates in collusion with competitors, and then forwarding to senior executives for approval.

        284.    Given this formalized process involving Griffin and Cavanaugh, there is a strong

inference that Defendants were aware of, or at least recklessly disregarded, the more than 76 price

increases, ranging from 50% to 1500%, over the course of over three years, that generated over $2

billion in Inflated Profit.

                 b. Continuous Access to Documents and Information Tracking Profits from Price
                    Increases

        285.    According to the TSCA Complaint, Defendants were provided reports that tracked

the financial impact of the price-hike strategy against the detailed revenue goals for Teva’s U.S.

generics business, as often as on a daily basis, and had access to a database that tracked pricing at

a granular level. TSCA Complaint ¶¶ 288-291. Given the close attention paid to revenue and its

sources, and the readily available information concerning these topics, there is a strong inference

that Defendants knew or recklessly ignored that billions of dollars in Inflated Profit were generated

through the price-hike strategy, and that its collapse caused the later short-falls in profits.

                 c. Defendants Spoke Repeatedly About the Pricing of Generic Drugs

        286.    Defendants repeatedly claimed that they had accurate knowledge of the sources of

Teva’s generics profitability. Defendants claimed to have intimate knowledge of whether Teva

had taken price increases and whether those price increases contributed to the increased

profitability of Teva’s generics division. For example, on October 29, 2015, Vigodman claimed

awareness that “all the improvement . . . in our . . . margins is not driven by price. It is driven by

quantities and by mix and by efficiency measures. Not by price, 2014, 2015.” Similarly, on

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February 11, 2016, Olafsson claimed he knew that the “$1 billion improvement in operating profit

over 24 months period,” was achieved “[n]ot by pricing but by portfolio mix, new products, and

efficiency measures.” On November 19, 2015, when asked about industry price increases, Desheh

claimed that “Teva was not associated with any of that.”

       287.    Defendants also claimed knowledge of when Teva would take price increases,

limiting them to instances with shortages. For example, on October 30, 2014, Vigodman claimed

he knew that Teva looked for pricing only “when there is a shortage in the market.” On August 4,

2016, Olafsson claimed that Teva would increase prices only where there were “shortages in the

market,” then “there might be a small pricing opportunity.”

       288.    Defendants further claimed they were aware of the rate of pricing decline that Teva

was experiencing in 2016, and how it compared to prior years. For example, on June 3, 2016,

Vigodman asserted he knew that “[w]hat we see is a 4% to 5% erosion.… That’s not something

which is different from what we said during 2015.” Earlier, on May 9, 2016, Olafsson asserted

awareness that despite “a tougher pricing environment or price deflation,” “Teva has not seen any

fundamental change or worsening in the pricing environment . . . . What this boils down to is each

individual company’s business model. . . . Nothing has happened in the last two quarters that has

changed the pricing environment.” Similarly, on September 7, 2016, Desheh claimed that the

pricing environment for Teva’s base generic business was “very stable,” and that “there’s no

pressure on prices.”

       289.    Defendants also claimed knowledge of whether Teva was competing in a functional

and competitive generics market. For example, on July 27, 2015, Olafsson asserted that he knew

that “there’s fierce competition on most of [Teva’s] portfolio, if not all the portfolio.” During that


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same call, Vigodman added, “We believe in competition, and we’ll do what is needed in order to

win all the markets we operate.” On November 19, 2015, Desheh claimed he knew that Teva was

“playing a competitive game . . . . playing it fairly . . . . by the book and by the rule.”

        290.    This self-proclaimed personal involvement by Defendants supports a strong

inference that they possessed knowledge of the true state of affairs of the business, and thus had

knowledge that their representations were misleading, or were reckless in not knowing.

                 d. Defendants’ and Analysts’ Focus on Generics

        291.    The fact that Defendants touted Teva’s generics segment, fueled by its U.S.

division, as driving the Company’s turnaround during the Relevant Period supports a strong

inference of scienter. For example, on May 13, 2015, Desheh described the turn-around in generics

as “nothing short of a revolution.” On June 10, 2015, Olafsson touted improvement of the “generic

business by … $1 billion [] in 14 months, 16 months.” That same day, Vigodman touted “the

profound change in the generic business,” citing increased operating profit from 2013

to 2014.

        292.    Analysts accordingly focused on Teva’s generics businesses, and particularly its

U.S. division, as a financial driver for the Company, further supporting a strong inference of

scienter. For example, in a February 5, 2015 report, Piper Jaffray noted that “the profitability of

the generics business [is] continuing to improve.” On April 30, 2015, J.P. Morgan wrote: “Teva

continues to make progress on generics profitability . . . we remain encouraged by the recovery in

Teva’s generic business.” The same day Cowen and Company noted that Teva’s “outperformance

was a result of better than expected U.S. generic sales.”

        293.    Similarly, when industry pricing pressure damaged Teva’s competitors, analysts

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peppered Defendants with questions about pricing pressure over the course of several months,

which were met with detailed answers: For example, on February 11, 2016, Guggenheim asked

Olafsson about “pricing pressure in the generics business,” with Olafsson claiming to know that

“on the pricing … we didn’t see anything change in fourth quarter.” On September 7, 2016, Wells

Fargo asked whether Teva was “seeing the same generic erosion, pricing erosion that some of the

other companies” had, to which Desheh asserted he knew that “the base [generics] business . . .

the prices are very stable there.”

                    e. The Magnitude, Importance, and Duration of the Fraud

        294.    The fact that the price-hike strategy generated as much as $2.3 billion in Inflated

Profit supports a strong inference of scienter. Indeed, the Inflated Profits drove Teva’s reported

financial turnaround throughout the Relevant Period. In 2014 and 2015, Inflated Profits comprised

an increasingly large portion of Teva’s overall net income. As to the generic segment’s profits, the

Inflated Profits accounted for 15% of segment profits in 2013; 32% in 2014; and 32% in 2015.

The Inflated Profits accounted for an even larger portion of the Company’s overall net income: in

2013, Inflated Profits accounted for 20% of net income; in 2014, 23%; in 2015, 54%, and in 2016,

more than all of Teva’s overall profit. The strong inference is that Defendants knew of the source

of these profits.

        295.    Likewise, in 2016, the price-hike strategy deteriorated as Teva began to experience

significant pricing pressure and accelerated price erosion, and was no longer able to implement

additional price hikes; as a result, Teva’s generic drug profits plummeted. Indeed, Teva’s

deteriorating financial condition in 2017 called into question whether it could service its massive

$35 billion debt, and forced the Company to take a $6.1 billion impairment charge to its generics



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business, and reduce its dividend. The stronger inference by far is that Defendants were aware of

the source of this decline, or were reckless in not knowing.

                f.   Contemporaneous Red Flags

       296.    Contemporaneous red flags alerted Defendants to the possibility that their

statements were false and misleading. At a minimum, Defendants recklessly failed to review or

check information that they had a duty to monitor under these circumstances.

       297.    Congressional Inquiry: On October 2, 2014, Congress sent Vigodman a personal

letter seeking answers to “the underlying causes of recent increases in the price of [Teva’s] drugs.”

This should have placed Defendants on alert to discover whether Teva had taken price increases

and to what extent. Despite this, on October 30, 2014, Vigodman, when faced with an analyst

question on the subject, denied that Teva derived revenues from price increases. Similarly,

Congress invited Teva to testify at a November 20, 2014 hearing on whether “there was a rational

economic reason as to . . . huge price increases.” Again, this should have sparked an internal

inquiry from Teva’s executives. Yet, on December 11, 2014, when faced with the assertion from

an analyst that wholesalers were seeing large price increases, Olafsson flatly denied that Teva was

involved in those practices.

       298.    The State AG and DOJ Investigations: The fact that the DOJ and the State AGs

began investigations into Teva’s competitors related to their pricing practices also supports a

strong inference of scienter. The fact of those investigations should have triggered an internal

inquiry at Teva into the facts of its own pricing practices, including the dozens of price increases

that Teva made in tandem with its competitors. Indeed, as set forth below, Teva has produced over

one million documents to the DOJ.


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       299.    GAO Report: On September 12, 2016, the GAO, which Congress had

commissioned over two years earlier, publicly released its report on “Generic Drugs Under

Medicare,” documenting its audit of Medicare Part D data from June 2015 to August 2016. The

GAO found hundreds of unexplained “extraordinary price increases,” defined as the price of a

particular drug increasing over 100% within a 12-month period, and that some drug prices

increased more than 1,000%. Teva had numerous drugs that showed extraordinary price increases

in the GAO report. The facts of the GAO report support the inference that Defendants spoke the

alleged false statements with scienter.

                g. Officer Terminations Support Scienter

       300.    That three of the Officer Defendants—Olafsson, Vigodman, and Desheh—resigned

from Teva or had their employment with Teva terminated at a critical time, as the Company’s

price-hike strategy was deteriorating and Teva was in regulators’ crosshairs, further supports

scienter. There is a strong inference that the termination of Olafsson was connected to his

fraudulent cover-up of the price-hike strategy and the subsequent decline in Teva’s profits as the

strategy collapsed. The explanation for his termination as “retirement” was false, and the first

charges from the DOJ and State AGs regarding their pricing investigations were released only days

later. There is a similarly strong inference regarding Vigodman’s termination. He was fired without

a replacement just one month after Teva significantly revised its 2017 guidance downwards,

resulting in part from increased price erosion and dwindling generic profits, and one week before

Teva reported disappointing financial results for Q4 2016. Finally, less than two months after

Desheh left Teva, and in the very first reporting period after all Defendants were gone, Teva took

a staggering $6.1 billion charge against its U.S. generics business, and announced a radical 75%

reduction in dividend payments to shareholders. This supports an inference that it was these

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Defendants who were blocking the true financial state of the Company from coming to light.

                h. Evidence of Collusion Supports a Strong Inference of Scienter

       301.    Teva’s collusion supports a strong inference of scienter. Given the information

available to them, each Defendant knew, or recklessly disregarded, that in order for the price- hike

strategy to generate the high level of Inflated Profits apparent in data regularly available and

reported to them, Teva would likely have had to, and did, coordinate, communicate, and potentially

reach illegal agreements with other manufacturers.

       302.    As discussed above, the 2019 AG Complaint provides detailed allegations about

Teva’s collusion with other drug manufacturers to raise prices and/or allocate market share for

over 100 drugs just before and during the Relevant Period. Moreover, the State AGs have alleged

that, before and during the Relevant Period, Teva adhered to a widespread code of conduct among

generic drug manufacturers that allowed them to fix prices and allocate markets to suppress

competition. According to the State AGs, the code’s objective was to attain a price equilibrium

where manufacturers had no incentive to compete for additional market share by lowering price.

Under that code, competitors would agree collectively to raise or maintain drug prices, dictating

that a competitor should not underbid the competitor who raised prices. Manufacturers also

entered into collusive fair share market allocation agreements by making knowingly uncompetitive

bids, refusing to bid, or readjusting market share by walking away from customers. 2019 AG

Complaint ¶¶ 18, 132-133.

       303.    The State AGs have stated that evidence they have secured shows that executives

at the highest levels of Teva conceived and directed many of the schemes. This and other

allegations corroborate the allegations in the TSCA Complaint, including that Cavanaugh and


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Griffin were involved in pricing decisions, and Olafsson and Oberman would have received and

reviewed reports and forecasts reflecting the Inflated Profit generated thereby.

       304.    Teva’s price increase approval processes necessarily involved senior management.

As discussed above, Teva’s senior management and executives, including Griffin and Cavanaugh,

approved price increases and were aware of the impact of the increases on Teva’s financial results,

which was over $1 billion just for the drugs discussed in the TSCA Complaint.

       305.    With the knowledge gained from these reports and data, Teva’s executives and the

generic segment CEO (Oberman and then Olafsson), Teva CAO and CFO of Teva USA (Griffin),

and COO of Teva USA (Cavanaugh) could see when price increases were effective for an

abnormally long time, or whether an abnormal quantity of price increases remained effective in

contravention of rational economics.

       306.    Finally, Oberman, Olafsson, and Cavanaugh personally attended numerous trade

shows and conferences during the relevant period, affording them the opportunity to interact with

individuals responsible for pricing and marketing decisions at other manufacturers. See TSCA

Complaint, Appendix C.

                i.   Other Facts Supporting Scienter

       307.    The Receipt of the Subpoenas: Teva’s receipt of subpoenas from the DOJ and the

Connecticut AG on June 21, 2016 and July 12, 2016, respectively, and the Defendants’ actions in

response, support a strong inference of Defendants’ scienter. Particularly, after receiving the

subpoena from the Connecticut AG, Defendants abruptly announced the next day that they would

be moving forward the Notes Offering. Defendants failed to disclose them in the mandatory SEC

disclosures filed in conjunction with the Notes Offering and Notes Offering materials, but then


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disclosed them approximately two weeks after completing the Offering. The failure to disclose

receipt of the subpoenas until the Notes Offering was completed supports scienter. Moreover, those

subpoenas triggered a legally mandatory duty to inquire into Teva’s pricing practices. Yet,

Defendants thereafter made materially false and misleading statements about their exposure to

price erosion, including during Teva’s September 9, 2016 Generics Day.

       308.    Further, Defendants did not take any further collusive price increases after

receiving the subpoenas. The fact that the Company implemented dozens of price increases each

year prior to receiving the subpoenas, suggests that Teva made a conscious decision not take any

further price increases in light of the subpoenas.

       309.    Bloomberg Article: The November 3, 2016 Bloomberg article revealed that Teva

was the subject of the DOJ criminal inquiry, and that the DOJ and State AGs could bring charges

later in the year. Despite this, Vigodman, almost two weeks later, on November 15, 2016, claimed

that he was “not aware of any fact that would give rise to an exposure to Teva with respect to the

investigation.” The State AGs’ suit and the DOJ charges against Glazer and Malek soon followed,

and, subsequently, those investigations have expanded massively. The close proximity of

Vigodman’s statement to the announcement of the charges diminishes the plausibility of innocent

explanations or denials from Defendants.

       310.    Teva’s Further Denials of Liability: Despite its purported investigation of the facts,

Teva repeatedly denied any involvement in collusive conduct during the Relevant Period, and

continues to do so. For example, on November 7, 2019, Defendant Schultz stated during an

investor earnings conference call: “We have, of course, shared more than 1 million documents

with [the DOJ]. We have not found any evidence that we were in any way part of any structured


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collusion or price fixing.” Such statements underscore that Defendants knew Teva was a central

actor in collusive conduct, or at a minimum, recklessly failed to review or check information they

had a duty to monitor that would have revealed that fact.

         3. Corporate Scienter

       311.    Teva possessed scienter by virtue of the fact that the Officer Defendants, who acted

with scienter, as set forth above, had binding authority over the Company. In addition, certain

allegations herein establish Teva’s corporate scienter based on (i) the state of mind of employees

whose intent can be imputed to the Company, and/or on (ii) the knowledge of employees who

approved the statements alleged herein despite knowing the statements’ false and misleading

nature. It can also be inferred from the above allegations that senior corporate executives at Teva

possessed scienter such that their intent can be imputed to the Company.

       E.      THE TRUTH EMERGES: ALLEGATIONS OF LOSS CAUSATION

       312.    Defendants’ false statements and material omissions concealed the truth about, and

risks presented by, their business practice of improving business results through massive price

increases. The truth and risks that were concealed and/or affirmatively misstated include the fact

that the price increase plan was not sustainable over the long-term because of the FDA’s approval

of new drugs, natural competitive pressures, public approbation and governmental investigations

and that once the plan became non-viable, Teva’s revenues and profits would fall, negatively

impacting its stock price. These risks became apparent to the investing public through a number

of revelations that negatively impacted prices for Teva’s securities.

               1.      August 4-5, 2016

       313.    After the close of trading on August 4, 2016—two days after the Actavis transaction


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closed—Teva filed the 2Q16 Form 6-K, reporting its second quarter 2016 financial results,

including a $434 million decline in revenue in the U.S. generics segment compared to the second

quarter of 2015. The 2Q16 Form 6-K revealed for the first time that Teva was implicated in the

federal and State AGs’ antitrust investigations, stating: (i) “[o]n June 21, 201[6], Teva USA

received a subpoena from the Antitrust Division of the United States Department of Justice seeking

documents and other information relating to the marketing and pricing of certain of Teva USA’s

generic products and communications with competitors about such products” and (ii) “[o]n July

12, 2016, Teva USA received a subpoena from the Connecticut [AG] seeking documents and other

information relating to potential state antitrust law violations.”

       314.    While these disclosures partially revealed the relevant truth concealed by

Defendants’ misrepresentations and omissions, Defendants misleadingly attributed Teva’s

disappointing results to the loss of exclusivity on certain drugs, and a decline in sales in others,

expressly denied the impact of price hikes, and reaffirmed Teva’s inflated outlook for 2016.

       315.    In response to this information, the price of Teva’s ADS declined $1.24 per share,

or approximately 2.24%, from its closing price of $55.45 on August 4, 2016, to a close of $54.21

on August 5, 2016, on high trading volume, wiping out $1.13 billion in market capitalization.

       316.    This marked the beginning of the relevant truth leaking out, as Teva’s Price-Hike

Strategy had begun to collapse, as Teva lost its ability to profit from the 76 historic price hikes, or

to implement new increases in 2016. The disclosure of the subpoenas was a materialization of the

risk that, after nearly two years of ongoing investigations, the DOJ and State AGs would seek

evidence from Teva in connection with Teva’s pricing practices.

               2.      November 3, 2016, December 13-16, 2016


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       317.    On Thursday, November 3, 2016, before the U.S. markets closed, and after the close

of trading on the TASE, Bloomberg reported on the government’s “sweeping criminal

investigation into suspected price collusion,” spanning more than a dozen companies, including

Teva, and about two dozen drugs, and that charges could emerge by year-end.

       318.    On this news, the price of Teva ADS fell $4.13 per share, or approximately 9.53%,

from its closing price of $43.33 on November 2, 2016 to close at $39.20 on November 3, 2016, on

high trading volume, reducing Teva’s market capitalization by another $3.77 billion. The prices of

Teva’s 2023, 2026 and 2046 Notes also fell $12.93 or 1.31%, $11.19 or 1.15%, and $27.94 or

3.02%, respectively.

       319.    Analysts from S&P Capital IQ lowered their rating of Teva ADS in response, from

“buy” to “hold,” and Fierce Pharma reported that analysts believed the investigation could have a

sizeable financial impact on Teva, estimated to be as much as $700 million. The New York Times

similarly reported that: “The generic drug industry was jolted on Thursday as shares of many major

companies tumbled after a news report said that a federal inquiry into drug price- fixing was wider

than previously believed and could lead to charges by the end of the year. Shares in Teva

Pharmaceuticals, the world’s largest generic drug maker, fell more than 9 percent, and the stock

of competitors like Mylan, Endo Pharmaceuticals and Impax Laboratories had similar declines.”

(Katie Thomas, News of Charges in Price-Fixing Inquiry Sends Pharmaceuticals Tumbling, N.Y.

Times (Nov. 3, 2016), at B5).

       320.    Within weeks the expected governmental actions materialized. On December 13,

2016, the DOJ, by means of an Information, charged Malek and Glazer, the top two executives at

Heritage, with two felony counts of violating Section 1 of the Sherman Act partly for fixing the


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price of Glyburide, a drug for which Teva held 75% of the market.

        321.    On December 14, 2016, led by the Connecticut AG, the State AGs filed their

lawsuit against Teva and several of its peers for civil violations of the antitrust laws, accusing Teva

of conspiring to allocate the markets for and fix the prices of generic drugs, including for

Glyburide, and of participating in a larger market-wide collusive conspiracy. Forbes reported the

next day, in an article titled “State Attorneys General Accuse Six Generic Companies Of Fixing

Drug Prices,” that the AG’s complaint revealed new information regarding Teva’s potential

exposure, made “clear which companies could be implicated in the antitrust investigation federal

prosecutors are pursuing,” and also noted that Glazer and Malek were cooperating.

        322.    On the news of the DOJ charges and the filing of the State AG’s complaint, the

prices of Teva Securities continued to decline. Between the close of trading on December 13, and

December 16, 2016, the ADS price fell $1.15 or 3% to close at $36.51, and the price of the

Company’s 2046 Notes also declined $17.54, a drop of 2.5%.

                3.      November 15, 2016

        323.    On November 15, 2016, before the U.S. markets opened (and during trading on the

TASE), Teva filed a press release on Form 6-K with the SEC, reporting third quarter 2016 revenues

below consensus expectations. During an investor conference call that day, Olafsson explained

that the disappointing results were a result of pricing pressures, stating that, despite his past denials

that Teva was exposed to or had observed pricing pressure, price erosion in Teva’s generics

business in fact had been approximately 7% (as compared to the 5% Olafsson had recently stated

on September 9, 2016).

        324.    While these disclosures partially revealed the relevant truth concealed by


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Defendants’ misrepresentations and omissions, Defendants insisted that the pricing pressure was

limited and would not last beyond the quarter, continued to attribute the Company’s disappointing

results to divestiture of certain generic products related to the Actavis acquisition, and continued

to conceal Teva’s anticompetitive conduct and collusion, improper financial reporting and

disclosures, and Teva’s true financial and business condition. Moreover, Defendant Vigodman

stated that, “we are not aware of any fact that would give rise to an exposure to Teva with respect

to the [DOJ] investigation.”

       325.    The prices of Teva ADS fell again in response to this news, declining $3.43 per

share, or 8.36%, from its closing price of $41.03 per share on November 14, 2016 to close at

$37.60 on November 15, 2016, on high trading volume, erasing another $3.3 billion in market

capitalization. Teva’s ordinary share price similarly declined ILS7.20, or 4.58%, from its closing

price of ILS157.10 on November 14, 2016 to close at ILS149.90 on November 15, 2016.

       326.    Market participants similarly responded, with analysts at Jefferies downgrading

Teva ADS from “buy” to “hold.”

               4.      December 5-6, 2016

       327.    After the markets closed on December 5, 2016, Teva filed a Form 6-K, announcing

Olafsson’s immediate “retirement,” even though he was only in his late 40’s. Analysts at Piper

Jaffray quickly concluded that Olafsson had in fact been pushed out, stating in a December 6, 2016

report: “When a company issues what many view as bullish guidance and then walks that back

within a quarter of issuing said guidance . . . it would only be natural to conclude that there would

be repercussions at the top of the organization.”

       328.    Other analysts tied Olafsson’s abrupt departure to the apparent rise in generic


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pricing pressure. For example, analyst Morningstar commented in a December 6, 2016 report, that

“Teva’s announcement that Dipankar Bhattacharjee will replace Siggi Olafsson as CEO of the

generics segment does not inspire confidence. Recent pricing pressure in the generic drug market

and anticipated generic competition on the 40mg version of Copaxone in 2017 remain significant

near-term challenges for Teva, which makes the abrupt leadership change a concerning

development at a critical time for the company.” BTIG similarly stated, in a report dated December

5, 2016, that “[w]ithout Siggi Olafsson at the helm of Teva’s global generic segment, we think

investor sentiment could worsen as the market has remained focused on price erosion for the

[company’s] base generics business.” Citi (at the Citi Global Healthcare Conference) and Piper

Jaffray (in a December 6, 2016 report) expressed concern that Olafsson’s departure suggested that

there may be something “going on internally in the generics business” that had not been disclosed.

       329.    In response to this news the price of Teva ADS fell $2.01 per share, or 5.43%, the

next trading day, from its closing price of $37.04 per share on December 5, 2016, to close at

$35.03 per share on December 6, 2016, on high trading volume, and reducing Teva’s market

capitalization by $1.96 billion. Additionally, the price of Teva’s 2046 Notes fell $17.01 or 1.95%.

               5.     January 6, 2017

       330.    On January 6, 2017, before the beginning of the trading day on the NYSE, Teva

filed a press release on Form 6-K announcing a significant reduction in the 2017 guidance

previously released on July 13, 2016. In the investor conference call that day, Vigodman claimed

the “significantly” reduced guidance resulted from “significant headwinds” faced by “[t]he entire

healthcare sector” to which Teva “ha[d] not been immune,” and “some issues specific to Teva”

resulting in “an EBITDA gap of $1.2 billion emanating from our US generics business.” In


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addition to the materialization of the concealed risks described herein, this was the materialization

of the risk of the Exchange Act Defendants using an “assumption” for price erosion in the July 13,

2016 guidance that was empirically false at the time; specifically, Defendants assumed a pricing

environment that was “stable” – i.e., 4%-5% erosion rate disclosed in prior years and quarters –

when, in fact, pricing pressure was causing a more rapid decline.

       331.    Asma result of this new negative information, the prices of Teva Securities

continued to decline. Between the close of trading on January 5 and January 6, 2017, the price of

Teva ADS fell $2.86 per share, or approximately 7.53%, from its closing price of $37.96 on

January 5, 2017 to close at $35.10 on January 6, 2017, on high trading volume, erasing nearly $3.1

billion in market capitalization. Additionally, the prices of Teva’s 2026 and 2046 Notes declined

$10.96 or 1.17% and $17.75 or 2.01%, respectively.

       332.    Analysts tied this disclosure to the fact that the prior guidance was “inflated” as a

result of understating generic drug price erosion. In a report dated January 6, 2017, Evercore ISI

conducted its own price erosion analysis for the Company and noted that, as a result of its lower

than expected revenues and EPS, “I think it’s pretty clear that mgmt’s prior expectation for 2017

were very inflated.” Similarly, the same day, Maxim Group downgraded its rating of the Company

form “buy” to “hold” and its price target for the Company from $49 per share to $41 per share and

noted “challenges in the near term to the core generic . . . business are becoming bigger issues.”

In a January 8, 2017 report, Piper Jaffray stated that “Teva once again provided disappointing

guidance, further eroding what in our view was already limited management credibility.”

               6.      February 6-7, 2017

       333.    On February 6, 2017, after the close of trading on the NYSE, in a Form 6-K filed


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with the SEC, Teva announced the termination of Vigodman as CEO, effective immediately and

without a permanent replacement, and his removal from the Board of Directors.

       334.   While these disclosures partially revealed the relevant truth concealed by

Defendants’ misrepresentations, additional information continued to be concealed by the

Company.

       335.   On this news, between the close of trading on February 6 and on February 7, 2017,

the ADS price fell $2.16 or 6.29% to close at $32.19. Teva’s 2026 Notes also fell $13.69 or

1.51% and the 2046 Notes fell $32.33 or 3.76%.

              7.      August 3-7, 2017

       336.   Before the NYSE opening (and during trading on the TASE) on Thursday, August

3, 2017, Teva filed a press release on Form 6-K, announcing lower-than-expected second quarter

2017 results due to poor performance in its U.S. generics business and “accelerated price erosion

and decreased volume mainly due to customer consolidation, greater competition as a result of an

increase in generic drug approvals by the U.S. FDA, and some new product launches that were

either delayed or subject to more competition.”

       337.   Teva also disclosed a net earnings loss primarily due to a $6.1 billion goodwill

impairment charge in its U.S. generics unit—which consisted of both Teva legacy and Actavis

generics business—revealing the true value of the combined U.S. generic business.

       338.   These disclosures revealed that Teva was facing significant and permanent generic

pricing pressure—which pressures Defendants had, until then, vehemently denied and the price of

Teva securities declined significantly in response. As Bloomberg reported: “Pharma Giant Teva’s

Stock Is Imploding As Generic Drugs Get Cheaper.” Moody’s also downgraded Teva’s debt rating

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to Baa3 (one step above junk), with a negative outlook, citing “weakness in its US generics

business” among other things. Specifically, Teva ADS prices fell $7.50, or 24.00%, from its

closing price of $31.25 on August 2, 2017 to close at $23.75 per share on August 3, 2017, on high

trading volume—wiping out $8.08 billion in market capitalization. Teva’s ordinary share price

also declined ILS19.80, or 17.79%, from its closing price of ILS111.30 on August 2, 2017 to a

close of ILS91.50 on August 3, 2017.

       339.       On Friday, August 4, 2017, Fitch Ratings downgraded Teva to BBB- (one step

above junk), with a negative outlook. Teva’s ADS price continued to fall, an additional $3.15, or

13.26%, from its closing price of $23.75 on August 3, 2017 to close at $20.60 on August 4, 2017,

on high trading volume—removing another $3.2 billion in market capitalization.

       340.       The next trading day, Monday, August 7, 2017, Morgan Stanley downgraded

Teva’s ADS to “Underweight,” noting that it had “underappreciated the risk of generics pricing

pressure to Teva’s earnings and dividend, and we expect Teva to continue to underperform given

overhangs.”

       341.       The prices of Teva Securities continued to drop, with Teva’s ADS prices declining

an additional $2.01, or 9.76%, from its closing price of $20.60 on August 4, 2017 to close at $18.59

on August 7, 2017, on high trading volume, wiping out another $2.0 billion in market

capitalization.

       342.       In total, over these three trading days, Teva’s ADS price fell $12.66, or 40.51% to

close at $18.59. The price of the 2018, 2019, 2021, 2023, 2026, and 2046 Notes fell $7.76 (.78%),

$12.45 (1.25%), $30.10 (3.05%), $38.72 (3.95%), $40.88 (4.20%), and $57.51 (6.34%),

respectively.


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               8.       November 2, 2017

       343.    On November 2, 2017 Teva filed a press release on a Form 6-K announcing lower-

than-expected Q3 2017 financial results, including a 9% decline in U.S. generic quartery revenues

compared to Q3 2016. The Company attributed the decrease to “pricing declines resulting from

customer consolidation and accelerated FDA approvals for additional generic versions of

competing off-patent medicines as well as volume decline of methylphenidate extended-release

tablets (Concerta® authorized generic) due to the launch of a competing product.”

       344.    Analysts reacted negatively, including RBC Capital Markets stating the results

were even “below our cautious expectations,” and that the “magnitude of weakness in the US

generics business in both revenue and margins was surprising.” Wells Fargo noted that Teva’s

results were “especially disappointing.”

       345.    As a result of this new negative information, the prices of Teva Securities continued

to decline. Between the close of trading on November 1 and on November 2, 2017, the ADS price

fell $2.79 of 19.90% to close at $11.23. The price of the 2018, 2019, 2021, 2023, 2026, and 2046

Notes fell $0.16 (.16%), $1.05 (1.07%), $2.61 (2.76%), $2.32 (2.52%), $4.62 (5.13%), and $1.85

(2.3%), respectively.

               9.       February 8, 2018

       346.    On February 8, 2018, Teva filed a press release on Form 8-K announcing Q4 2017

and FY 2017 financial results, including a staggering $17.1 billion goodwill impairment, of which

$10.4 billion related to Teva’s U.S. generics business. Teva stated that the $10.4 billion writedown

was based in part on “further deterioration in the U.S. generics market” – including “[p]ricing

challenges due to government regulation” – and Teva’s resulting expectation of “larger pricing


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declines” than previously anticipated.

        347.     Analysts again reacted negatively. Wells Fargo noted that Teva had missed

consensus expectations “by a significant margin,” pointed to a “commentary about generic pricing

worsening in 4Q,” and concluded that investors “should see [Teva’s $17.1 billion impairment] as

reflective of how challenging the situation is.” IBI Brokerage also noted that the impairment

charge was “almost entirely for the generics business in the US,” and that Teva’s 2018 guidance

was “way below market expectations.”

        348.     As a result of this new negative information, the prices of Teva Securities continued

to decline. Specifically, the price of Teva’s ADS fell $2.21 or 10.6% to close at $18.64; and the

price of the 2023, 2026, and 2046 Notes fell $0.75 (0.85%), $0.86 (1.07%), and $1.75 (2.33%),

respectively.

                 10.     December 7-10, 2018

        349.     On December 9, 2018, an article in The Washington Post quoted statements from

Connecticut Assistant AG Joseph Nielsen that the State AG investigation had expanded to at least 16

companies and 300 drugs, and exposed “the largest cartel in the history of the United States.” While the

article noted Teva’s continued denial of engaging in any anticompetitive conduct, and its statement in a

court filing that allegations of a price-fixing conspiracy “are entirely conclusory and devoid of any facts,”

the price of Teva Securities dropped substantially with the disclosure of the State AGs’ expanded

investigation.

        350.     Between the close of trading on December 7, 2018 (the last trading day before the

announcement) and the close of trading on December 10, 2018, the price of Teva’s ADS fell $0.97

or 5% to close at $18.44. Additionally, the price of the 2019, 2023, 2026, and 2046 Notes fell

$0.11 (0.11%), $0.38 (0.44%), $1.13 (1.39%), and $1.70 (2.43%), respectively.

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               11.     May 10-13, 2019

       351.    On May 10, 2019, after the markets closed, the State AGs filed a 524-page antitrust

complaint revealing previously undisclosed facts regarding Teva’s participation in the generic drug

price-fixing conspiracy. The May 2019 complaint details Teva’s price-fixing with regards to at

least 86 different generic drugs, compared to just 7 drugs in the previously filed action. The

complaint further asserts that the Company implemented significant price increases for

approximately 112 generic drugs, including extraordinary price hikes over 1.000%, and details

Teva’s role as a “consistent participant” and a central player in the conspiracy. Further, the May

2019 complaint names four Teva employees personally as defendants: Cavanaugh, Patel, Kevin

Green (Teva’s former Director of National Accounts), and David Rekenthaler (Teva’s former Vice

President, Sales U.S. Generics).

       352.    Analysts were surprised by the revelations in the new complaint. For example,

Bernstein warned that “the price-fixing lawsuit is worse than we expected” and “there seem to be

specific cases in the lawsuit that are going to be hard to explain away.” J.P. Morgan stated that

“[w]e were open to the majority of price spikes being ‘explainable’ by way of shortages, limited

competition (only two or three competitors), and price ‘signaling,’ a grey area of antitrust law. So

we were sorely disappointed by the nature of the direct quotes attributed to Teva employees in the

expanded complaint.”

       353.    On this news, the price of Teva’s ADS declined by 14.83%, from a closing price of

$14.36 on May 10, 2019, to a closing price of $12.23 on May 13, 2019. The price of the 2019,

2021, 2023, and 2046 Notes fell $0.99 (0.09%), $0.65 (0.68%), $1.37 (1.51%), $1.78 (2.14%), and

$2.16 (3.00%), respectively.344.      Plaintiff suffered actual economic loss and were damaged by


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Defendants’    misrepresentations    and    omissions    when    the   truth   concealed   by    such

misrepresentations and omissions was revealed through the disclosures discussed above. Each

disclosure served to remove some of the artificial inflation in the price of Teva securities.

       354.    The negative events and disclosures on these dates were directly related to

Defendants’ fraudulent scheme. Defendants’ material misstatements and omissions concealed

from the market, among other things, the fact that the Company’s financial condition had been the

result of its price increase plan, rather than the factors cited by Defendants. Defendants falsely and

misleadingly reported more than $1 billion in revenues generated from undisclosed price increases

in the Company’s core U.S. generic drug business, revenues which were unsustainable.

None of these events or disclosures was sufficient, on its own, to fully remove the inflation from

the prices of Teva securities because each only partially revealed the scope and consequence of

Defendants’ fraudulent scheme. The corrective effect of each new piece of information was

tempered also by Defendants’ continuing efforts to conceal the true risks and conditions arising

from Teva’s involvement in the undisclosed price increase plan, which prevented the price of

Teva securities from declining to their true value. As a result, the price of Teva securities

remained artificially inflated until the end of the Relevant Period. As Plaintiff continued to hold

Teva securities, and/or purchased or acquired those securities, the artificial inflation caused them

further injury when additional information was revealed.

       355.    Defendants’ conduct, as alleged herein, directly and proximately caused the

damages suffered by Plaintiff. As a result of Defendants’ wrongful conduct slowly being revealed

on the above dates, the price of Teva ADS, which had steadily increased from the start of the

Relevant Period to an all-time high of $72 in July 2015, had fallen to less than $20, reducing market


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capitalization by nearly $42 billion as the truth leaked out. The Company experienced dislocation

and uncertainty due to the abrupt departures of three top executives and ongoing disruption and

fallout from numerous criminal and civil investigations and litigations. Its credit ratings were

downgraded to one level above “junk.” In addition, Teva cut its profit forecast for 2017, cut its

dividend, and warned investors that it risks breaching debt covenants.

        356.    It was entirely foreseeable that concealing the Company’s concealment of its price

increase plan, which was unsustainable over more than a short period, would, among other things,

inflate the revenues from its generics business and artificially inflate the price of its securities. It

was also foreseeable that the disclosure of this information, and the materialization of concealed

risks associated with Teva’s misconduct, would cause the price of Teva’s securities to decline as

the inflation caused by Teva’s earlier misrepresentations and omissions was removed from the

price of Teva’s securities. Accordingly, Defendants’ conduct, as alleged herein, proximately

caused foreseeable losses for Plaintiff, who purchased Teva securities during the Relevant Period.

        F.      PLAINTIFF IS ENTITLED TO A PRESUMPTION OF RELIANCE

        357.    At all relevant times, the market for Teva ADS was open and efficient for the

following reasons, among others: (i) Teva ADS met the requirements for listing, and were listed

and actively traded on the NYSE under the ticker symbol “TEVA”; (ii) as a registered and

regulated issuer of securities, Teva filed periodic public reports with the SEC, in addition to the

Company’s frequent voluntary dissemination of information; (iii) Teva regularly communicated

with investors via established market communication mechanisms, including through regular

disseminations of press releases on the national circuits of major newswire services and through

other wide-ranging public disclosures, such as communications with the financial press, securities


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analysts, and other similar reporting services; (iv) Teva was followed by numerous securities

analysts employed by major brokerage firms, including Citigroup, Goldman Sachs, Needham &

Company, UBS, Barclays Capital, Bank of America Merrill Lynch, BMO Capital, Susquehanna

Financial Group, J.P. Morgan, and Wells Fargo, who wrote reports that were distributed to the

sales force and certain customers of their respective brokerage firms and that were publicly

available and entered the public marketplace; (v) the material misrepresentations and omissions

alleged herein would induce a reasonable investor to misjudge the value of Teva’s ADS; and (vi)

without knowledge of the misrepresented or omitted facts, Plaintiff purchased or otherwise

acquired Teva ADS between the time that Defendants made the material misrepresentations and

omissions and the time that the truth was revealed, during which period the price of Teva’s ADS

was artificially inflated by Defendants’ misrepresentations and omissions.

       358.    As a result of the foregoing, the market for Teva ADS promptly digested current

information regarding Teva from all publicly available sources and the prices of Teva’s ADS

reflected such information. Based upon the materially false or misleading statements and

omissions of material fact alleged herein, Teva ADS traded at prices in excess of the true value of

such shares during the Relevant Period. Plaintiff purchased or otherwise acquired Teva ADS

relying upon the integrity of the market price and other market information relating to Teva.

Under these circumstances, Plaintiff, as purchaser or acquirer of Teva ADS at artificially

inflated prices during the Relevant Period, suffered similar injuries and a presumption of

reliance under the fraud-on-the-market doctrine applies.

       359.    Further, at all relevant times, Plaintiff relied upon Defendants to disclose material

information as required by law and in the Company’s SEC filings. Plaintiff would not have


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purchased or otherwise acquired Teva ADS at artificially inflated prices if Defendants had

disclosed all material information as required. Thus, to the extent that Defendants concealed or

improperly failed to disclose material facts with regard to the Company and its business, Plaintiff

is entitled to a presumption of reliance.

        G.      THE STATUTORY SAFE HARBOR AND BESPEAKS CAUTION
                DOCTRINE ARE INAPPLICABLE

        360.    The Private Securities Litigation Reform Act’s statutory safe harbor and/or the

“bespeaks caution doctrine” applicable to forward-looking statements under certain circumstances

do not apply to any of the materially false or misleading statements alleged herein. None of the

statements complained of herein were forward-looking statements. Rather, each was a historical

statement or a statement of purportedly current facts and conditions at the time each statement was made.

        361.    To the extent that any of the materially false or misleading statements alleged

herein, or any portions thereof, can be construed as forward-looking, such statements were not

accompanied by meaningful cautionary language identifying important facts that could cause

actual results to differ materially from those in the statements. As set forth above in detail, given

the then-existing facts contradicting Defendants’ statements, any generalized risk disclosures

made by Defendants were not sufficient to insulate Defendants from liability for their materially

false or misleading statements or omissions.

        362.    To the extent that the statutory safe harbor may apply to any materially false or

misleading statement alleged herein, or a portion thereof, Defendants are liable for any such false

or misleading forward-looking statement because at the time such statement was made, the speaker

knew the statement was false or misleading, or the statement was authorized and approved by an

executive officer of Teva who knew that the forward-looking statement was false or misleading.

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    IV.        CAUSES OF ACTION

                                             COUNT I

                                 For Violations of Section 10(b) of the
                                 Exchange Act and Rule 10b-5
                                 Promulgated Thereunder Against The
                                 Exchange Act Defendants

        363.    Plaintiff repeats and re-alleges each and every allegation set forth above as if fully

set forth herein.

        364.    This Count is asserted pursuant to Section 10(b) of the Exchange Act, and Rule

10b- 5 promulgated thereunder, against Teva and the Individual Defendants.

        365.    As alleged herein, throughout the Relevant Period, Teva and the Individual

Defendants, individually and in concert, directly and indirectly, by the use of the means or

instrumentalities of interstate commerce, the mails and/or the facilities of national securities

exchanges, made materially untrue statements of material fact and/or omitted to state material facts

necessary to make their statements not misleading and carried out a plan, scheme, and course of

conduct, in violation of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated

thereunder. Teva and the Individual Defendants intended to and did, as alleged herein, (i) deceive

the investing public, including Plaintiff; (ii) artificially inflate and maintain the prices of Teva’s

ADS; and (iii) caused Plaintiff to purchase the Company’s ADS at artificially inflated prices.

        366.    The Individual Defendants were individually and collectively responsible for

making the materially false and misleading statements and omissions alleged herein and having

engaged in a plan, scheme, and course of conduct designed to deceive Plaintiff, by virtue of having

made public statements and prepared, approved, signed, and/or disseminated documents that



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contained untrue statements of material fact and/or omitted facts necessary to make the statements

therein not misleading.

        367.    As set forth above, Teva and the Individual Defendants made the materially false

and misleading statements and omissions and engaged in the fraudulent activity described herein

knowingly and intentionally, or in such a deliberately reckless manner as to constitute willful

deceit and fraud upon Plaintiff, who purchased the Company’s ADS during the Relevant Period.

        368.    In ignorance of the materially false and misleading nature of Teva’s and the

Individual Defendants’ statements and omissions, and relying directly or indirectly on those

statements or upon the integrity of the market price for Teva’s ADS, Plaintiff purchased the

Company’s ADS at artificially inflated prices during the Relevant Period. But for the fraud,

Plaintiff would not have purchased the Company’s ADS at such artificially inflated prices. As set

forth herein, when the true facts were subsequently disclosed, the price of Teva’s ADS

declined precipitously, and Plaintiff was harmed and damaged as a direct and proximate result of

their purchases of the Company’s ADS at artificially inflated prices and the subsequent decline in

the price of that stock when the truth was disclosed.

        369.    By virtue of the foregoing, Teva and the Individual Defendants are liable to Plaintiff

for violations of Section 10(b) of the Exchange Act and Rule 10b-5.

                                             COUNT II

                                For Violations of Section 20(a) of the
                                Exchange Act Against the Individual
                                            Defendants

        370.    Plaintiff repeats and re-alleges each and every allegation set forth above as if fully

set forth herein.

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        371.    This Count is asserted pursuant to Section 20(a) of the Exchange Act against each

of the Individual Defendants. As alleged above, the Company violated Section 10(b) of the

Exchange Act and Rule 10b-5 promulgated thereunder by making materially false and misleading

statements and omissions in connection with the purchase or sale of Teva’s ADS, and by

participating in a fraudulent scheme and course of business or conduct throughout the Relevant

Period. This fraudulent conduct was undertaken with scienter, and Teva is charged with the

knowledge and scienter of each of the Individual Defendants who knew of or acted with deliberate

reckless disregard of the falsity of the Company’s statements and the fraudulent nature of its

scheme during the Relevant Period.

        372.    As set forth above, the Individual Defendants were controlling persons of the

Company during the Relevant Period, due to their senior executive positions with the Company

and their direct involvement in the Company’s day-to-day operations, including their power to

control or influence the policies and practices giving rise to the securities violations alleged herein,

and exercised the same.

By virtue of the foregoing, the Individual Defendants each had the power to influence and

control, and did influence and control, directly or indirectly, the decision-making of the

Company, including the content of its public statements with respect to its operations, corporate

governance, and compliance with regulators.

        373.    The Individual Defendants were culpable participants in Teva’s fraud alleged

herein, by acting acted knowingly and intentionally, or in such a deliberately reckless manner as

to constitute willful fraud and deceit upon Plaintiff, who purchased the Company’s ADS during

the Relevant Period.


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By reason of the foregoing, the Individual Defendants are liable to Plaintiff as controlling

persons of the Company in violation of Section 20(a) of the Exchange Act.

V.     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays for judgment as follows:

       A. Declaring and determining that Defendants violated the Exchange Act by reason of

           the acts and omissions alleged herein;

       B. Awarding Plaintiff compensatory damages against all Defendants, jointly and

           severally, in an amount to be proven at trial together with prejudgment interest

           thereon;

       C. Awarding Plaintiff its reasonable costs and expenses incurred in this action, including

           but not limited to, attorneys’ fees and costs incurred by consulting and testifying

           expert witnesses; and

       D. Granting such other and further relief as the Court deems just and proper.

VI.    JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.




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Dated: May 28, 2020

                                   Respectfully submitted,

                                   /s/ David A. Slossberg
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